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                                No. 22-55873

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT


 LUKE DAVIS, JULIAN VARGAS, and AMERICAN COUNCIL OF THE BLIND,
          individually and on behalf of all others similarly situated,
                              Plaintiffs-Appellees,

                                       v.

      LABORATORY CORPORATION OF AMERICA HOLDINGS, DBA
                   (doing business as) Labcorp,
                             Defendant-Appellant.


            Appeal from an Order of the United States District Court
                       for the Central District of California
     Case No. 2:20-cv-00893-FMO-KS ∙ The Honorable Fernando M. Olguin


                      EXCERPTS OF RECORD
                  VOLUME 6 OF 8 – Pages 1215 to 1500

Robert I. Steiner                           Becca J. Wahlquist
rsteiner@kelleydrye.com                     bwahlquist@kelleydrye.com
KELLEY DRYE & WARREN LLP                    KELLEY DRYE & WARREN LLP
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175 Greenwich Street                        Los Angeles, California 90071
New York, New York 10007                    213-547-4900
212-808-7800

Glenn T. Graham
ggraham@kelleydrye.com
KELLEY DRYE & WARREN LLP
One Jefferson Road, 2nd Floor
Parsippany New Jersey 07054
973-503-5917
                              Attorneys for Appellant
            LABORATORY CORPORATION OF AMERICA HOLDINGS
     Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 2 of 286

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                            EXHIBIT 4
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                            EXHIBIT 5




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                                         DECLARATION OF SHEILA DERRICK



           I, Sheila Derrick, declare the following:



               1.     The facts contained in this declaration are within my personal knowledge, and Icould
                      and would testify truthfully to those facts if called to do so under oath.


               2.     Ilive in Fort Worth, Texas.


               3.     Iam legally blind and use screen magnification software to interface with my computer
                      and VoiceOver software to interface with my phone.


               4.     In the past three years Ihave been apatient at LabCorp.


               5.     Iam unable to independently check in using LabCorp's check-in kiosks or engage in any
                      other services provided by these kiosks because they have not been made accessible to
                      blind patients.


               6.     Ihave arrived at LabCorp in the past 3years to find that no staff member was present at
                      the front desk, forcing me to use the assistance of others to check in via LabCorp's kiosk.


               7.     If LabCorp's kiosks were VoiceOver compatible, Iwould be able to independently use
                      them.



           Ideclare under penalty of perjury that the foregoing is true and correct to the best of my
           knowledge and recollection.



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           Date:
                       2/15/2021                                          SIA,c,i(A RIM&
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                            EXHIBIT 6




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                                          DECLARATION OF JOHN NUANES



           I, John Nuanes, declare the following:



                1.   The facts contained in this declaration are within my personal knowledge, and Icould
                     and would testify truthfully to those facts if called to do so under oath.


                2.   Ilive in Tujunga, California.


                3.   Iam legally blind and use ascreenreader and VoiceOver software to interface with my
                     computer and phone.


                4.   In the past three years Ihave been apatient at LabCorp.


                5.   Iam informed and believe that LabCorp's check-in kiosks offer no voice over abilities
                     for users. Without such functionality, Iwould be unable to independently check in using
                     LabCorp's check-in kiosks or engage in any other services provided by these kiosks
                     because they have not been made accessible to blind patients.


                6.   When Ihave arrived at LabCorp in the past 3years, my wife has had to check me in via
                     LabCorp's kiosk.


                7.   If LabCorp's kiosks were screenreader and VoiceOver compatible, Iwould be able to
                     independently use them.



           Ideclare under penalty of perjury that the foregoing is true and correct to the best of my
           knowledge and recollection.



                                                                       ,e—DocuSigned by:




           Date:
                     2/16/2021                                           966_     lUoln,t,s
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                            EXHIBIT 7




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                                          DECLARATION OF QIANA SWILLEY



            I, Qiana Swilley, declare the following:



                 1.   The facts contained in this declaration are within my personal knowledge, and Icould
                      and would testify truthfully to those facts if called to do so under oath.


                2.    Ilive in Houston, Texas.


                 3.   Iam legally blind and use ascreenreader and VoiceOver software to interface with my
                      computer and phone.


                4.    In the past three years Ihave been apatient at LabCorp.


                 5.   Iam unable to independently check in using LabCorp's check-in kiosks or engage in any
                      other services provided by these kiosks because they have not been made accessible to
                      blind patients.


                 6.   Ihave arrived at LabCorp in the past 3years to find that no staff member was present at
                      the front desk, forcing me to use the assistance of others to check in via LabCorp's kiosk.


                 7.   My need to rely on others to assist in checking in at LabCorp has caused me to wait
                      longer than other patients to check in.


                 8.   If LabCorp's kiosks were screenreader and VoiceOver compatible, Iwould be able to
                      independently use them.



            Ideclare under penalty of perjury that the foregoing is true and correct to the best of my
            knowledge and recollection.



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            Date:     2/15/2021
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                            EXHIBIT 8




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                                         DECLARATION OF WANDA WILLIFORD



             I, Wanda Williford, declare the following:



                 1.    The facts contained in this declaration are within my personal knowledge, and Icould
                       and would testify truthfully to those facts if called to do so under oath.


                2.     Ilive in Trenton, New Jersey.


                3.     Iam legally blind and use ascreenreader and VoiceOver software to interface with my
                       computer and phone.


                4.     In the past three years Ihave been apatient at LabCorp.


                5.     Iam unable to independently check in using LabCorp's check-in kiosks or engage in any
                       other services provided by these kiosks because they have not been made accessible to
                       blind patients.


                6.     Ihave arrived at LabCorp in the past 3years to find that no staff member was present at
                       the front desk, forcing me to use the assistance of others to check in via LabCorp's kiosk.


                7.     If LabCorp's kiosks were screenreader and VoiceOver compatible, Iwould be able to
                       independently use them.



             Ideclare under penalty of perjury that the foregoing is true and correct to the best of my
             knowledge and recollection.




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             Date:
                      2/15/2021
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                            EXHIBIT 9




                                      1232
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                                           DECLARATION OF MARY FLANAGAN



           I, Mary Flanagan, declare the following:



               1.   The facts contained in this declaration are within my personal knowledge, and Icould
                    and would testify truthfully to those facts if called to do so under oath.


              2.    Ilive in Wake Forest, North Carolina.


              3.    Iam legally blind and use ascreenreader and VoiceOver software to interface with my
                    computer and phone.


              4.    In the past three years Ihave been apatient at LabCorp.


              5.    Iam unable to independently check in using LabCorp's check-in kiosks or engage in any
                    other services provided by these kiosks because they have not been made accessible to
                    blind patients.


              6.    Ihave arrived at LabCorp in the past 3years to find that no staff member was present at
                    the front desk, forcing me to use the assistance of others to check in via LabCorp's kiosk.


              7.    If LabCorp's kiosks were screenreader and VoiceOver compatible, Iwould be able to
                    independently use them.



           Ideclare under penalty of perjury that the foregoing is true and correct to the best of my
           knowledge and recollection.



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                       EXHIBIT 10




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                                         DECLARATION OF DOMINICK PETRILLO




             I, Dominick Petrillo, declare the following:



                  1.    The facts contained in this declaration are within my personal knowledge, and Icould and
                        would testify truthfully to those facts if called to do so under oath.


                  2.    Ilive in Beverly, New Jersey


                  3.    Iam totally blind and use Jaws with my computer and VoiceOver software to interface with
                        my phone.


                  4.    In the past three years Ihave been apatient at LabCorp.


                  5.    Iam unable to independently check in using LabCorp's check- in kiosks or engage in any
                        other services provided by these kiosks because they have not been made accessible to blind
                        patients.


                  6.    Ihave arrived at LabCorp in the past 3years to find that no staff member was present at the
                        front desk, forcing me to use the assistance of others to check in via LabCorp's kiosk.


                  7.    If LabCorp's kiosks were VoiceOver compatible, Iwould be able to independently use them.




             Ideclare under penalty of perjury that the foregoing is true and correct to the best of my
             knowledge and recollection.

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             Date:      2/18/2021                                                    VbMi.tn,A    pt mum
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                       EXHIBIT 11




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                                                                                            Page     1


   1                     IN    THE   UNITED       STATES         DISTRICT       COURT

   2                   FOR     THE   CENTRAL       DISTRICT         OF    CALIFORNIA

   3

   4       LUKE    DAVIS,       JULIAN VARGAS,              AND

   5       AMERICAN       COUNCIL      OF    THE       BLIND,

   6       INDIVIDUALLY AND            ON    BEHALF         OF

   7       ALL    OTHERS       SIMILARLY         SITUATED,

   8                           Plaintiffs,                          Case       No.

   9               vs.                                              2:20-cv-00893- FMO-KS

  10       LABORATORY          CORPORATION         OF

  11       AMERICA       HOLDINGS,

  12                           Defendant.

  13                                 /

  14

  15                          Pursuant      to    Notice,         the    remote       video

  16               deposition         of    CLAIRE          STANLEY      was    taken       on

  17              Monday,        December         7,    2020,      commencing          at    10:00

  18               a.m.,      before       David       C.   Corbin,       a Registered

  19               Professional            Reporter         and Notary          Public.

  20

  21

  22

  23

  24

  25                          REPORTED      BY:        David      Corbin,       RPR


                                           Veritext Legal Solutions                                       JA0030
        212-279-9424                         www.veritext.com                                    212-490-3430




                                                  1237
    Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 24 of 286

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                                                                                      Page   2


   1                             A     P    P    E    A    R    A   N   C    E    S

   2              ON   BEHALF    OF        THE       PLAINTIFFS:

   3                     MATTHEW           HANDLEY,             ESQUIRE

   4                     Handley           Farrah          and      Anderson,           PLLC


   5                     777    6th        Street,             N.W.


   6                     Washington,                 DC        20001

   7                     mhandley@hfajustice.com


   8

   9

  10              ON   BEHALF    OF        THE       DEFENDANT:

  11                     ROBERT        STEINER,                ESQUIRE


  12                     Kelley        Drye          &    Warren,           LLP


  13                     101    Park        Avenue

  14                     New    York,           NY        10178

  15                     rsteiner@kelleydrye.com


  16

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                                                                                 Page    3


   1                                    I N D E X

   2       Name   of   Witness

   3       Claire      Stanley

   4       Examination:                                                                 Page

   5       By   Mr.    Steiner                                                           4

   6

   7                                 E X H    I B   I T S

   8        Exhibit      1 ACB   Survey,     June   2020                                32

   9        Exhibit      2 Complaint                                                    34

  10        Exhibit      3 Letter,    11/25/2020                                        84

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                                                                                                  Page    4


   1                       IT    IS       HEREBY        STIPULATED             AND    AGREED       that

   2       the    reading       and       signing        of       this    deposition          are       not

   3       waived.

   4                       COURT          REPORTER:               This    is    David       Corbin,

   5               court       reporter.             Due      to    the    Government's

   6               guidelines             on    social        distancing,             this

   7               deposition             is    being        conducted          remotely.           If    I

   8               could       have       counsel        stipulate             and    agree       that    the

   9               swearing          in    of     the    witness          will       also    be

  10               conducted          remotely.

  11                       MR.       HANDLEY:            I agree.

  12                       MR.       STEINER:            Yes,       for    the       defendant,          we

  13               agree.

  14                                           CLAIRE        STANLEY,

  15       duly    been    sworn/affirmed                    to    tell    the       truth,       the

  16       whole       truth,    and       nothing but              the    truth,          testifies          as

  17       follows:

  18                                  E X A M           I N A       T    I O N

  19       BY    MR.    STEINER:

  20               Q.      Good morning,                 Ms.       Stanley.           My    name    is    Rob

  21       Steiner.        I'm       a lawyer           at    Kelley,          Drye    and Warren,

  22       and    I represent             Laboratory              Corporation          of    America

  23       Holdings       in    an    action         that         was    filed by          Luke    Davis,

  24       Julian       Vargas       and       the   American            Council       for    the

  25       Blind.        Could       you       state     your       full       name    and    address


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                                                                                                 Page     18


   1       also    assist with potential                             litigation          if people        are

   2       being discriminated against because                                      of    their

   3       blindness.              We    also        interact with             federal          agencies.

   4       And we       do    quite          a bit        of    lobbying       on    Capital       Hill        to

   5       promote       legislation                 that will         positively           impact        the

   6       lives       of people             who    are blind or visually                       impaired.

   7               Q.         And       to    whom do           you    report?

   8               A.         My    direct           supervisor          is    Clark       Rachfal,         the

   9       director          of    advocacy           and governmental                   affairs.

  10               Q.         Can       you    spell           the    last    name       for me,

  11       please.

  12               A.         R- A- C- H- F- A- L.

  13               Q.         And does             anyone        report       to    you?

  14               A.         No.

  15               Q.         And       as    I understand              it,    and please          if     you

  16       have    a better way                of     describing             it,    feel    free     to

  17       correct me,             the ACB           is    an    advocacy          group    for people

  18       who    are    blind or visually                       impaired.           Is    that    fair?

  19               A.         Yes.           But     the       addition       is    that we're          a

  20       membership             organization                 of persons          who    are   blind and

  21       visually          impaired who                 get    together          for    all    kinds      of

  22       activities             across       the        United       States.

  23               Q.         And       there       are        approximately             20,000

  24       members;          is    that       correct?

  25               A.         Correct.


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        212-279-9424                                 www.veritext.com                                212-490-3430




                                                          1241
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                       EXHIBIT 12




                                      1242
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   1                           UNITED       STATES         DISTRICT      COURT

   2                   FOR    THE    CENTRAL          DISTRICT      OF   CALIFORNIA

   3

   4       LUKE   DAVIS       and    JULIAN VARGAS,                  CASE        NO.:    2:20-cv-00893

           individually         on    behalf          of

   5       themselves         and    all    others

           similarly         situated,

   6

                             Plaintiffs,

   7

                  v.

   8

           LABORATORY         CORPORATION             OF

   9       AMERICA HOLDINGS;               and    DOES      1-10,

           inclusive,

  10

                             Defendants.

  11

  12

  13

  14

  15

  16

  17              VIDEOTAPED VIDEOCONFERENCE                        DEPOSITION           OF    JOSEPH

  18       SINNING,         Laboratory       Corporation            of   America         Holdings

  19       30(b)(6),         Volume    1,    taken         on   behalf      of    Plaintiffs,          at

  20       Cape   Girardeau,          Missouri,            beginning        at    10:05       a.m.    and

  21       ending      at    3:55    p.m.,       on    Tuesday,      February           2,    2021,    before

  22       LESLIE      JOHNSON,       Certified            Shorthand        Reporter          No.    11451.

  23

  24

  25



                                                                                                      Page    2


                                                 Veritext Legal Solutions
                                                       866 299-5127                                               JA0035




                                                       1243
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   1       APPEARANCES:
   2
   3       For    Plaintiffs          Luke       Davis,      Julian      Vargas,    and   the
           Proposed       Class:
   4
                   NYE,       STIRLING,          HALE &      MILLER,      LLP
   5
                   BY:    JONATHAN          D.    MILLER,        ESQ.
   6
                          BENJAMIN          SWEET,        ESQ.
   7
                          CALLUM APPLEBY,                 ESQ.
   8
                   33    West    Mission          Street,        Suite    201
   9
                   Santa      Barbara,           California           93101
  10
                   (805)963-2345
  11
                   jonathan@nshmlaw.com
  12
                   ben@nshmlaw.com
  13
                   callum@nshmlaw.com
  14
           For    Plaintiff          Luke     Davis,       Julian       Vargas,    and American
  15       Council       of    the    Blind:
  16               HANDLEY       FARAH        AND      ANDERSON        PLLC
  17               BY:    MATTHEW        K.      HANDLEY,        ESQ.
  18               777    6th    Street          NW,     11th    Floor
  19               Washington,           DC      20001
  20             ( 202) 559-2411
  21               mhandley@hfajustice.com
  22
  23
  24
  25       Continued



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   1     APPEARANCES        ( Cont.)

   2

   3     For    Defendant:

   4             KELLY      DRYE   &     WAREEN       LLP

   5             BY:    ROBERT      I.    STEINER,             ESQ.

   6             101    Park    Avenue

   7            New     York,      New    York      10178

   8         ( 212)808 - 7800

   9             rsteiner@kelleydrye.com

  10     Also    Present:

  11            SCOTT    SLATER,         Videographer

  12

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   1                                           I N D E X

   2

   3       WITNESS                                                                    EXAMINATION

   4       JOSEPH    SINNING,          30 ( b) ( 6)

           Volume    1

   5

   6                       BY    MR.    MILLER                                                     11

   7

   8                                            EXHIBITS

   9                                       JOSEPH        SINNING

  10       NUMBER                              DESCRIPTION                                     PAGE

  11       Exhibit    4         Plaintiff       Julian Vargas's             Amended                22

                                Rule    30 ( b) ( 6)     Deposition        Notice    to

  12                            Defendant       Laboratory Corporation

                                Of America        Holdings

  13

           Exhibit    5         LabCorp      Corporate        Backgrounder                         33

  14

           Exhibit    6         Project      Horizon       Business/SME           Working          45

  15                            Group     Homework Assignment               8/23/16

  16       Exhibit    7         "Project       Horizon"       PSC     Patient      Self            54

                                Service      Project       Kickoff Meeting

  17

           Exhibit    8         Deck    entitled " LabCorp             I ExpressTm                 82

  18                            and LabCorp           I PreCheckT"'

  19       Exhibit    9         LabCorp      Express       PSC   Go- Live     Guide                89

  20       Exhibit    10        Spreadsheets                                                    101

  21       Exhibit    11        Letter;      Bates       stamped                                114

                                Davis-LabCorp00002068                 to   2071

  22

           Exhibit    12        Cost    Summary;         Bates   stamped                        121

  23                            Davis-LabCorp00002986                 to   2988

  24       Exhibit    13        Project      Horizon Non- Functional                            123

                                Requirements;            Bates   stamped

  25                            Davis-LabCorp00002055                 to   2065



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   1                               EXHIBITS ( Cont.)
   2                                  JOSEPH    SINNING
   3       NUMBER                       DESCRIPTION                                    PAGE
   4       Exhibit   14   OLEA Brochure;         Bates     stamped                      127
                          Davis-LabCorp00002876             to     2879
   5
           Exhibit   15   Aila    Brochure;      Bates     stamped                      132
   6                      Davis-LabCorp00002836             to     2863
   7       Exhibit   16   Aila    Quotation;       Bates    stamped                     133
                          Davis-LabCorp00001758
   8
           Exhibit   17   Software      Development        Kit     License              133
   9                      Agreement;       Bates    stamped
                          Davis-LabCorp00002639             to     2643
  10
           Exhibit   18   Armor Active         Radius    Stands                         138
  11                      Brochure;      Bates     stamped
                          Davis-LabCorp00002788             to     2792
  12
           Exhibit   19   Black &     White     photo;     Bates                        139
  13                      stamped      Davis-LabCorp00004133
  14       Exhibit   20   Express      Triage    Guide;     Bates                       151
                          stamped      Davis-LabCorp00004327
  15                      to   4340
  16       Exhibit   21 " Having       Trouble     Checking        In?";                163
                          Bates    stamped
  17                      Davis-LabCorp00001012             to     1013
  18       Exhibit   22   ADA -    Public Action Accommodation
                          Policy;     Bates     stamped
  19                      Davis-LabCorp00004296             to     4297
  20       Exhibit   23   Screenshots;         Bates    stamped
                          Davis-LabCorp00003276             to     3296
  21
           Exhibit   24   Letter      dated November        25,     2020
  22
           Exhibit   25   Comment     Analysis;        Bates     stamped
  23                      Davis-LabCorp00000322             to     333
  24       Exhibit   26   Screenshot;       Bates      stamped
                          Davis-LabCorp00004135
  25




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   1                            EXHIBITS ( Cont.)
   2                             JOSEPH      SINNING
   3       NUMBER                    DESCRIPTION                                    PAGE
   4       Exhibit   26A   Screenshot;     Bates    stamped                          189
                           Davis-LabCorp00004135
   5
           Exhibit   26B   Screenshot;     Bates    stamped                          190
   6                       Davis-LabCorp00004136
   7       Exhibit   26C   Screenshot;     Bates    stamped                          191
                           Davis-LabCorp00004137
   8
           Exhibit   26D   Screenshot;     Bates    stamped                          192
   9                       Davis-LabCorp00004138
  10       Exhibit   26E   Screenshot;     Bates    stamped                          193
                           Davis-LabCorp00004139
  11
           Exhibit   26F   Screenshot;     Bates    stamped                          194
  12                       Davis-LabCorp00004140
  13       Exhibit   26G   Screenshot;     Bates    stamped                          194
                           Davis-LabCorp00004145
  14
           Exhibit   26H   Screenshot;     Bates    stamped                          195
  15                       Davis-LabCorp00004156
  16       Exhibit   26I   Screenshot;     Bates    stamped                          196
                           Davis-LabCorp00004157
  17
           Exhibit   26J   Screenshot;     Bates    stamped                          196
  18                       Davis-LabCorp00004237
  19       Exhibit   26K   Screenshot;     Bates    stamped                          197
                           Davis-LabCorp00004238
  20
           Exhibit   27    Phlebotomy Notes;        Bates       stamped              198
  21                       Davis-LabCorp00004293           to    4295
  22       Exhibit   28    Express   Statistics;       Bates      stamped            202
                           Davis-LabCorp00002092
  23
           Exhibit   29    Screenshot -      LabCorp      app                        203
  24
           Exhibit   30    Screenshot -      LabCorp      app                        204
  25



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   1                              EXHIBITS ( Cont.)

   2                               JOSEPH       SINNING

   3       NUMBER                     DESCRIPTION                                    PAGE

   4       Exhibit   31   Defendant       Laboratory        Corporation               205

                          Of    America    Holdings's       Responses       and

   5                      Objections       to    Plaintiff       Julian

                          Vargas' s Amended          Rule    30 ( b) ( 6)

   6                      Deposition      Notice       Topics

   7

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   1       Cape       Girardeau,             Missouri,       Tuesday,          February          2,    2021


   2                                                 10:05    a.m.


   3


   4                          THE       VIDEOGRAPHER:              Good morning.                We     are


   5       on    the    record          at    10:05    a.m.       on    February       2nd,       2021.           10:05:50


   6       Please       note       that       the    microphones             are    sensitive          and


   7       may pick          up    whispering,             private       conversations,                or


   8       cellular          interference.                 Audio       and video       recording


   9       will       continue          to    take    place       unless       all    parties          agree


  10       to    go    off    the       record.                                                                   10:06:10


  11                          This       is    Media       Unit    1 of       the    video- recorded


  12       deposition             of    the    PMK    of    Laboratory             Corporation          of


  13       America       Holdings,             Mr.    Joe    Sinning,          taken       by    counsel


  14       for    Plaintiff             in    the    matter       of    Luke       Davis    and       Julian


  15       Vargas,       et       al.    versus       Laboratory             Corporation          of              10:06:30


  16       America       Holdings,             et    al.    filed       in    the    United       States


  17       District          Court       for    the    Central          District       of


  18       California,             Case       No.    2:20-cv-00893.


  19                          This       deposition          is    being       held    as       a virtual


  20       deposition             via    Zoom with          the    witness          located       in    Cape      10:06:51


  21       Girardeau,             Missouri.


  22                          My       name    is    Scott    Slater          from    the       firm


  23       Veritext          Legal       Solutions,          and       I am    the    videographer.


  24       The    court       reporter          is    Leslie       Johnson          from    the       firm


  25       Veritext          Legal       Solutions.           I am       not       related       to    any        10:07:05


                                                                                                               Page   9


                                                       Veritext Legal Solutions
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   1       party       in    this    action       nor    am   I financially            interested         10:07:09


   2       in    the    outcome.


   3                          Counsel       and    all    present      will      now    state


   4       their       appearances          and    affiliations           for    the    record.


   5       If    there       are    any    objections         to   proceeding,          please            10:07:15


   6       state       them    at    the    time    of    your     appearance,          beginning


   7       with    the       noticing       attorney.


   8                          MR.    MILLER:        Thank      you.       Jonathan       Miller


   9       for    the       plaintiffs.


  10                          MR.    STEINER:           Rob   Steiner      for    the                     10:07:24


  11       defendant          and    the    witness.


  12                          MR.    SWEET:        Benjamin        Sweet    on    behalf    of


  13       plaintiffs          and    the    class.


  14                          MR.    HANDLEY:           Matthew     Handley       on    behalf    of


  15       the    plaintiff.                                                                              10:07:41


  16                          MR.    APPLEBY:           Callum Applyby           on    behalf    of


  17       the    plaintiff.


  18                          THE    VIDEOGRAPHER:             Thank      you    very    much.


  19                          Will    the    court       reporter      please         administer


  20       the    oath.                                                                                   10:07:42


  21


  22                                        JOSEPH       SINNING,


  23            having       been    first    duly       sworn,     was    examined       and


  24                                  testified          as   follows:


  25                                                                                                      10:07:59



                                                                                                       Page   10


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   1       BY    MR.    MILLER:                                                                                 10:35:53


   2               Q          And,       Mr.       Sinning,        this     is    the   corporate


   3       background          from          LabCorp's        website.            I just       want    to


   4       ask    you    a preliminary                question.


   5                          Have       you       ever    reviewed         any    of   LabCorp's               10:36:01


   6       marketing material                      similar       to   this       document       before?


   7               A          I have          not    seen     this       document       before.


   8               Q          Let       me    just    ask     you     a few       questions,          and


   9       let    me    know       if    you       disagree        based     on    your    own


  10       personal       knowledge.                                                                            10:36:13


  11                          You       can    see    in     the      second paragraph               here,


  12       in    the    last       sentence,          second          sentence      from       the


  13       bottom,       it    says " LabCorp                serves       hundreds        of


  14       thousands          of    customers             around      the    world      and provides


  15       diagnostic          drug          development           and    technology- enabled                   10:36:26


  16       solutions          for       more       than    160     million        patient


  17       encounters          per       year."


  18                          Do    you       agree       that     that's        what   LabCorp


  19       accomplishes             in       its    business,         basically?


  20                          MR.       STEINER:           Sorry,        Jonathan.         Objection.           10:36:37


  21       Beyond       the    scope.              Foundation.


  22                          THE       WITNESS:           I agree        that     that's       what's


  23       printed here,                so    I would        assume       that     it's    correct.


  24       But    I don't          have       direct       knowledge         of    that    number.


  25


                                                                                                             Page   34


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                                                                 866 299-5127                                            JA0044




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   1               A          That       is    correct.                                                                   10:38:15


   2               Q          Now,       these      patient           service       centers,             what


   3       is   their        function          within       LabCorp?              What       are    they


   4       for?


   5                          MR.       STEINER:        Objection.                 Vague.                                 10:38:37


   6                          THE      WITNESS:         They're            there        to    provide          a


   7       location          to    collect          samples       from       patients             based      on


   8       what    a physician                has   ordered,          or     an    employer             in   some


   9       cases.


  10       BY   MR.    MILLER:                                                                                            10:38:53


  11               Q          And       that    could       be    for      a wide        range          of


  12       diagnostic             tests,       correct?


  13               A          That       is    correct.


  14               Q          It       could    be,    for       example,          blood          tests.


  15       That    would          be    one    example,          right?                                                   10:39:01


  16               A          Correct.


  17               Q          Then       there       could       be   a series           of       diagnostic


  18       tests       run    from       those      blood        samples,          correct?


  19               A          Correct.


  20               Q          And       the    patient       service          centers             are    the              10:39:18


  21       access      points          by     which    the       patients          can       go    and


  22       deliver       their          samples       for    LabCorp's             diagnostic


  23       testing,          right?


  24                          MR.       STEINER:        Object          to    the       form.           Vague.


  25                          THE      WITNESS:         They're            one     of    many       types         of      10:39:29



                                                                                                                       Page   36


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   1       patients       can    access          the    diagnostic             services       that                   10:40:46


   2       LabCorp       offers,       correct?


   3               A       That       is    correct.


   4               Q       Just       returning             to   Exhibit           5 briefly.        If       I


   5       could       direct    you       to    the    second page,                first                            10:41:15


   6       paragraph,       penultimate                sentence          starting with " The


   7       segment       offers       a growing             menu    of       nearly    5,000       tests,


   8       including       a wide          range       of    clinical,             anatomic


   9       pathology,       kinetic,             and    genomic          tests."


  10                       Do    you       see    that,          sir?                                                10:41:36


  11               A       I do.


  12               Q       Is    it    true       that       the    LabCorp          patient


  13       service       centers       provide          access          to    those    5,000       types


  14       of    tests?


  15                       MR.    STEINER:              Objection.                 Beyond    the                     10:41:46


  16       scope.


  17                       THE    WITNESS:              Based       on       the    order    of    the


  18       physician,       we    would provide                   access       to    any    test


  19       offered       through       LabCorp.


  20       BY    MR.   MILLER:                                                                                       10:41:55


  21               Q       But    it       is    correct          that       LabCorp       provides


  22       approximately --                or    nearly          5,000       different       types       of


  23       diagnostic       tests          for    patients;             isn't       that    true?


  24                       MR.    STEINER:              Object          to    the    form.        Beyond


  25       the    scope.                                                                                             10:42:06


                                                                                                                  Page   38


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   1                          THE    WITNESS:              That's        what's          written.              I            10:42:07


   2       don't       have    direct       knowledge              of    the       exact          number       of


   3       tests       within       the    organization.


   4       BY    MR.    MILLER:


   5               Q          Do    you    have       any     reason          or    evidence             to                 10:42:11


   6       believe       that       that    number           that's       referenced here                      is


   7       incorrect?


   8               A          I do       not.


   9               Q          Are    any    of       the    patient           service             centers


  10       that    are    located within                   the     United          States          outfitted                10:42:30


  11       with    kiosks          for    purposes           of    checking             in    the       patient?


  12                          MR.    STEINER:              Object        to    the       form.


  13                          THE    WITNESS:              Most     of    our       patient             service


  14       centers       have       a kiosk          as    one     option          of    checking             in


  15       and    for    patients          while          they're        coming          into       the       PSC.          10:42:47


  16       BY    MR.    MILLER:


  17               Q          Do    all    the       PSCs     have       kiosks?              You       were


  18       saying most.              Is    there          some     subset          that       do    not?


  19               A          There       are    a few        that       do    not       for       IT    or


  20       space       reasons       that       we've        not    been       able          to    outfit                   10:43:02


  21       them.


  22               Q          How    many       of    the     kiosks          within          the       United


  23       States --          excuse       me.


  24                          How    many       of    the     patient          service             centers          in


  25       the    United       States       have          kiosks        that       permit          check- in                10:43:13


                                                                                                                         Page   39


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   1       processes          for    patients?                                                                       10:43:19


   2               A          The    last       count     I have      is       1,853       of    them.


   3               Q          And    do    you    have       an    understanding                of    the


   4       number       of    patient       service          centers       in       California             that


   5       have    kiosks          that    allow       a patient          to    check       in?                      10:43:34


   6               A          My    understanding             from    the       last       count          we


   7       did    is    there       were    19    that       did    not    out       of    that       299.


   8               Q          So,    if    I just       subtract          19    from       299,       I can


   9       get    to    the    number       of    patient          service          centers          in


  10       California          that       have    kiosk       check- in?                                             10:44:01


  11               A          Yes,    sir.        I didn't          want       to    try    to       do    that


  12       mental       math,       sorry.


  13               Q          That's       all    right.


  14                          Now,    LabCorp          doesn't       discriminate                in


  15       providing          access       to    its    services          at    patient          service             10:44:13


  16       centers,          does    it,    sir?


  17               A          Absolutely          not.


  18               Q          LabCorp       seeks       to    serve       all       members          of    the


  19       public       who    wish       for    services,          including             individuals


  20       with    disabilities,                right?                                                               10:44:24


  21               A          That    is    correct.


  22               Q          And    that       includes          individuals             who    are


  23       blind       or    low vision,          true?


  24               A          Correct.


  25               Q          And    you    would       agree       that       LabCorp          provides             10:44:32


                                                                                                                  Page   40


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   1       testing,         wouldn't          you?                                                               10:45:28


   2                         MR.       STEINER:           Object       to    the    form.


   3                         THE       WITNESS:           Yes,       sir.


   4       BY   MR.    MILLER:


   5               Q         How       do    you    have       that    understanding?                            10:45:32


   6               A         I have          knowledge          of    having blind people


   7       come    into      the       PSC    and being          serviced by          our    PSTs.


   8               Q         How       do    you    have       that    knowledge?


   9               A         I've       been       in    some    locations          when    it    was


  10       transpiring            as    well       as    had    conversations             with    people         10:45:46


  11       about      how    the       service          had    gone.


  12               Q         So    you       yourself          have    actually       observed


  13       blind      individuals             coming          into    the    patient       service


  14       center      to    obtain          testing          services?


  15               A         I have          on    two    occasions,          yes.                               10:46:02


  16               Q        And        then       how many       other       occasions       have       you


  17       been    made      aware          that    blind       individuals          accessed


  18       patient      service             centers       for    diagnostic          testing?


  19               A         Only       on    two       other    occasions          where    we    heard


  20       about      how    the       service          went.                                                    10:46:19


  21               Q        And where              did    those       reports       come    from?


  22               A         It    was       in    conversations             with


  23       phlebotomists,               making          sure    that    they       have    a good


  24       understanding               of    how    to    work with          individuals.


  25               Q         Well,          LabCorp       engaged       in    a project          called          10:46:34


                                                                                                              Page   42


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   1       Project       Horizon;             isn't    that       true?                                              10:46:37


   2               A          That       is    our    kiosk project,             sir.


   3               Q          And    that       project       began       in    the    2016       time


   4       frame;       is    that       correct?


   5               A          Yes,       sir.                                                                        10:46:48


   6               Q          And    the      purpose        of    the    project       was       to


   7       implement          patient          self-service          at    the    LabCorp


   8       patient       service          centers,        right?


   9                          MR.    STEINER:           Object       to    the    form.


  10                          THE    WITNESS:           No.        The    purpose       was       to                 10:46:59


  11       create       a tablet          self- check- in           service       as    an    option


  12       for    patients          in    our    PSCs.


  13       BY    MR.    MILLER:


  14               Q          So,    effectively,             you    were       attempting             to


  15       create       a self- check- in              service       for       patients       at       each          10:47:09


  16       one    of    your    patient          service          centers;       is    that --          am    I


  17       correct?


  18               A          It's       a self- check- in           option       for       patients.


  19       They    can       either       use    the    tablet       or    they       can    go    to       our


  20       window       and be       serviced          for    the    check- in         purposes.                     10:47:21


  21               Q          But    now patients             can    do    other       things          at


  22       the    self-service                center    other       than       just    check- ins;


  23       isn't       that    true?


  24                          MR.    STEINER:           Object       to    the    form.


  25                          THE    WITNESS:           They       can    make    a payment             on           10:47:32


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   1       account          or    on    an       NOBD,       which       is    notice          of    balance                  10:47:34


   2       due.        They       can       also       do    that       at    the       front       window.


   3       BY    MR.    MILLER:


   4               Q             But    as       it    relates          specifically                to    the


   5       kiosks       that          have       been       placed       in    the       patient          service             10:47:45


   6       center,          they       can       make       a payment.              That's          another


   7       thing       they       can       do    other          than    to    check       in,       right?


   8               A             Yes.        There          is    a credit          card machine                on


   9       the    side       of       it.


  10               Q             Can    they          change       their       appointments                for       the      10:47:55


  11       future?


  12               A             No,    sir,          they       cannot.


  13               Q             Is    that       part       of    the       functionality                that's


  14       going       to    be       rolled          out    eventually?


  15               A             It's       in    a backlog,             but       it    has    not       been                10:48:02


  16       developed.


  17               Q             But    does          the    company          have       plans       to    roll


  18       out    the       ability          to       schedule          appointments                through          the


  19       kiosk       check- in --               or    excuse          me.


  20                             Does       LabCorp          have       plans       to    allow patients                      10:48:17


  21       to    make       appointments                through          the       kiosk?


  22               A             It's       an    idea       that's          been       discussed,          but


  23       there       is    no       definitive             plan       as    to    when       that       may    come


  24       to    fruition.


  25               Q             As    part       of    the       Project          Horizon,          there       was          10:48:32


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   1       a risk      assessment           done       by    LabCorp;          isn't      that       true?       10:48:35


   2               A         That's        my    understanding.                 I have         not


   3       viewed      the     risk       assessment.


   4               Q         And     the    risk       assessment            was     done      to    review


   5       various       risk       scenarios          that       would prevent             LabCorp              10:48:47


   6       from being          successful             in    Project          Horizon;       isn't      that


   7       correct?


   8                         MR.     STEINER:              Objection.           Beyond         the


   9       scope.


  10                         THE     WITNESS:              I have       no    knowledge         of    what       10:48:57


  11       was    done    as    part       of    that       risk    assessment.


  12       BY    MR.   MILLER:


  13               Q         Who     made       this       risk    assessment,            to    your


  14       knowledge?


  15               A         That     would have             been       part    of    the      steering          10:49:03


  16       committee,          is    my    understanding,                that       was   developed


  17       back    then.


  18                   ( Exhibit                6 marked          for    identification.)


  19       BY    MR.   MILLER:


  20               Q         I'm     going       to    show       you    what       we'll      mark    as        10:49:17


  21       Exhibit       No.    6.        This    is       a document          that's       been


  22       produced by          LabCorp          starting          at    Bates       stamp      55    and


  23       continuing          on    through          Bates       stamp       63,    labeled


  24      " Project       Verizon          Business          SME    Working          Group      Homework


  25       Assignment          8/23/16."                                                                         10:50:07


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   1       information?                                                                                             10:53:46


   2                          MR.    STEINER:                 Object       to    form.


   3       Speculation.


   4                          THE    WITNESS:                 It    would be          the    directors


   5       and managers             of    the       sites          within       the    divisions          that      10:53:51


   6       would       know    that.


   7       BY    MR.   MILLER:


   8               Q          So    here       on    the       document,          returning          to


   9       Exhibit       6,    it    says " Mitigation                     strategy," " PIR/PST


  10       required          service          patient.              Possibly          offer       a braille         10:54:21


  11       option       at    the    device."


  12                          You    already             indicated what                a PIR       is,    so


  13       what,       for    the    record,             is    a PST?


  14               A          PST    is       a patient             service       technician,


  15       otherwise          known       as    a phlebotomist.                                                     10:54:34


  16               Q          To    your       knowledge,             is    any       braille       option


  17       offered       at    any       of    the       kiosks       in    patient          service


  18       centers       throughout             the       United          States?


  19               A          No,    sir,       there          is    not.


  20               Q          Do    you       know why             not?                                             10:54:52


  21               A          We    have       the       staff       to    service          the   patients,


  22       and    that's       the       direction             we've       chosen       to    go.


  23               Q          Who    made       that          decision?


  24               A          It    would have                been    Richard          Porter       and


  25       Kevin       DeAngelo          back       in    the       day.                                            10:55:05


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   1       really       numbered.              Are    you    talking            about        where       it             11:24:48


   2       says " CEP      Scope          Summary"?


   3               Q       Right.


   4               A       Okay.


   5               Q       And       does       CEP    stand          for       capital       expenditure               11:24:57


   6       proposal?           Is    that       your       understanding                of    what       it


   7       stands       for?


   8               A       Based          on    what       I'm    seeing          in    front       of    me,


   9       yes,    sir.


  10               Q       And       this       was    one       of    the       slides       that       was            11:25:06


  11       presented       to       you    by       LabCorp       in       2016?


  12               A       If       it    was       this    presentation,                then       yes.


  13               Q       Did       you       come    to    have          an   understanding                 that


  14       the    Project       Horizon             requested          a capital             of


  15      $ 22.4       million       to    implement             it?                                                    11:25:21


  16                       MR.       STEINER:              Objection.              Beyond          the


  17       scope.


  18                       THE       WITNESS:              That's          what    I see          written       in


  19       the    slide.        I don't             recall       that       exact       conversation.


  20       BY    MR.    MILLER:                                                                                         11:25:33


  21               Q       Have          you    ever       come       to    that       knowledge          from


  22       any    other    source          other       than       a presentation?


  23               A       No,       sir.           I don't --             I don't       have       that


  24       direct       knowledge.


  25               Q       And was             it    presented             to   you     that       there       was      11:25:45


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   1       a calculated            tenure       internal                rate    of    return             at                 11:25:47


   2       28.9    percent         and    a payback                of    3.6    years          to    recoup


   3       that    expenditure?


   4               A         That's       what       I see          written          on    the       screen.


   5       Again,       I don't       recall         that          exact       discussion                back       in      11:25:59


   6       2016.


   7               Q         As    you    sit       here       today,          are    you       aware          of


   8       whether       the      Project       Horizon             has       recouped          the       initial


   9       outlay       of   money       to    implement                the    process?


  10                         MR.    STEINER:              Objection.                 Beyond          the                    11:26:14


  11       scope.


  12                         THE    WITNESS:              The       only       thing       I'm       aware          of


  13       is    the    tracking         that       we    did       to    show       that       we       saved


  14      $ 14    million         in --       I believe             it    was    2019.              We    have


  15       done    no    other      tracking             of    the       savings          from       the                    11:26:29


  16       project.


  17       BY    MR.    MILLER:


  18               Q         In    2019,       what       was       the $ 14         million             savings


  19       from?        What      expenditures                were       no    longer          necessary?


  20               A         It    was    related             to    the       transition             of       some          11:26:42


  21       employees         from     full-time               to    part-time.


  22               Q         Was    that       the       PIRs?


  23               A         It    was    not       directly             related          to    PIRs.           It


  24       could have          been      phlebotomists                   as    well       as    PIRs


  25       because       those      are       the    staff          members          inside          the       PSC.         11:27:00


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   1               Q       So    there          was    a reduction           of   both        PIRs       and       11:27:02


   2       PSTs    as    a result          of    the    implementation              of    Project


   3       Horizon?


   4                       MR.       STEINER:           Objection.              Misstates           his


   5       testimony.                                                                                              11:27:12


   6                       THE       WITNESS:           The     placement          of    the    tablets


   7       gave    us    efficiencies                within     the      check- in       process


   8       that    allowed us          to       move    people        from      full-time           to


   9       part-time.


  10       BY    MR.    MILLER:                                                                                    11:27:28


  11               Q       And,       in    2019,       there       was    a realized           cost


  12       savings       for    the    company          of $ 14       million       as    a result?


  13               A       The       documentation              that      I reviewed,           yes,


  14       that's       what    it    showed.


  15               Q       Now,       returning          here       to    Exhibit        7,    in    the           11:27:37


  16       next    paragraph          it    indicates           that " The        project


  17       introduces          preregistration                and     on- site      walk-in


  18       registration          capabilities              at    all      PSC     locations          to


  19       improve       patient       experience,              reduce       labor       in    the


  20       largest       PSCs,       and    improve        capacity          in    all    patient                  11:27:56


  21       service       centers."


  22                       Is    that       also       your     understanding             of    what


  23       the    project       was    being          implemented          for?


  24               A       Yes,       sir.


  25               Q       And when             it    says " improved             capacity          in    all      11:28:13


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   1       patient      centers,"             is    it    your          understanding             that                    11:28:15


   2       LabCorp      can       now    see       more       patients             as    a result          of    the


   3       implementation               of    Project          Horizon?


   4              A          It    gives       us       the    ability             to    capture       the


   5       patient      information                up    front          without          us    having       to            11:28:28


   6       manually         type       everything             in.        So    it       increased          our


   7       efficiencies            and       abilities             to    see       more       patients          in


   8       some   of    our       largest          facilities.                 Absolutely.


   9              Q          And       have    you       seen       an    uptick          in    the    amount


  10       of   patients          that       LabCorp          is    able       to       service       as    a             11:28:44


  11       result      of    implementing                Project          Horizon?


  12              A          I don't          have       direct          correlation             of    what


  13       patient      volume          was    prior          to    Horizon             versus    after          to


  14       be   able    to       answer       that       question.


  15              Q          Who       would be          the       person          within       LabCorp                   11:29:01


  16       that   you       believe          would have             that       information?


  17                         MR.       STEINER:           Objection.                    Speculation.


  18                         THE       WITNESS:           Yeah.           I don't             know who


  19       would have            that    because          I'm       not       sure       that    there's


  20       been   any       of    those       type       of    studies             done.                                  11:29:11


  21       BY   MR.    MILLER:


  22              Q          It    goes       on    to    say       here       in       Exhibit       7 with


  23       respect      to       Project       Horizon             that " It            also    delivers


  24       improved         appointment             scheduling                to    drive       increased


  25       utilization            of    appointments,                   improved payment                                  11:29:25


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   1               A       That    is    correct.                                                              11:43:27


   2               Q       Do    you    know who          Bart    Coan    is,    listed         there


   3       as    a core    team member?


   4               A       I do    not    know       Bart.


   5               Q       Have    you    ever       interacted with             Mr.       Coan    in          11:43:36


   6       any    capacity?


   7               A       No,    sir.        I don't       know who          that    individual


   8       is.


   9                ( Exhibit             8 marked          for       identification.)


  10       BY    MR.    MILLER:                                                                                11:43:43


  11               Q       I'd    like    to       show    you    what    I'll       mark    as


  12       next    in    order,    Exhibit         No.     8.     It's    a document


  13       produced by          LabCorp       labeled " LabCorp               Express       and


  14       LabCorp       Precheck."           It's    five       pages.


  15               A       Right.                                                                              11:44:26


  16               Q       Have    you    ever       seen       this    document       before,


  17       Mr.    Sinning?


  18               A       Not    that    I recall,             no.


  19               Q       Were    you    ever       made       aware    in    your    role       as


  20       patient       service       director       as    to    any    of    the    changes          in      11:44:37


  21       Project       Horizon's       scope?


  22               A       Well,       when    I took my          role    as    it    exists


  23       today,       patient    services          director,          this    was    done,       to


  24       my    knowledge.        I don't          recall       seeing       this    as    a


  25       phlebotomy       director          in   the     north       central       division.                 11:44:55


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   1       center,         gets    a diagnostic                test,       and       a bill       is                   12:04:55


   2       generated.             Patient          returns          a week       later.


   3                         Can       they       go    to    the    kiosk       and pay          for       the


   4       service         they    received             the    week prior?


   5                 A       If    they       have       the       invoice       number       that          was        12:05:03


   6       on   the       bill    sent       to    them,       then       yes.


   7                 Q       And,       looking          here       again       at    Exhibit          9,


   8       there's         a photograph                here    of    the       LabCorp       Express


   9       check- in.


  10                         Is    that       generally what                   the    units       look       like      12:05:26


  11       throughout            the    patient          service          centers?


  12                 A       Yes,       sir.


  13                 Q       And       the    device          there       in    the    lower


  14       right-hand            corner,          is    that       the    scanner?


  15                 A       No.        That's          the    tray       that       the    cards       go    in       12:05:40


  16       to   be       scanned.


  17                 Q       And       that       would be          both       the    driver's


  18       license         and    the    insurance             identification                card?


  19                 A       Correct.


  20                 Q       And       so,    looking          again       at    the       photograph                  12:06:00


  21       here      on    Exhibit       9,       this       would be          typical       of    what       the


  22       kiosks         look    like       at    each       of    the    patient          service


  23       centers;         is    that       right?


  24                 A       Yes.        Some          will    have       a banner,          and       some


  25       will      not.        But    yes,       the       design       is    exactly what                you        12:06:12


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   1       appointment            via       the    cell    phone        that    I think          you're             01:03:24


   2       referring         to.


   3       BY   MR.    MILLER:


   4               Q         I'm       sorry.        So     let    me    take    it       step    by


   5       step.                                                                                                    01:03:30


   6                         On    the       website,        you    can    make       an


   7       appointment            at    a LabCorp           facility,          correct?


   8               A         That       is       correct.


   9               Q         And       that       technology        on    the    website          is


  10       integrated with                  LabCorp's        appointment             scheduling                     01:03:40


  11       system,      correct?


  12               A         Yes.           It    creates     an    appointment.


  13               Q         Okay.           And    then,     once       the    individual             has


  14       an   appointment,                there    can     be    check- in         through       the


  15       smartphone,            correct?                                                                          01:03:55


  16               A         Yes.           If    they provided us              either          their


  17       email      address          or    their       telephone        number          for    a text


  18       message      to    send          the    link     to.


  19               Q         And       that       ability     to    check       in    through          a


  20       smartphone         is       also --       that     technology             is    also                     01:04:06


  21       integrated with                  the    kiosk     technology          that's


  22       available         either          at    the    Express        kiosk by          the    patient


  23       or   behind       the       counter?


  24               A         Correct.


  25               Q         And       I just       want     to    make    sure       that       I'm                01:04:25


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   1       BY    MR.    MILLER:                                                                                      01:06:57


   2               Q          I'd    like       to    show       you    what    I'll       mark    next


   3       in    order    Exhibit          11.        It's       Bates       stamped       2068


   4       through       2071.


   5                          And my       first       question          is    one       for                         01:07:26


   6       identification             as       to    whether       you've       seen       this


   7       document       before.


   8               A          No,    I have          not.


   9               Q          Do    you    know who          Mike       Doherty          is?


  10               A          He's    one       of    our    IT    security people.                                  01:07:49


  11               Q          Have    you       ever       interacted with                Mr.    Doherty


  12       in    your    current          role?


  13               A          Yes.        As    we    put    equipment          into       certain


  14       places,       we    work with             him    on    occasion          to    deal    with


  15       wifi    and,       like    I said,          IT    security          stuff.                                01:08:06


  16               Q          And    you       can    see    here       on    the --       I believe


  17       the    third page          of       the    document,          2070,       it's       signed by


  18       somebody       named Bart?


  19               A          Yeah.        I don't          know       a Bart.


  20               Q          You've       already          indicated          you       don't    know               01:08:27


  21       who    Bart    Coan       is,       correct?


  22               A          That's       correct.


  23               Q          Turning          to    the    substance          of    the       email   just


  24       briefly       to    see    if       any    of    it    refreshes          your


  25       recollection.              I'm       on    LabCorp          2068,    the       very    first              01:08:38


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   1       page      in    the    penultimate             paragraph,        second          from    the             01:08:43


   2       bottom.


   3                         I'd       like    to    focus        your    attention          to    the


   4       sentence         where       it    says " Even          with    those       patients


   5       that      were    compliant."                                                                            01:08:54


   6                 A       I'm       trying       to    find     that.


   7                         MR.       STEINER:           Where     is    that?


   8       BY   MR.       MILLER:


   9                 Q       It's       about       three     sentences          into       the


  10       paragraph,            the    second       to     the    last    paragraph. " Even                        01:09:05


  11       with      those       patients          that    were     compliant."


  12                 A       I do       see    that.


  13                 Q       And       the    document        says, " Even            with    those


  14       patients         that       were    compliant,           this    may       create       a


  15       negative         initial          impression           because       the    use    of    the             01:09:17


  16       Express         station       is    no    longer        seen    as    optional."


  17                         Again,          the    Express        station       was    the       kiosk


  18       station.          Is    that       the    way     it's    referred          to    within


  19       LabCorp?


  20                 A       That       is    correct.                                                              01:09:30


  21                 Q       It    goes       on    to    say, " With       that       in    mind,       I


  22       think      the    patient's             expectation           then    becomes          that


  23       this      experience          should be           absolutely          flawless,          since


  24       it   is    not    optional."


  25                         Again,          does    that     statement          refresh          your              01:09:44


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   1       memory      at   all    as    to    whether          LabCorp       ever       indicated                     01:09:46


   2       to    any   of   its    employees             that    the    Express          check- in


   3       station      was      not    optional?


   4               A        No.        I don't       recall          that    ever       being


   5       communicated           to    us.                                                                            01:09:56


   6               Q        Have       you    ever       investigated             any    type    of


   7       similar      statements?


   8               A        We've       had    a couple          of    complaints             where    a


   9       PST    said " You       need       to    use    the       tablet,"          even    though


  10       our    training        and protocols                say    that    we're       there       to               01:10:09


  11       service      the      patient.           I have       seen       that,       and we've


  12       addressed        those       in    the    divisions          as    they've          come    up.


  13               Q        So,    just       so    I'm    clear,       there          have    been


  14       occasions        where       PSTs       have    directed patients                   that


  15       they    have     to    use    the       Express       check- in         tablet?                             01:10:25


  16               A        Yes.        In    violation          of    our    policy,          yes.


  17               Q        So    that --          you    would       agree       that    would be          a


  18       violation        of    your       LabCorp's          internal          policies       if


  19       such    a directive           was       made?


  20               A        Correct.                                                                                   01:10:39


  21               Q        In    the    next       paragraph --             if    you    could       go


  22       to    the   last      paragraph          of    this       page.        It    goes    on    to


  23       say, " I'm       certain          there       are    a number          of    reasons       why


  24       the    staff     are    immediately             redirecting             the    patients


  25       to    the   Express         stations.           Employees          really          like    the              01:11:01


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   1       wait    time       report.           Employees          were    not    adopting                            01:11:07


   2       Horizon       limited placement                   options       for    devices,


   3       et    cetera.           However,       in    these       locations,          it    seems


   4       that    a greeter          or    an    ambassador             would    truly       help


   5       with    the    experience             if    the    Express       check- in         is    not               01:11:20


   6       optional,          at    least       during       some    of    the    busier       periods


   7       of    the    day."


   8                          Again,       do    you    know whether             any    greeters          or


   9       ambassadors             were    ever       hired by       LabCorp       following             the


  10       Project       Horizon          rollout?                                                                    01:11:29


  11                          MR.    STEINER:           Objection.              Asked    and


  12       answered.


  13                          THE    WITNESS:           Yeah.        I'm    not    aware       of    that


  14       being       done    specifically             for       that    reason,       no.


  15       BY    MR.    MILLER:                                                                                       01:11:58


  16               Q          Has    hiring       of    employees          at    the    patient


  17       service       centers          increased          or    decreased       since       the


  18       rollout       of    the    Project          Horizon?


  19                          MR.    STEINER:           Objection.              Beyond       the


  20       scope.                                                                                                     01:12:01


  21                          THE    WITNESS:           And,       quite    honestly,          the


  22       pandemic,          you    know,       made     a lot      of    changes       in    hiring


  23       and    everything.              So    it    would be          very    difficult          to


  24       draw    any    correlation             at    this       time.


  25


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   1                          MR.    STEINER:           Objection                to    the       extent                     01:25:34


   2       there's       no    foundation.


   3                          THE    WITNESS:           What          I'm       aware       of    is    that


   4       they    have       one    that       gives       some       additional


   5       capabilities             than       the   one     that          we    have.           But    that's              01:25:42


   6       all    I know       at    this       time.


   7       BY    MR.    MILLER:


   8               Q          So    I just       want       to    be       very       clear.           You've


   9       come    to    learn       that      Aila,        A- I- L- A,          has    a kiosk          that


  10       has    additional          functionality                   and       accessibility                               01:25:56


  11       features;          is    that       right?


  12               A          That    is       correct.


  13               Q          And    how       did    you    come          to    learn       that


  14       information?


  15                          MR.    STEINER:           Just          to    the       extent --          let    me          01:26:07


  16       just    caution          the    witness.              To    the       extent          that    any    of


  17       this    calls       for    you       to    reveal          communications                   with


  18       counsel,       I'm       going       to    direct          you       not    to    answer       the


  19       question.


  20                          THE    WITNESS:           Therefore,                I cannot             answer               01:26:18


  21       the    question.


  22       BY    MR.    MILLER:


  23               Q          Well,       to    your    knowledge,                outside          of


  24       anything       you       learned          from    counsel,             does       the       existing


  25       Aila    product          have       all    the    accessibility --                      or    does               01:26:28


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   1       it    have    accessibility              features         for       individuals         with              01:26:31


   2       disabilities           to    use      the    product          independently?


   3                        MR.      STEINER:           Just       object       to    the   form.


   4                        THE      WITNESS:           Yeah.        Reask       that,      please.


   5       BY    MR.    MILLER:                                                                                      01:26:50


   6               Q        Yeah.           No   problem.


   7                        So    currently            the    patient          service      centers


   8       are    equipped with              kiosks       that     were        provided      at    least


   9       in    part    by Aila.            The    iPad      itself       was       provided by


  10       Aila?                                                                                                     01:27:00


  11               A        Yes.


  12               Q        And      did     the    product         that       Aila    provided


  13       have    any     features          that      would       allow       someone      with


  14       disabilities           to    use      the    kiosk       independently?


  15                        MR.      STEINER:           Objection          to    the    form      of    the          01:27:13


  16       question.


  17                        THE      WITNESS:           When       you    say " disability,"


  18       what    kind     of    disability?


  19       BY    MR.    MILLER:


  20               Q        Let's       start       with      a vision          disability.                          01:27:19


  21               A        No.        We    provide         our    employees          to   assist


  22       with    those      individuals.


  23               Q        Do    you       know    one      way    or    the    other      whether


  24       LabCorp       ever     considered            the    cost       of    purchasing         an


  25       Olea,       O- L- E- A,     kiosk       that      was   ADA-compliant             as                      01:27:55


                                                                                                              Page   131


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   1       opposed       to       the    cost       of       considering             the    Aila,                           01:28:03


   2       A- I- L- A,       kiosk       and       decided          that     it      was    an    undue


   3       hardship          to    purchase             one     that    was       ADA-compliant?


   4                          MR.       STEINER:              Objection           to    the      form    of    the


   5       question.              No    foundation.                 Legal       conclusion.                                 01:28:14


   6                          THE       WITNESS:              I'm    not     aware         of    which    ones


   7       were    considered                and why          anything was              chosen         based    on


   8       those       guidelines.


   9               ( Exhibit                       15    marked        for      identification.)


  10       BY    MR.    MILLER:                                                                                             01:28:25


  11               Q          I'm       going       to       show    you     what       I'll      mark    as


  12       Exhibit       No.       15.        Let       me    know,     once         you've       had    a


  13       chance       to    review          it.        It's,       for     the       record,         Bates


  14       stamped       2836          through          2863.        And     it's,         again,


  15       produced by             LabCorp.                                                                                 01:28:57


  16               A          I have          it    up.         It's    several            pages.


  17               Q          Yeah.          Now,        focusing          on     the      first       page,


  18       just    to    start          with.


  19                          And my          question           is,    is      it     your


  20       understanding,                Mr.       Sinning,          that       this       is    the    kiosk               01:29:34


  21       product       that          was   ultimately purchased by                             LabCorp       to


  22       put    in    its       patient          service          centers?


  23               A          It       looks       like       it.      I'm      just       not    sure    if


  24       it's    a 12.9-incher                   or    what       those       dimensions             are.


  25       But    it    does       look       like       our     device.                                                    01:29:53


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   1       LabCorp       utilizes       in    its       patient       service             centers                     01:37:15


   2       comes       from?


   3               A       I don't       specifically                know       that       answer,       no.


   4               ( Exhibit                 19    marked       for       identification.)


   5       BY   MR.     MILLER:                                                                                       01:37:25


   6               Q       If    you'd       take       a look       at    Exhibit          19.


   7                       You    might       want       to    just       rotate          that    for


   8       your    convenience          so    that       it's    in       portrait          mode.


   9                       Can    you    see       the    exemplar             that       I'm    looking


  10       at   right     here?                                                                                       01:38:00


  11               A       Yes.        I do       see    the    stand.


  12               Q       It's,       again,       Bates       stamped          LabCorp          4133.


  13                       Is    that    an       exemplar       of       what       a kiosk          looks


  14       like    at    the    patient       service          centers?


  15               A       It    is.                                                                                  01:38:12


  16               Q       And,    outside          of    the    iPad --             or    strike


  17       that.


  18                       Does    the       iPad       actually          go    with       the    case


  19       that    surrounds       the       iPad?


  20               A       Yes,    sir,       it    does.                                                             01:38:21


  21               Q       And    is    there       any       hole    in       that       case    for    a


  22       headphone       jack?


  23               A       No,    sir,       there       is    not.


  24               Q       Do    you    know why          not?


  25               A       I know       the       headphone          jack       is    used       as   part            01:38:31


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   1       BY    MR.    MILLER:                                                                                             02:52:24


   2               Q             Two    patients          walk       into    a PSC       at    the       same


   3       time    with          one    phlebotomist             who    is       servicing          another


   4       patient          in    the    back.        Patient          A is       sighted          and    can


   5       go    check       in    at    the       Express       center          kiosk.        Patient          B           02:52:35


   6       needs       to    wait       until       the    phlebotomist                comes       back    to


   7       the    window.              Patient       A proceeds             to    the    check- in


   8       location          and       checks       in.     Who       gets       called       first?


   9                             MR.    STEINER:           Objection             to    the


  10       hypothetical.                                                                                                    02:52:48


  11                             THE    WITNESS:           So,       again,       it    all    depends          on


  12       who    gets       signed          in.     It    could have             easily been A or


  13       B depending             on    who       went    to    the    kiosk          first.


  14       Somebody          in    that       scenario          is    going       to    get    service


  15       second.                                                                                                          02:53:04


  16       BY    MR.    MILLER:


  17               Q             Let    me    make    it    more       clear.


  18                             Two    individuals             walk    into          a patient


  19       service          center,          Patient       A and patient                B.     Patient          A


  20       is    sighted.              Patient       B is       blind.           Patient       A walks          in          02:53:12


  21       and    checks          in    at    the    kiosk,          finishes          the    check       in,


  22       and    sits       down       to    wait.        Patient          B still          has    to    wait


  23       for    the       phlebotomist             to    come       back       in    from    the       back.


  24       Who    gets       to    check       in    first?


  25                             MR.    STEINER:           Objection             to    the                                  02:53:30


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   1       hypothetical.              Speculation.                                                                             02:53:31


   2                          THE    WITNESS:           We're       going          to    assist          the


   3       person       who    hadn't       checked          in    in    getting          them       checked


   4       in.     And       then    we    would    take          the    first          one    that


   5       checked       in    in    order.        They       both       arrived          at       the    same                 02:53:39


   6       time    in    your       scenario.           Somebody          is       going       to    have          to


   7       go    second.


   8       BY    MR.    MILLER:


   9               Q          Right.        But    in    my       scenario,             it's       going       to


  10       be    Patient       B,    not    Patient          A,    right,          who    is       going       to              02:53:48


  11       have    to    go    second?


  12                          MR.    STEINER:           Objection             to    form.


  13                          THE    WITNESS:           It    would       be.


  14       BY    MR.    MILLER:


  15               Q          Patient       B is    going          to    have       to    wait       while                     02:53:55


  16       patient       A gets       service?


  17               A          The    first    patient             that    checked             in    would          be


  18       first.


  19                   ( Exhibit             26    marked          for    identification.)


  20       BY    MR.    MILLER:                                                                                                02:54:03


  21               Q          Just    a few       more       screenshots                and    we    can


  22       move    on    here.        You    can    set       that       exhibit          aside.


  23       Thank       you    very    much.


  24                          I'm    showing       you       what       I'm    marking             next       in


  25       order       Exhibit       26.     Let    me       know       once       you've          had    a                    02:54:45



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   1       are    visual       impaired          during         the     check- in            process          at               03:50:12


   2       its    patient       service          centers?


   3               A       There          is   nothing          specific           to    visually


   4       impaired patients.                    It's      patients           in    general             that       we


   5       are    there    to    either          help       them with             the    kiosk process                         03:50:25


   6       directly       or    to    assist         them       through           helping          them       at


   7       the    window.


   8               Q       Do    you       know whether               LabCorp           provides          any


   9       training       to    its       PIRs      or    PSTs     to    be       able       to    assess


  10       what    the    individual's               disability              is?                                               03:50:38


  11                       MR.       STEINER:             I'm     sorry.           To    assess          what


  12       their       disability          is?       Is     that      the     question?


  13                       MR.       MILLER:             Yes.      To    assess          what       their


  14       disability          is.


  15                       MR.       STEINER:             Object        to    the       form.                                  03:50:51


  16                       THE       WITNESS:             No.      We    don't          do    any


  17       training       on    assessing            a disability.


  18       BY    MR.   MILLER:


  19               Q       Do    you       know whether               LabCorp           has       any


  20       policies       that       is    provided          to    its       PIRs       or    PSTs       on    how             03:50:59


  21       to    assess    what       disability             an    individual                might       have?


  22               A       No,       sir,      we    do     not.


  23               Q       Do    you       know whether               LabCorp           provides          any


  24       training       to    its       PIRs      or    PSTs     to    assess          what       aids       or


  25       auxilliary          services          might       assist          an    individual             who                  03:51:19


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               Project Horizon

               Lousiness / SME Working Croup Homework AssiFynrnent 8/23/16



               Risk Assessment Exercis(:.

               When thinking about Project Horizon and the commitments made in the attached CEP....

               When the Horizon solutions are deployed, what would prevent us from being successful?




                Ri$k SG-    10 ,,,                       Impoctod Area            Mitigation stratogy !'
                                                                                                      n
                           W Vm) .rn; •• •• w'•,...
                                                                    w   ­,


                Patient arrives without insurance        Patient Intake Labor     PIR/PST required to call client's office.
                info on req or copy of insurance                                  Possibly deploy asystem in which PST/PIR
                card                                                              could input aSSN and retrieve both the plan
                                                                                  info and eligibility info.
                Patient arrives and cannot speak         Patient Intake Labor     Offer atelephone or another translating
                English/Spanish or another                                        service for patients with specific language
                language that is offered on the                                   need.
                device.
                Patient arrives with seeing eye          Patient Intake Labor     PIR/PST required to service patient.
                dog and is unable to check in at                                  Possibly offer abraille option at the device.
                device.
                WIFI connectivity too slow or not        Patient Experience       Ensure speed and bandwidth purchased for
                enough bandwidth                         Patient intake Labor     patient WIFI could support ahigh volume of
                                                                                  patient devices at one time.
                NOBD's currently pull only by            Patient Experience       NOBD tied to aunique identifier for each
                patient name and date of birth.                                   individual patient.
                With this current system apatient
                could be notified of apast due
                balance that doesn't belong to
                them
                Company shift towards smaller                                     close nearby small pscs due to increased
                PSCS ( lower # staff than ROI in                                  capacity at 1person sites.
                CEP)


                Not integrated with touch. Clumsy                                 Ensure there is no duplication of data entry
                handoff may result in more work                                   or validation of data behind the counter.
                for PST



                Patient does not pay for NOBD            Patient intake Labor     Integrate the patient self check- in process
                (past due) balances when                                          with TOUCH so the PST can easily view the
                                                         Improved Capacity
                presented as part of the patient                                  patient information that was entered
                self check- in process                                            (including NOBD) and allow for the
                                                                                  interaction with the patient to be efficient




                                                                                                                                 JA0072


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                                                                              (in regards to collecting on the past due
                                                                              balance) and still realize some labor save
                                                                              and improved capacity within the PSC.

               Patient elects to not provide           Patient intake Labor   Integrate the patient self check- in process
               credit card information as part of                             with TOUCH so the PST can easily view the
                                                       Improved Capacity
               the patient self check- in process                             patient information that was entered and
               when the current service indicates                             allow for the interaction with the patient to
               there will be patient responsibility                           be efficient ( in regards to the credit card
                                                                              authorization process) and still realize some
                                                                              labor save and improved capacity within the
                                                                              PSC.

               Patient declines to pay for current     Patient intake Labor   Integrate the patient self check- in process
               service via the patient self check-                            with TOUCH so the PST can easily view the
                                                       Improved Capacity
               in process when the patient is not                             patient information that was entered and
               insured ( Cash Sale scenario)                                  allow for the interaction with the patient to
                                                                              be efficient ( in regards to the cash sale
                                                                              collection) and still realize some labor save
                                                                              and improved capacity within the PSC.

               No cc capture up front.                                        Significant risk to labor save ROI if CCC is
                                                                              not done by patient prior to intake.
                                                                              Mitigate by ensuring patient is matched to
                                                                              COR orders prior to arrival or in waiting
                                                                              room, present CCC at that time, do not
                                                                              prompt PST to re-approach on CCC
               Wireless network issue that does        Patient intake Labor   Deploy card scan solutions and auto
               not allow the patient to utilize the                           LPID/COR lookup behind front desk so PST
                                                       Improved Capacity
               self check- in process                                         can expedite the check- in process to ensure
                                                                              some labor save and improved capacity
                                                                              within the PSC — assumption is that if the
                                                                              wireless network has issues that the Touch
                                                                              system can still function ( not sure if that is a
                                                                              correct assumption)

               Patient self check- in process not      Patient intake Labor   Deploy card scan solutions and auto
               functioning ( e.g. - scanning issues)                          LPID/COR lookup behind front desk so PST
                                                       Improved Capacity
                                                                              can expedite the check- in process to ensure
                                                                              some labor save and improved capacity
                                                                              within the PSC




               Patient is unable to complete log-      Patient Intake Labor   Will need to develop an alert system for
               in ( doesn't understand, has                                   sites that may not have someone at the
                                                                              front desk. For sites large enough to have




                                                                                                                             JA0073


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               smartphone issues, connectivity                               someone still at the front desk, ensure
               issues, etc...)                                               appropriate training so that they may assist.
               Landlord will not allow public WiFi   Patient Intake Labor    SE Division ran into this with our Walmart
               to be used in our leased space.                               sites- they would not allow us to install
                                                                             patient Wil'i as their IT team felt it
                                                                             interfered with their own operations. (Some
                                                                             physician clinics may have the same
                                                                             concern.) We will need to establish a
                                                                             protocol to ensure we do not violate lease
                                                                             agreements by installing WiFi.
               Employees may perceive this as        Union Activity          Develop strong messaging that proactively
               "big brother" watching them as                                addresses this concern along with plans for
               they enter keystrokes into the                                labor reductions that do not include
               system ( automated wait times,                                reductions in force.
               etc..)



               Multiple COR orders available for     Patient Intake          When PST selects Horizon patient, UI will be
               Patient                                                       displayed with available COR orders.
               No COR orders available               Patient intake          When PST selects Horizon patient PST must
                                                                             select Account and Physician and bill type at
                                                                             which point demographics are complete
                                                                             and OE screen can be presented
               Patient presents with 2D barcode      Patient Intake          Horizon must be able to scan 2d barcode
                                                                             and present data to Touch. In addition any
                                                                             associated COR order must be marked as
                                                                             complete
               Multi- Plan Carrier                   Patient Intake          Exception flow for PST personnel enter text
                                                                             for multi- plan carriers
               Horizon System down                   Patient Intake          Revert to standard Touch flow

               Patient with Standing Order           Patient Intake          Centralize Standing Orders. We will have to
                                                                             work out documentation ownership of s.o.
                                                                             request form, renewal forms, expiring
                                                                             reports, and confirmation reports.
               Drop Offs                             Patient Intake          Use current Touch flow

               Insurance Carrier Mnemonic            Patient Intake          Horizon must automatically map insurance
                                                                             carrier to Labcorp mnemonic
               Patient does not want to provide      PST interaction/Labor   Ensure the wording and options are clear
               payment for NOBD based on self-                               and concise giving patient options to
               service check-in data                                         provide payment
               System down for extended              PST Labor/Wait Time     Staff trained well to revert back to manual
               timeframe                                                     entry with patient interaction and credit
                                                                             card/NOBD collection
               Too much data on each screen          Patient satisfaction    Ensure each screen has limited data to help
               causing confusion for the patient                             pt easily identify steps needed




                                                                                                                          JA0074


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               Ease of use, terminology and                           Need to be sure that terminology is familiar
               app/website failures                                   to the general public and that website is
                                                                      intuitive and has support and backup so
                                                                      that we do not have failures that cause
                                                                      patients to avoid the app/website for future
                                                                      use — include aphone contact # for patients
                                                                      if they experience aproblem with the app —
                                                                      especially during the pilot and ramp up
                                                                      phase.
               Pts with multiple orders                               Provide an opportunity for patients to
                                                                      identify themselves as having multiple
                                                                      orders from different or the same physician
                                                                      (ie standing order and additional order).
                                                                      This will give our PSTs aheads up to look for
                                                                      multiple orders or request the order from
                                                                      the patient. Need ability for PSTs to "see"
                                                                      testing ordered on COR orders if Pt has
                                                                      multiple orders. Problem currently
                                                                      encountered is that some EMRs send
                                                                      multiple orders at one time for standing
                                                                      orders so patient could have 6orders in the
                                                                      system but, they are all for aprotime ( for
                                                                      example) and PST has to open each order to
                                                                      confirm that it is not aseparate order from
                                                                      the standing order.


               Standing orders                                        Recognize standing order patients as one of
                                                                      our main opportunities — previous system
                                                                      setup was that standing orders were not
                                                                      included in cc auth — these patients should
                                                                      be included in cc auth and patient
                                                                      responsibility flagging
                                                                      Provide an opportunity for patients to
                                                                      identify themselves as having astanding
                                                                      order. Need ability to find astanding order
                                                                      that has been entered at any location. Add
                                                                      these orders to COR (?) when entered so
                                                                      that they can be accessed from anywhere.


                   1.   Bluecard process                                           a.   Pt responsibility
                                                                                        information needs to be
                                                                                        setup so that Blue Card
                                                                                        policies are applied based
                                                                                        on the patient's home plan
                                                                                        and not the local Blue Card.
                                                                                        I'm hoping this is being




                                                                                                                     JA0075


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                                                                                         addressed by the RCM
                                                                                         team looking at the
                                                                                         reimbursement info. BCBS
                                                                                         —we have to bill to the local
                                                                                         plan where the testing is
                                                                                         performed — however, the
                                                                                         policies ( non- covered, etc)
                                                                                         is based on the patient's
                                                                                         plan so, if testing is
                                                                                         performed in NC, we would
                                                                                         bill NC BCBS but, if the Pt
                                                                                         has BCBS Massachussets
                                                                                         the payment would follow
                                                                                         the policies for BCBS
                                                                                         Massachussets.



                 2.   Pt's ability to check                                         a.   Some of our competitors
                      financial responsibility                                           are offering an option for
                      prior to onsite at PSC                                             patients to check their
                                                                                         responsibility prior to
                                                                                         having testing completed.
                                                                                         Need to offer ability for
                                                                                         patients to check their
                                                                                         responsibility if their
                                                                                         physician provides them
                                                                                         with test codes and dx
                                                                                         codes prior to their visit to
                                                                                         the PSC.



                 3.   Pts questions about                                           a.   Need opportunity to direct
                      financial responsibility                                           patients if they have a
                                                                                         question about financial
                                                                                         responsibility. Build into
                                                                                         the financial responsibility
                                                                                         page to add the phone
                                                                                         number to the payer for the
                                                                                         patient to contact the payer
                                                                                         if they have questions
                                                                                         about their responsibility
                                                                                         that has been provided.




                                                                                                                       JA0076


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                                                                                         Ensure that the pt
                                                                                         responsibility form lists the
                                                                                         CPT codes and dx codes
                                                                                         provided by the client so
                                                                                         that the patient can provide
                                                                                         that information to their
                                                                                         payer when they call.



                 4.   Pts wondering why they                                        a.   Need to prepare ascript for
                      did or didn't get a                                                PSTs to let patients know
                      financial responsibility                                           that responsibility sheets
                      sheet                                                              are only provided to
                                                                                         patients when we are able
                                                                                         to check the financial
                                                                                         responsibility online. Some
                                                                                         patients do not have
                                                                                         financial responsibility
                                                                                         based on their insurance
                                                                                         and we also may not
                                                                                         capture 100% of financial
                                                                                         responsibility if we don't
                                                                                         have connectivity ( system
                                                                                         down) or if the payer is not
                                                                                         connected - some third
                                                                                         party administrators for
                                                                                         example. Need to be sure
                                                                                         that patients understand
                                                                                         that even though they
                                                                                         didn't receive asheet
                                                                                         during the visit they may
                                                                                         have some responsibility
                                                                                         depending on their
                                                                                         insurance.



                 5.   Unexpected issues at PSCs                                     a.   Need option to "blackout" a
                                                                                         particular PSC when the
                                                                                         wait time has reached a
                                                                                         certain timeframe (>45
                                                                                         min?) and/or amanual
                                                                                         override for PSTs if they




                                                                                                                      JA0077


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                                                                                have adifficult pediatric or
                                                                                asingle person PSC with a
                                                                                Pt that has had amedical
                                                                                emergency. If the manual
                                                                                override is exercised — need
                                                                                to alert PSC Supv and Mgr
                                                                                that amanual override has
                                                                                taken place so that they can
                                                                                check in with the site and
                                                                                send additional help if
                                                                                available.



                 6.   Line management                                      a.   This has been aproblem at
                                                                                our busiest PSCs. If
                                                                                someone has an appt and is
                                                                                using Horizon, they will
                                                                                expect to be in adifferent
                                                                                "queue" than awalk-in who
                                                                                has not pre- registered. If
                                                                                the site is small and there
                                                                                aren't two individuals we
                                                                                need an option ( either on
                                                                                the app) or through a
                                                                                standalone tablet for the
                                                                                horizon patients to check in
                                                                                without waiting in line or at
                                                                                least waiting in adifferent
                                                                                line
                                                                           b.   App check- in capability.
                                                                                Send the Pt areminder to
                                                                                check- in 15 minutes prior to
                                                                                their appointment (?) —
                                                                                however, we need atime
                                                                                limit on how far in advance
                                                                                they can check in before
                                                                                they are at the PSC. Kind of
                                                                                like when you pay for
                                                                                parking at akiosk and you
                                                                                have 5minutes to leave the
                                                                                facility. My concern is that
                                                                                patients will check- in and




                                                                                                              JA0078


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                                                                                   show up 30 minutes later.
                                                                                   So, maybe arequirement
                                                                                   that they are at the PSC
                                                                                   within 15 minutes of
                                                                                   checking in (?) the check- in
                                                                                   reminder should also give
                                                                                   them an option to change
                                                                                   their appointment time.
                                                                                   This may help to lower the
                                                                                   #of no shows for
                                                                                   appointments.

                                                                  Screen that shows the que (?) — Isee this at
                                                                  Walgreens and have heard they are using it
                                                                  at Quest. This may have already been
                                                                  asked as auser question to determine user
                                                                  acceptance — I'm not sure if this is good or
                                                                  bad but, if you did the mobile check- in and
                                                                  show up at the PSC and see your name on
                                                                  the queue then you wouldn't even need to
                                                                  go to the front desk when you arrive. You
                                                                  would just wait for your name to be called.
                 1.   Real time updates                                       a.   Need to be sure that when
                                                                                   the patient enters their
                                                                                   information — if they are
                                                                                   using the app at the PSC it
                                                                                   is available to the PST
                                                                                   within aminute. We are
                                                                                   used to watching aspinning
                                                                                   circle ( maybe we make it a
                                                                                   helix?) and then once it
                                                                                   comes up with a
                                                                                   confirmation that we are
                                                                                   complete we expect the
                                                                                   system to be updated. This
                                                                                   needs to be the case. It
                                                                                   can't take 5minutes for the
                                                                                   information to transfer
                                                                                   from the app to the Touch
                                                                                   system when aPST is ready
                                                                                   to assist the patient this




                                                                                                                JA0079


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                                                                           could be frustrating to both
                                                                           parties if they have to wait.




                                                                                                      JA0080


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                                                  "Project Horizon"
                                                PSC Patient Self Service




1289
                                                Project Kickoff Meeting

                                                     August 2016



                                                                                                                       Exhibit
                                                                                                                                      Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 75 of 286




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                                                 Agenda

       • Opening Remarks                                                           Mark/Kevin/Mark
       • Scope of the CEP                                                          Kevin
           • Horizon Project Goals
           • Features with Tangible Benefits
           • Features with Intangible Benefits
       • Phasing of the Project                                                    Mark
           • Highest Value First
           • Incremental Deliveries
       • Break




1290
       • Agile Development Process                                                 Mark
           • Process Overview
           • Roles and Level of Involvement
           • Reporting and Oversight
       • Demonstration of the Prototype                                            Horizon Dev Team
       • Action Plan                                                               Mark/Kevin
       • Closing Remarks                                                           Kevin/Mark
                                                                                                                                Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 76 of 286




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                                                Opening Remarks




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                             C   P       atient as Consu mer                                                                                                                                    Dri        vers

                           Emerging Demand                                                                                                    Competition
       Findings: Overall Consumer Interest & Drivers                                                                                                                                       MyQuest
                                                                                                                                                                                           Get your lab results
          Heady half of consumers are interested in DTC testing; key drivers are
             convenience, healthcare ownership, doctor avoidance, and cost.                                                                                                                on your smartphone,
                                                                                                                                                                                           tablet or desktop.
       overall Interest In Concept of DTCTesting        pe-A-A lb—nt. oI DTC T..elne       i.                                                                                              (Where available)
                     (%of Consumers)               1%   Findings: Consumer Interest in Genomics
                                                                                                                                                                                           Access and share
                                                              Consumer Interest In genomlcs Increases dramatically with basic
                                    .,r.r..rN                                                                                                                                              medical info and
                                                    I    education; corsu ,ners value clear Interpretation of results via aopllcatlons.
                                                                                                                                                                                           medicatlorts.
                                                              Interest In Unome Seq—ting              Interest in Apps to Interpret Recalls
                                                                     I% of Co..—.)                              I% of Cansurners)
                                                                                                                                                                                           Avadable lot
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1292
         Social/Analytics Market Trends
                                                                                                                                              Wearables and monitoring
                                    O
                                        J
                                                                 social-Wtworkkg-Elko Experience
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             Co„ su,, e Se                      Se r
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            Old School Car Rental                                                     Modern Self Serve Car Rental




1293
       •Wait in long line
       •Fill out forms and show driver's                                    •Option 1— preferred account with
        license and credit card                                                 reservation picks up car directly from
       •Wait for agent to ask questions and                                  the lot and leaves
        finish agreement                                                    •Option 2 — self serve kiosk scans DL
       •Wait for car and then check                                             and CC, pick your car on screen, pick
        paperwork again at exit                                                 up car in the lot and leave
                                                                                                                                 Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 79 of 286




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             Co su n   m   erSe   •f   Se        rv      i
                                                         ce naSC
                                      An airline analogy



                                                          We serve adiverse consumer market:
       Check in on                                        • Many will embrace amobile web
       mobile
                                                                 app or installable mobile hybrid app
                                                                 to have everything ready before
                                                            they arrive at PSC
                                                          • Many will embrace using akiosk at
                                                                 the time they arrive, but will expect




1294
       Check in at
                                                                 avery easy, intuitive experience to
       the kiosk
                                                            expedite their visit
                                                          • Some will still need personal
                                                                 attention at the counter, but we still
                                                                 need the speed and efficiency of
       Check in at                                               new technology to capture and
       the counter
                                                                 verify all consumer info
                                                                                                                    Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 80 of 286




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             Consu        m               f
                              erSe i Se r0ce                                           aSC
                                                                                       Lat) Co rp
                                          One more travel analogy

                                                                                                Los Vegas, NV                                 OtMstaW b SNi
                                                                                                                                              _ S-2?

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                                                                                               m. sm P

                                                                                           k   SLMoV—NMN-C..I                 Ii
       "Express" customers get smart                                                                ulw■               we$31



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                                                                                                                                   Frontier Airlines
       recommendations for appointment                                                                                 ws S52
                                                                                                                                   835 RN   O—Ob
                                                                                       •        wnmt Sueer . nuwniaxn W Vepes

                                                                                               Escasser NPtal Cssim
                                                                                                                                   Virgin Arnerioa
       times and locations and fast pay                                                                                            7W_          •O

                                                                                               Tuscany Suass s0"-             'i                                      •PPre wry
                                                                                               uWW c■                  tue$ B      JetBlae Airways
       options ( stored cards) based on                                                         u    1MSbe        .-
                                                                                                                                    3a RIA ()—O
                                                                                               MOMS Cart 1Nsort.ni,i          N
                                                                                               .Wu6M                   s•s$60
       established account and preferences                                                                                         JelBlue Airways            $361
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1295
       Casual customers can still find best
       appointment and location options
       for them at the time without
       registering for an account but with
       easy data entry
                                                                                                                                                                                                   Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 81 of 286




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       =i    Laboratory Corporation of America




                                                  Scope of the CEP




1296
                                                                                                                              Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 82 of 286




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                               CEP Sco - t!
                                       p"QnSummary                   l ,




                                                          Project " Horizon"
                                                         PSC Patient Self Service



                                              Capital Expenditure Proposal
                                                      Executive Summary

               Summary:
               This project requests capital of $22AM with acalculated 10 year IRR of 28.9% and apayback of 3.6
               years.


               This project introduces pre-registration and onsite (walk in) registration capabilities at all PSC locations to
               improve patient experience, reduce labor in the largest PSCs and improve capacity in all patient service
               centers. It also delivers improved appointment scheduling to drive increased utilization of appointments,
               improved payment process to increase collections from patients, and improved patient engagement to
               increase clinical trials recruitment and email/cell phone capture.




1297
               Over 50% of the time needed by a LabCorp employee to create apatient order at aPSC is tied directly to
               patient data and payment information. The patient data provided includes basic patient demographics,
               insurance coverage, responsible party demographics and corresponding relationship(s) to the insured.
               Additional patient interaction is required to capture financial and payment information including balance(s)
               due, overdue balances ( NOBD) and preferred methods of payment. The remaining time needed to
               complete the patient order is specific to the physician order itself and requires the capture of account ID,
               diagnosis codes and test orders.

               The time needed and the labor required to complete the TOUCH order entry process at PSC and IOP
               locations can be reduced through Patient Self Service where patients are provided with multiple
               opportunities and multiple channels including mobile app, mobile web app, and tablet-based LabCorp
               supplied devices to pre-register, leverage "known patient' status or self- register upon arrival. The pre-
               registration and rapid check-in capabilities of the project also reduce the potential for extended patient
               wait-time prior to intake and improve the overall patient experience.
               Details:
               This project introduces pre-registration and onsite (walk in) registration capabilities at all PSC locations.
               The three primary capabilities follow:
                                                                                                                                                        Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 83 of 286




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       Project Horizon: OvetObw and Key Elements

                                               Best in Class Consumer
                                               Experience Integration
                                               *Native Mobile Apps for Personal
                                                Media Devices and tablets
                                               *Overhaul of Existing Patient
                                                Engagement Channels
                                               *Component of Larger Consumer
                                                App Program

       Value Proposition                                                                   Key Functional Elements
       *Labor Reduction                                                                    -introduction of " Known Patient"
       *Waste Reduction                                                                     and Fast Pass Services
       *Improved Capacity                                                                  *New Waiting Room Experience
       *Improved Patient Experience                                                        *Wait Time Suggestions




1298
                                                                                           *Project Phoenix Leverage for
                                                                                            Insurance and Demographic
                                                                                            Validation




                                                       Project
                                                    Horizon
                                                    PSC Self Service
                                                                                                                                    Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 84 of 286




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                 Co„ su me1                                                                                Goa ls
                                             Consumer Mission
       Transform LabCorp patient interaction into consumer engagement and solution
               the improved capabilities into amodern technology platform




                                        High Level Project Goals

        •Create technology that causes patients to request LabCorp




1299
        •Enhance the preference for LabCorp in the physician community

        •Increase reach of patient recruitment for research

        •Reduce labor in the Patient Service Centers by shifting data collection from
         employees to patients

        •Improve cash flow from patients through improved billing and payment
         capabilities
                                                                                                                            Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 85 of 286




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               Features wit•i Ung iolle Benefits



       • Patient Pre- registration through 3channels:
          • Responsive website for mobile, tablet, computer
          • Installable mobile apps for i0S and Android
          • Tablet based " Express Check In" in the waiting room
       • Pre- registration will include capture of patient




1300
         demographics, insurance, and appropriate validation and
         eligibility checks
       • Streamlined check- in options
       • Pre- registration delivers labor savings
       • Pre- registration delivers paper and toner savings
                                                                                                                 Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 86 of 286




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       Additional Features with Intang Ge Benefits



        • Patient Payment Options through 3channels:
           • Responsive website for mobile, tablet, computer
           • Installable mobile apps for iOS and Android
           • Tablet based " Express Check In" in the waiting room
        • Patient Payment Options will include capture of credit




1301
          card for future charges and may include payment of
          existing invoices
        • Patient Payment Options delivers improved collections
                                                                                                                Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 87 of 286




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       Additional Features with Intang Ue Benefits



        • Improved Appointment Scheduling to show closest PSC
          locations to patient's current geo-location and estimated
          wait times for each location
        • Improved inventory of available appointment slots
          optimized for patient convenience and PSC workflow




1302
        • Improved Appointment Scheduling delivers improved
          patient and physician preference for LabCorp
                                                                                                                Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 88 of 286




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       Additional Features with Intang Ge Benefits



        • Improved recruitment of patients for participation in
          research
        • Improved creation of patient LabCorp accounts and
          patient engagement through capture of cell phone, email
          and password




1303
        • Improved patient satisfaction through free Wi-Fi in all PSC
          locations
        • Improved patient satisfaction through easy electronic
          feedback on service during the visit
                                                                                                                Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 89 of 286




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                         CEP Sco -
                                 p"QnSummary        lt:,!,




       1. Multi-channel patient pre- registration
       2. PSC patient queue management and Touch integration
       3. Multi-channel payment options
       4. Improved appointment scheduling and lab locator
       5. Patient recruitment




1304
       6. Patient engagement through cell phone and email
       7. Patient enrollment in portal
       8. Free wi-fi in waiting rooms
       9. Electronic feedback ( NPS)
                                                                                                                  Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 90 of 286




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                                                    Project Phases




1305
                                                                                                                              Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 91 of 286




                                                                                                                     JA0097
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                                                  #:30
                                              Timdine
                                Patient Self Service for PSCs


                                                                        Incremental

           Project                    Initial                     Software Releases
                                                                  Prioritized by their                  Development
          Approval                   Software
                                                                      Impact on our                      Complete
           Target                    Release
                                                                       Project Goals



                       v                           v                                                v
                  QO       Q1   Q2         Q3            Q4             Q5            Q6       Q7        Q8       Q9
                  Ah
                                                   40




1306
       Pre-Work                                         Field Delivery                                  Field Delivery
       Underway                                                Sta rt                                     Complete




       • Benefits layer in multiple releases beginning 9months after project launch
       • Deployment to highest value locations first
                                                                                                                               Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 92 of 286




                                                                                                                         009


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                                           Phase


       Deliver the highest tangible value first


          Likely highest values to be addressed first will include:
          • Patient identity capture and validation
          • Patient insurance lookup or capture and verification




1307
          • Easy check in capabilities ( I'm here)
          • Patient queue management ( place in line, call back,
              waiting time capture)
          • Patient recruitment
          • Free wi-fi
                                                                                                                  Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 93 of 286




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       Deliver the next highest tangible value second


          Likely next highest values to be addressed will include:
          • Patient estimate presentment and authorizations
          • Patient payment method capture




1308
          • Patient invoice payment
          • Patient enrollment in portal
          • Pre- registration in portal?
                                                                                                                   Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 94 of 286




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       Deliver the next highest value following whether tangible
       or intangible


           Likely next highest values to be addressed will include:
          • Appointment scheduling with geo-location and wait




1309
               times ( maybe suggestions)
          • Patient feedback ( NPS scoring?)
          • Registration and check- in improvements
          • Payment improvements
          • Portal integration
                                                                                                           Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 95 of 286




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                                            Agile Development Process




1310
                                                                                                                              Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 96 of 286




                                                                                                                     JA0102
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       Scrum in 100 words
       •Scrum is an agile process that allows us to focus on
        delivering the highest business value in the shortest
        time.
       •It allows us to rapidly and repeatedly inspect actual
        working software (every two weeks to one month).




1311
       •The business sets the priorities. Teams self-organize
        to determine the best way to deliver the highest priority
        features.
       •Every two weeks to amonth anyone can see real
        working software and decide to release it as is or
        continue to enhance it for another sprint.
                                                                                                                     Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 97 of 286




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                                                gM an itesto



       Individuals and interactions                       over



                                                                                               Comprehensive
             Working software                             over
                                                                                               documentation




1312
          Customer collaboration                          over                               Contract negotiation




          Responding to change                            over
                                                                                                                             Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 98 of 286




       Source: www.agilemanifesto.org
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                             Scrum ire                       :   0.7 Nutskell




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       PRODUCT             S PRINT                                                                        S HIFPASLE

       GACKL0 G           BACKLOG                                                                          PRODUCT
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                                             SOnts




       •Scrum projects make progress in aseries of " sprints"
         —Analogous to Extreme Programming iterations

       •Typical duration is 2-4 weeks or acalendar month at most
       •Aconstant duration leads to abetter rhythm




1314
       •Product is designed, coded, and tested during the sprint
                                                                                                              Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 100 of 286




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                 No     Cfianges :",, rin gaSprint




1315
       •Plan sprint durations around how long you can commit to
        keeping change out of the sprint
                                                                                                          Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 101 of 286




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                             Scrum                 N14,0
                                                       1o rnework




       Product owner
       ScrumMaster
       Team                 Ceremonies
                             Sprint planning
                             Sprint review
                             Sprint retrospective




1316
                             Daily scrum meeting




                                                                  Product backlog
                                                                  Sprint backlog
                                                                  Burndown charts
                                                                                                             Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 102 of 286




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                           The Da' %i
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       •Parameters
         •Daily

         •15- minutes

         •Stand-up




1317
       •Not for problem solving
         •Whole world is invited

         •Only team members, ScrumMaster, product owner, can talk

       •Helps avoid other unnecessary meetings
                                                                                                            Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 103 of 286




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              ve1yone  savers 3Questo ns



       What did you get done yesterday?




       What will you get done today?




1318
       Is anything in your way?


            •These are not status for the ScrumMaster
                •They are commitments in front of peers
                                                                                                         Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 104 of 286




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                                   Sp r


       •Team presents what it accomplished during the sprint
       •Typically takes the form of ademo of new features or
        underlying architecture
       •Informal
         •2- hour prep time rule




1319
         •No slides

       •Whole team participates
       •Invite the world
                                                                                                         Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 105 of 286




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                                                     Disruptive
                                                     Innovation




                                        Consumer
                                         Market




1320
                                         Testing




                                                     Product
                                                   Development
                                                                                             Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 106 of 286




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                                          Demonstration of Prototype




1321
                                                                                                                              Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 107 of 286




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                                                            1]x_UQ   Spanish,   Privacy Commitment




            Hello, please check in here.
            You will need your:
             Driver's License
            •Insurance Card (optional)

                                                                                                     •


                      Check- In




1322
            We respect your privacy and will never share your information. Read More
                                                                                                              Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 108 of 286




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                                                                            42




                                 1330
       in




                  Scott, you're checked in!

                  Please remove your insurance card,
                take aseat and we'll call you back shortly.   •
            0




1331
                                   Okay
                                                                       Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 117 of 286




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                                                        Action Plan




1332
                                                                                                                              Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 118 of 286




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                                         n Flow
        Governance Structure — Roles and I
                                                Board of Directors - Quarterly Progress Updates


                      Executive Oversight - Quarterly Meetings Prior to the Board Update
         This committee is responsible for providing project oversight, identifying and clearing risks and roadblocks
             to the success of the project, and preparing for the quarterly progress updates to the Board of Directors.
                                                                                                                                       MC — Monthly Updates
                                                                                                                                   The Corporate Management Committee
                                                                                                                                  will receive regular progress updates from
       /10                       Project Steering Committee - Meets Monthly or As Needed                                              the Project Steering Committee.
              The Project Steering Committee provides updates to the Executive Oversight Committee and helps the
             project Core Team set priorities. This Committee is responsible for steering the project in amanner that
                ensures the achievement of the project's Mission and Goals ( including decision- making about time,
                                                          resources and deliverables content).                                         OC — Monthly Updates
                                                                                                                                    The Operating Committee will receive
                                                                                                                                  regular progress updates from the Project
                                                                                                                                            Steering Committee.




1333
                                                          Core Team — Meets Weekly
             The Core team is also broken into two groups; one that supports Process Only and asecond that supports
                 Process / System changes. The Core Team's role is to manage the delivery of successful releases of
                  production functionality to end users. This team will also manage communication to all impacted
                   business and IT groups during the planning, testing and implementation phases of each release.




                                                   Development Teams — Day-to- Day Work
              There will be 3or more individual Development teams each working on an assigned deliverable. These
             teams will be made up of collaborative groups of both IT and business resources, including stakeholders
                      from the Division and Corporate Operations. Based on priorities set by the Core Team, each
             Development Team will develop, test and implement deliverables. The business owners will have Subject
               Matter Experts and Process Owners working iteratively with IT solution architects and developers to
                               design and perfect the look, feel and functionality of each deliverable in real time.
                                                                                                                                                                                Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 119 of 286




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                                     Governance Structure —Team Members

                                     Board of Directors
                                         Quarterly progress updates               Process And System Changes



                                    Executive Oversight
                                                                      Ben Miller         Mark Schroeder        Lance Berberian
                                              Committee               Bill Haas          Mark Wright           Glenn Mogolowitz
                                                                                                                                                    Management
                                               Meets quarterly
                                                                                                                                                    Committee
                                                                                                                                                     Regular progress
                                                                      Ben Miller          Mark Schroeder       Lance Berberian                           updates
                                        Project Steering              Bill Haas           Mark Wright          Glenn Mogolowitz
                                                                      Steve Jones        Jeff Hitzke           Chuck McAllister
                                              Committee               Kevin DeAngelo      Mike Morgan          Dr Mark Brecher




1334
                                        Meets monthly or as needed.   Devin Lorsson       Jim Whelan           Mike Davis
                                                                                                                                                     Operating
                                                                                                                                                    Committee
                                                                                                                                                     Regular progress
                                                                                                                                                          updates
                                                                      Kevin DAngelo       Mark Wright          Kara Booth
                                              Core Team               Bart Coan           Process Owners       Division Stakeholder
                                                                      IT Project Mgrs     Business Proj Mgrs   Corp Ops Stakeholder




                                                                      IT PM             Business PM      Corp Ops SME    SOP Development
                                                                      Developer         Billing SME      BA              Communication
                                                Teams                                                                                         ...    Team n
                                                                      QA                Division SME     Process Owner   Billing Compliance
                                                                      Architect         UAT              Training
                                                                                                                                                                             Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 120 of 286




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                           eve iopme n tTea m Structur e

                                                          Project             Project
                                                         Manager            Manager

                                                                Project Management




                                Product                                                                        App Dev
                                Manager                                                                        Leader


       Business                            User Exp              Patient                             Touch                Touch
                           BA
        SMEs                               Designer             Advocate                         `   Engineer            Support

       Business .                          User Exp              Visual                              Touch SW
                           BA
        SMEs                               Designer        IDesigner                             y   Engineer

                           Backlog Management                                                            Internal System Integration




1335
                                 App Dev
                                 Leader


                  Sr S/W         Sr S/W            QA Lead                                              Data
               Engineer          Engineer          Engineer                                           Architect

               Software          Sr S/W            QA Auto                                           Middleware          Middleware.
               Engineer          Engineer             Testing                                         Engineer            Engineer

               Software            ftware          QA Auto                                           App Arch /          Application
               Engineer     L     ngineer             Testing                                        Ent Svc Dev          Architect

                                 QA Auto           QA Auto                                            Dev Ops
                                 Testing          ITesting                                            Engineer


                           Software Engineering                                                              Enterprise Services
                                                                                                                                                 Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 121 of 286




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                           enoiaer -                                                          St r uctur e

                                                   Project Owner                Project Owner
                                                     Corp Ops                          I.T.

                                                             Stakeholder Leadership




                          Business Operations                                                                Business SME Team
                            Leadership Team


                                                                                                  Corp Ops       Div Phleb       Ir Div I.T.
       Corp Ops           Atl Division     N.C. Division
                                                                                                    SME            MGR                Mgr
       Director             Director          Director
                                                           G                                      Corp Ops       Div Phleb          Div AR       I
                          MA Division         EDivision
                                                                                                    SME            MGR                Dir
                            Director
                                         L    Director

                          NE Division      W Division                                             Corp Ops       Div Phleb        RCM Patin      I
                            Director          Director                                              SME            MGR              Bill Dir ,




1336
                          Patient Advisory Board



            Patient
                                                 Legal
           Advocate
                                                             I
           Corp Ops          Marketing        Compliance



                                               Contact
       W     RCM      4          IT
                                                Centers
                                                                                                                                                                Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 122 of 286




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                                                                                             mentage Metnoaol      ogy
                       M ode r n



                                                                                                               Sprint Planning           Daily SCRUM         Review           Retrospective
             Vision                                  Process Roadmap             Release Planning
                                                                                                                                                                                                       Release
          (annually +)                                (bi-annually +)              (quarterly +)           0    Sprint Start:
                                                                                                                        h         0( 15 minutes}       0    Sprint End:
                                                                                                                                                               2- 4h              After Sprint:   0
                                     0                                     0
                                                                                                                   4- 8                                                               1-3 h


       Roadmap                                  Product Backlog                Sprint Backlog                                                Sprint Cycle
       (holistic view of                               (active work              (transparent real-
       product features                              items; subset of            time picture of all
        that create the                                 roadmap)                    work items)                                                                Analysis
            vision)                                                                                                     Validation &
                                                       {                                                                  Feedback
                                                          W                                                                                                          Design
                               0                          1                                            4
                                                                                                                      Integration &




1337
                                                       {                                                             Regress Testing
                                                          W                                                                                                       Development
             0
                                                           ■
                                                                                                                                         Testing & Automation

                                                            1
                                                                                                                        User(s)
                                                  Grooming Group
                                                                                                                                                       •            •              •


                                                                                                                                                       A        A                      A
                                                                                                               Division Corps     Billing   SCRUM      BA     Dev(s)      QA(s)     Architect
                                         Business Process          IT PM
                                                                                                                 SME Ops SME       SME       Master
                                                PM      Owner
                                                                                                                                                                                                                 Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 123 of 286




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                                              Tim9ine
                                Patient Self Service for PSCs


                                                                        Incremental

           Project                    Initial                     Software Releases
                                                                  Prioritized by their                  Development
          Approval                   Software
                                                                      Impact on our                      Complete
           Target                    Release
                                                                       Project Goals



                       v                           v                                                v
                  QO       Q1   Q2         Q3            Q4             Q5            Q6       Q7        Q8       Q9
                  Ah
                                                   40




1338
       Pre-Work                                         Field Delivery                                  Field Delivery
       Underway                                                Sta rt                                     Complete




       • Benefits layer in multiple releases beginning 9months after project launch
       • Deployment to highest value locations first
                                                                                                                             Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 124 of 286




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                                      NeXt 3 Steps




       1. Technical Kickoff Meeting                                                        Aug 15th

       2. Stakeholder Group Working Sessions                                               As scheduled

       3. Development Team Sprint 0                                                        Aug 15th




1339
       4. Persona/Workflow Working Session                                                 Aug 18th

       5. Development Start Readiness Milestone                                            Early Sept
                                                                                                               Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 125 of 286




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                                                  Closing Remarks




1340
                                                                                                                              Case: 22-55873, 03/31/2023, ID: 12686644, DktEntry: 21-7, Page 126 of 286




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                                                                   #:3115




               Good afternoon everyone,
               As some of you may not know, Iwas invited by Mike Doherty to visit some of the Northeast PSCs on
               Monday and Tuesday of this week to hear from some of the Divisional IT and PSC staff on the Horizon
               rollout. We visited Somerset, East Brunswick, Freehold, and had achance to have atour of Raritan. I
               want to thank Mike and the Divisional IT and PSC staff (Joe Campo's — " NY" and "Jersey", Kurt at Raritan,
               Komal at Somerset, Hathel ( sp?) and Pamel ( sp?) at Freehold) for being generous with their time, and so
               very open and willing to share their feedback on the Horizon rollout.


               Mike and Icollected anumber of observations/feedback from the trip and Iwanted to share those with
               you. Ihave attempted to organize the information in amanner that hopefully is digestible, but fair
               warning - it is good amount of information. Here are the groupings that Icreated -


                   •      Key Takeaway from my perspective
                   •      Top 3or 4Items to address from each location based on Division IT or staff prioritization ( I
                          asked them at each location if they could change 3things what would they be)
                   •      Remaining Feedback grouped by Application Flow/Issues, Hardware, Ergonomics, Logistics
                   •      Suggestions and general comments Iheard from patients in the field


               Iwill share pics as soon as Ican get them off my phone ( my iPhone is being difficult at the moment
               (9). Mike, please chime in with anything that Imissed.



               Key Takeaway from Bart's perspective ( please note this opinion is based on visits at only these 3sites
               and feedback from the members giving us the tour)


               In the sites that we visited, the vast majority of patients would proceed to the counter if the line at the
               counter line was less than 3people. The patients were redirected to check- in at the Employee Express
               station.    Most patients simply said ok, but many seemed visibly frustrated at the redirection,
               particularly the older patients. Even with those patients that were compliant, this may create anegative
               initial impression because the use of Express station is no longer seen as optional. With that in mind, I
               think the patient's expectation then becomes that this experience should be absolutely flawless since it
               is not optional. So if they encounter any difficulty with the Express station ( application, ergononmics,
               logistics), their frustration could become amplified. Itimed anumber of the experiences in the East
               Brunswick location, and they ranged from 2 — 5minutes. That seemed like along time to me, but do
               think
                  l`peop every (
                               m„uc      1Lwant   to figure'tout,
                                                             • ll•ll•l                t` ma
                                                                         levre issue they ybee
                                                                                           1,  haa•
                                                                                             ..h  vin g.th• gh
                                                                                                            yiuw   Ene•,
                                                                                                                       liiuiyiiiil•
                                                                                                                         oyee
               ExpreS, quite (IL is ly   i1th   ugh ;   metimes they er dcd u ) switci im, , t(ation,.


               I'm certain there are number of reasons why the staff are immediately redirecting the patients to the
               Express Stations ( employees really like the wait time report, employees were not adopting Horizon,
               limited placement options for devices, etc.). However, in these locations, it seems that agreeter or
               ambassador would truly help with the experience if the Express check- in is not optional, at least during
               some of the busier periods of the day. The staff we visited saw this as aneed, but also understood we
               did not have budget for this. They had some interesting suggestions, e.g. hiring students since summer
               is coming up, older volunteers. Ithink this initial interaction with the patient sets the stage for
               remaining experiences with Horizon.




                                                                                                                                      JA0133


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               Top 3Items from Each Location


               Somerset
                  1.   They have to reboot several of Express stations 5or 6times daily because they freeze, won't
                       scan, screen goes black, etc. The newer stations they had at the end seemed to be much more
                       stable. They stated if they only had to reboot once/day, they would love the system. Joe told
                       me they have only returned 5or 6Express stations across the division, and it seemed to me they
                       should return these stations given this behavior. Ido not think Ireally uncovered the reason
                       these units had not been returned.
                  2.   Screen is too small, especially for the elderly — lots of trouble using ergonomically — several
                       comments made as to why could the screens not be larger like kiosks in other retailers
                  3.   System flow is not easy for pediatric patients — they have put up signs on the tablets telling
                       them to enter patient's name manually instead of scanning the driver's license ( pic will be sent)
                  4.      Popup keyboard covers most of entry screen ( pic will be sent)


               East Brunswick
                  1.   Ability to do remote troubleshooting — Joe Campo — should explore what he would like to
                       resolve remotely
                  2.      More consistent scanning of driver's license and insurance cards
                  3.      More intuitive experience with pictures — pointed again to kiosks in local retailers


               Freehold
                  1.      Longer plug on Express station to give them more flexibility with placement
                  2.   Ability to address problems themselves instead of having to wait for IT, they want more self-
                       sufficiency ( Hathel)
                  3.      More stable stands, some ability to secure them to the wall — people tend to interact negatively
                       with Express tablets when they become frustrated



               Remaining Feedback across locations


                  Application Flow
                       •      Need better system stability
                       •      Patients seem to struggle on why they are here screen — perhaps change " labwork" to
                             "blood work"
                       •      Spanish would be very helpful
                       •      Would really like to display names of patients on TV after they have checked in ( patient
                             queue) — patients sometime struggle with what to do after they have checked in.
                       •      Does not read front of license intuitively
                       •      Patient said they had checked in before, however, the system did not recognize them
                       •      Medicare cards are not scanning
                       •      Not easy to override when patient does not have email or does not want to enter
                       •      Could we have ". yahoo.com" or ". gmail.com" option when entering email
                       •      Images of insurance cards not always showing up in the patient queue


                  Logistics
                       •      Need dual keys to reboot, but keys are often lost




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                          •   Privacy seems to be abig issue if someone is behind patient during entry — heard from
                              multiple staff that this is aconcern that patients are raising


                      Hardware
                          •   Trays come off too easily
                          •   Would swivel ( that pivots down) be possible for better privacy and easier data entry
                          •   When assembling stands — incorrect allen wrenches were included — Joe had to tighten
                              bolts with pliers
                          •   Removing Express tablet head requires taking the top piece off as well to get USB power
                              cord out — this was atwo person job — this could pose some challenges when we rollout the
                              payment devices


                      Ergonomics
                          •   No counter at station for people to put their belongings while they check in ( cane, purse,
                              water bottles, etc.)
                          •   Many people had to hunch over station to see what they were entering



               Suggestions and Additional Comments


                      •   Could we hire students or use elderly people as volunteers to help users through the Express
                          tablet experience
                      •   Seems inefficient to roll out Express stations now when the current heads are going to need to
                          be replaced with heads with payment devices
                      •   Concerned about next software push — lots of problems last time with iOS updates
                      •   Person commented that they did not think the devices are ready for primetime yet
                      •   Patients that were checked in tried to help other patients that were having adifficulty with
                          Express stations
                      •   Staff commented that we should be careful with Employee Express because patients may
                          become too reliant on PSTs checking them in
                      •   Do not feel their concerns and feedback are being heard, although they believe the concept is
                          great
                      •   Use TV in the lobby to help with messaging and instructions on how to use Express or Pre-check
                      •   Have users just take apicture of the Medicare cards instead of entering manually when they
                          can't be read, which tends to be error prone and the PSTs end up rekeying anyway
                      •   There were some pretty tough comments about the Express stations from some of the older
                          patients after they had become frustrated in East Brunswick location. I'm not going to include in
                          this email ( you can see me if you want to hear them)


               Ido hope this helps in our process, but Ialso believe we should plan some more personal visits from IT
               to these locations since these are certainly our more challenging areas. Ilook forward to your thoughts
               and considerations, and ways to incorporate some of this feedback in our plans for improvement. Ido
               ask that we not forward this information around until we all have had achance to have some dialog on
               the observations. Thanks!


               Bart




                                                                                                                              JA0135


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                     EXHIBIT 13




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      1                          UNITED      STATES          DISTRICT    COURT


      2                  FOR    THE   CENTRAL       DISTRICT       OF    CALIFORNIA


      3


      4   LUKE    DAVIS,      JULIAN VARGAS,            and        )    Case   No.
          AMERICAN      COUNCIL       OF    THE   BLIND,           )    2:20-CV-00893-FMO-KS
      5   individually,         and    on    behalf      of        )
          all    others    similarly         situated,             )
      6
                                              Plaintiffs, )
      7
                 v.                                      )
      8
          LABORATORY       CORPORATION            OF AMERICA )
      9   HOLDINGS;       and   DOES       1 through         10,   )


     10                                       Defendants. )


     11


     12



     13                           DEPOSITION            OF    JULIAN VARGAS


     14                 TAKEN    REMOTELY         VIA    ZOOM VIDEO       CONFERENCE


     15                          WEDNESDAY,         FEBRUARY       10,    2021


     16


     17


     18


     19


     20


     21


     22


     23   REPORTED      BY:     JANET       MURPHY,      CSR    9650
          JOB    NO.:           210210JM
     24


     25




                                                                                                 JA0137




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                                        #:3121     DEPOSITION OF JULIAN VARGAS




      1                          UNITED      STATES       DISTRICT       COURT


      2                  FOR    THE   CENTRAL       DISTRICT        OF   CALIFORNIA


      3


      4   LUKE    DAVIS,    JULIAN VARGAS,            and        )       Case    No.
          AMERICAN       COUNCIL      OF    THE   BLIND,          )      2:20-CV-00893-FMO-KS
      5   individually,         and    on    behalf       of     )
          all    others    similarly         situated,            )
      6
                                              Plaintiffs, )
      7
                 v.                                   )
      8
          LABORATORY       CORPORATION            OF AMERICA )
      9   HOLDINGS;       and   DOES       1 through       10,    )


     10                                       Defendants. )


     11


     12


     13          DEPOSITION      OF    JULIAN VARGAS,            taken      remotely via


     14          Zoom Video      Conference,          commencing          at    11:01    a.m.


     15          Pacific    Standard         Time    on    Wednesday,          February    10,


     16          2021,    reported by         Janet       Murphy,     CSR      9650,    business


     17          address    3510      Torrance      Boulevard,           Suite    102,


     18          Torrance,      California          90503.


     19


     20


     21


     22


     23


     24


     25



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                                         #:3122     DEPOSITION OF JULIAN VARGAS




      1   APPEARANCES       OF    COUNSEL:


      2


      3   ATTORNEYS      FOR     PLAINTIFFS
          LUKE   DAVIS,     JULIAN VARGAS,             AMERICAN
      4   COUNCIL   OF     THE    BLIND,       AND    THE   CLASS:


      5               NYE,       STIRLING,       HALE &       MILLER,      LLP
                      BY:        BENJAMIN       J.    SWEET,      ESQ.
      6                          CALLUM APPLEBY,            ESQ.
                      1145       Bower    Hill       Road
      7               Suite       104
                      Pittsburgh,          Pennsylvania            15243
      8               (412)       857-5350 /          FAX ( 805)     284-9590
                      E-MAIL:           ben@nshmlaw.com
      9                                 callum@nshmlaw.com


     10
                      NYE,       STIRLING,       HALE &       MILLER,      LLP
     11               BY:        JONATHAN       D.    MILLER,      ESQ.
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     12               Suite       201
                      Santa       Barbara,       California          93101
     13               (805)       963-2345 /          FAX ( 805)     284-9590
                      E-MAIL:           Jonathan@nshmlaw.com
     14


     15               HANDLEY         FARAH &        ANDERSON      PLLC
                      BY:        MATTHEW K.          HANDLEY,      ESQ.
     16               777      6th    Street     NW
                      11th       Floor
     17               Washington,          DC    20001
                      (202)       559-2411 /          FAX ( 844)      300-1952
     18               E-MAIL:           mhandley@hfajustice.com


     19


     20   ATTORNEYS      FOR     DEFENDANT
          LABORATORY       CORPORATION          OF AMERICA HOLDINGS:
     21
                      KELLEY         DRYE &     WARREN      LLP
     22               BY:        ROBERT    I.    STEINER,         ESQ.
                                 JEWEL    K.    TEWIAH,       ESQ.
     23               101      Park Avenue
                      New      York,     New    York    10178
     24               (212)       808-7800 /          FAX ( 212)      808-7897
                      E-MAIL:           rsteiner@kelleydrye.com
     25                                 jtewiah@kelleydrye.com



                                                                                 3

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                                    #:3123     DEPOSITION OF JULIAN VARGAS




      1                                I N D E X


      2


      3   DEPONENT                     EXAMINED        BY:                PAGE:


      4   JULIAN VARGAS                MR.    STEINER                    5,   74


      5                                MR.    SWEET                           67


      6


      7


      8


      9                EXHIBITS   MARKED     FOR     IDENTIFICATION:


     10                                     (NONE)


     11


     12


     13


     14


     15                 QUESTIONS    UNANSWERED        BY    DEPONENT:


     16                     (MARKED WITH ^     IN     TRANSCRIPT)


     17                              PAGE            LINE


     18                               18              18


     19


     20


     21


     22                        INFORMATION      REQUESTED:


     23                                     (NONE)


     24


     25



                                                                                   4

                                                                                   JA0140




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                                            #:3124     DEPOSITION OF JULIAN VARGAS




      1    PROCEEDINGS          HELD VIA          ZOOM;       WEDNESDAY,          FEBRUARY          10,   2021


      2                                               11:01    A.M.


      3


      4          DEPOSITION          OFFICER:           We    are    going       on    the    record.


      5


      6                                          JULIAN VARGAS,


      7                       called       as    a deponent          and    sworn       in    by


      8                       the    Deposition             Officer,       was    examined


      9                                  and    testified          as    follows:


     10


     11          DEPOSITION          OFFICER:           Mr.    Vargas,          would    you       please


     12   raise       your    right      hand.


     13                  Do    you       solemnly       swear       or    affirm       the    testimony


     14   you    are    about       to   give     shall       be    the    truth,       the    whole


     15   truth,       and    nothing but             the    truth?


     16          THE    DEPONENT:              Yes.


     17          DEPOSITION          OFFICER:           Thank       you.


     18


     19                                               EXAMINATION


     20   BY    MR.    STEINER:


     21          Q.      Good morning,                Mr.    Vargas.


     22                  Can    you       state       your    full       name    and    address       for    the


     23   record.


     24          A.      My    name       is    Julian       Vargas.        My    current          address    is


     25   13741       Oxnard    Street,          Apartment          9,    Van    Nuys,       California



                                                                                                                 5

                                                                                                                   JA0141




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                                               #:3125     DEPOSITION OF JULIAN VARGAS




      1   91401.

      2          Q.         Have       you ever been deposed before,                  Mr.     Vargas?

      3          A.         No.

      4          Q.         Let me       first    tell       you who    I am and then give             you

      5   some    instructions             that will          hopefully make          the    deposition

      6   go more          smoothly.

      7                     My name       is   Rob     Steiner.        I'm a lawyer          for

      8   Laboratory Corporation                      of America Holdings,             which       I will

      9   refer       to    in    this    deposition          as " LabCorp."

     10                     You will       understand that,             correct?

     11          A.         Correct.

     12          Q.         I'm going to be             asking you       some    questions         today

     13   about       an    action which you                and Mr.    Davis    as   well     as

     14   American Council                of   the Blind filed against                 LabCorp.

     15                     If    at    any point       in    time    you don't understand any

     16   of my questions,                let me       know that,       and    I will       attempt    to

     17   rephrase          the    question       in    a way in which you             can

     18   understand it.

     19                     If    you    answer       one    of my questions,          I will      assume

     20   you've understood it                   as    asked.

     21                     If    you need a break at                any time,       let me    know

     22   that,       and    I will       accommodate          you with a break.              I'll    just

     23   ask that          you    respond to          any pending questions before

     24   taking a break.

     25                     It's       important       that    your    answers be verbal.              The


                                                                                                            6

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      1   court       reporter          can't    take    down    a nod or          a shake       of    the

      2   head.        If    you    intend to       say " Yes,"         you       should say " Yes."

      3   If   you     intend to          say " No,"      you    should say " No."

      4                     Let's       try not    to    speak over each other.                       I know

      5   this    is       a little       cumbersome.           It's    hard when we're

      6   in- person.             It's    even more       difficult when we're                   on video.

      7   Let me       finish my question,                which will          give       your    counsel

      8   an   opportunity to              object       if he    sees    fit,       and then          you    can

      9   answer       it.        And    I will    try to       let    you    finish your             answer

     10   before       I ask another question.

     11                     Do    you understand these                instructions?

     12          A.         Yes,    I do.

     13          Q.         Did you do          anything to prepare                for    this

     14   deposition here                today?

     15          A.         Just    conferred with my counsel                      and talked about

     16   these       things.

     17          Q.         And    I'm not       going to       ask you what             you discussed

     18   with your          counsel.

     19                     How    long was       your    conference with your                   lawyer?

     20          A.         We had two          conferences,          approximately a couple

     21   of hours          in    length.

     22          Q•         So both were          a couple hours             in    length       for    a

     23   total       of    about       four hours,       or    two    conferences          for       about

     24   two hours?

     25          A.         Each conference was                about    a couple hours                in


                                                                                                               7

                                                                                                                   JA0143




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                                            #:3127     DEPOSITION OF JULIAN VARGAS




      1   length,       give    or    take.

      2          Q•      Did you       review any documents                   in preparation             for

      3   your deposition?

      4          A.      Yes.

      5          MR.    SWEET:        I will    caution Mr.             Vargas       to       limit his

      6   answer       to whether he viewed any documents.

      7   BY MR.       STEINER:

      8          Q•      And did any of             the    documents          that       you    reviewed,

      9   sir,    refresh your memory as                   to    any of       the    facts       in    this

     10   case?

     11          A.      Yes.

     12          Q.      And what       documents          that    you       reviewed refreshed

     13   your    recollection?

     14          A.      The    documents       related to          the --          to    the

     15   deposition.

     16          Q•      What       documents       were    those,       sir?

     17          A.      I don't       remember       the       names    of    them.           A lot    of

     18   them have       titles       with    like       letters       and numbers             and things

     19   like    that;       but    I believe       it was       the    document             that was

     20   sent with regard to,                you    know,       requesting a deposition

     21   and detailing the             complaint.

     22          Q•      So    did you       review the          allegations             in    the

     23   complaint,          sir?

     24          A.      Yes,       I did.

     25          Q•      And did those          allegations             in    the    complaint


                                                                                                               8

                                                                                                               JA0144




                                              1353
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      1   refresh your memory?

      2          A.      Yes.

      3          Q•      And other         than    reviewing the       complaint        in   this

      4   matter,      did you     review any other documents                    that   refreshed

      5   your    recollection?

      6          A.      I'm not      sure what         you mean by " other documents."

      7          Q.      So   did you       review Responses          to Requests        to Admit

      8   in    this   case?

      9          A.      Requests      to Admit?

     10                  I believe         I did see       something along those             lines.

     11          Q.      And did you         review your       answer      to    LabCorp's

     12   counterclaim?

     13          A.      Yes,   I did.

     14          Q•      Any other documents,               sir,    that   you    reviewed that

     15   refreshed your memory?

     16          A.      I don't      recall.

     17          Q.      Now,   you    said you met with counsel.

     18                  With whom did you meet?

     19          A.      We met,      of    course,     by phone      or virtually;          with

     20   Ben    Sweet    and Jon Miller            and Matt       Handley.

     21          Q•      Have   you discussed your deposition here                       today

     22   with Mr.       Davis?

     23          A.      I don't      think       so.

     24          Q.      Have   you ever          spoken   to Mr.     Davis?

     25          A.      I don't      recall.


                                                                                                    9

                                                                                                      JA0145




                                             1354
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                                           #:3129     DEPOSITION OF JULIAN VARGAS




      1          Q.    Have        you    ever met Mr.          Davis?


      2         A.     Not        in- person,        no.


      3          Q.     Do    you       know where Mr.          Davis       lives?


      4         A.      I do       not.


      5          Q.    Have        you    spoken with Mr.             Davis    on    the    telephone?


      6         A.     No.


      7          Q.    And have           you had any video                chats    with Mr.       Davis?


      8         A.     No.


      9          Q.    Have        you had any e- mails               with Mr.       Davis?


     10         A.      Just       to    clarify,        you're      referring       to    Luke    Davis?


     11          Q.    That's           correct.


     12         A.     No.


     13          Q•    Have        you    communicated with Luke                   Davis    in    any


     14   manner whatsoever?


     15         A.     No.


     16          Q•    What        is    your understanding                of Mr.    Davis's       role


     17   in    this   litigation?


     18         A.     My understanding                  is   that    he    had a similar


     19   experience         to    what    I've      experienced at           LabCorp,       the    only


     20   exception being               that,       from what     I understand of his


     21   condition,         he    needs       to   go   there more         frequently than             I


     22   do.


     23          Q•    But        just    to be       clear,    you    and Mr.       Davis       have   not


     24   at    any point         in    time    discussed the          claims       in    this    case,


     25   correct?



                                                                                                            10

                                                                                                                 JA0146




                                                1355
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                                        #:3130     DEPOSITION OF JULIAN VARGAS




      1         MR.    SWEET:        Objection;    asked and answered.

      2   BY MR.      STEINER:

      3         Q.      You    can    answer,    Mr.    Vargas.

      4         A.      That's       correct.

      5         Q.      Have    you    and Mr.    Davis    done    anything to

      6   coordinate      the    supervision       of    counsel    in   this    case?

      7         A.      No.

      8         Q.      What    is    your educational background,               sir?

      9         A.      I attended high          school    and    I've had some

     10   vocational      school       training afterward.

     11         Q.      When did you graduate             from high      school?

     12         A.      1988.

     13         Q.      And what vocational             training did you         take    after

     14   that?

     15         A.      I took computer          classes.

     16         Q.      Did you get       any degrees       or    certificates      from

     17   those      computer    classes?

     18         A.      Yes.

     19         Q.      What    degrees    or    certificates       did you get?

     20         A.      Certifying that          I had a basic       knowledge      and

     21   understanding of            the Windows       operating    system.

     22         Q.      Any other       computer       certifications      that    you have?

     23         A.      No.

     24         Q.      Beyond high       school       and the    computer      class    that

     25   you   took that       certified that          you had a basic


                                                                                                11

                                                                                                     JA0147




                                          1356
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      1   understanding of             the Windows             application,       have    you       taken

      2   any other          courses    or    classes?

      3          A.      No.

      4          Q•      After       you graduated from high                school,       did you

      5   become      employed?

      6          A.      Not    right    away.

      7          Q.      I just want          to    get    a sense,    Mr.       Vargas,       of    your

      8   employment history.

      9                  Could you       just briefly describe                   for me where          you

     10   worked and when             and what          your    job was.

     11          A.      I don't       recall       specific dates;             but    I can    tell

     12   you    that    I've       done work       in    telephone- related fields,                  such

     13   as    telemarketing,          telephone          customer    service,          support.

     14                  And then       I became          involved with assistive

     15   technology and it's                what       I currently do          now.     I teach and

     16   present       on    the    subject       of    assistive    technology.

     17          Q•      And when       you    talk about " assistive                  technology,"

     18   you're      talking about           technology that          assists          those who

     19   are blind or have visual                      impairments;       is    that    right?

     20          A.      That's       correct.

     21          Q•      Do    you have       a company that          you work through,

     22   sir?

     23          A.      I currently just work through myself.

     24          Q•      And how       long have          you been providing these

     25   assistive          technology services?


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      1          A.         Probably for          the    last    10    to    15    years.

      2          Q.        And to whom do              you provide          those    services,          sir?

      3          A.         Primarily to          end users,          people who          are    looking

      4   to become proficient                and understanding of how to use                            the

      5   assistive          technology that's             found in mobile                devices,

      6   which       is   what     I specialize          in.

      7          Q•        And is     that    assistive          technology that                is    found

      8   in    the    iOS    operating       system?

      9          A.        Yes.

     10          Q•        Are     there    any other          operating          systems       in which

     11   you    train people how to use                   as    it    relates       to    assistive

     12   technologies?

     13          A.        Android as        well       as Windows,          but    I do very little

     14   of    that.        It    seems    like       these    days,       most people          are

     15   interested in             iOS.

     16          Q.        And so     just    to understand the work that                            you do,

     17   you provide             training to people             to    familiarize          them with

     18   how to use          iOS    to help       them,       I guess,       explore       content

     19   through applications;                   is    that    right?

     20          A.        Yes,     basically to          learn how to use                the built-in

     21   accessibility on Apple                   devices       so    that       they can make          full

     22   use    of    their device.

     23          Q•        And is     one    of    those       capabilities          in    iOS

     24   Text    to       Speech?

     25          A.        Well,     you might          say screen          reader.


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      1          Q.        Okay.        So    one    of    the       abilities          that    iOS

      2   has    is   to verbalize what                   is    on    the    screen;       is    that

      3   correct?

      4          A.        That's       correct.

      5          Q•        And are       you    compensated for                   the    services          that

      6   you provide?

      7          A.        Sometimes.

      8          Q•        Other       than    the work that                you've       done    in

      9   assistive         technology,             just       focusing on          the    last       10    to    15

     10   years,      have       you had any other employment?

     11          A.        No.

     12          Q•        Now,    I understand,                sir,       that    you're blind or                is

     13   it visually impaired or                     is       it    the    same    thing?

     14          A.        To me,       the    terms       are       interchangeable.

     15          Q.        Okay.

     16          A.        I prefer          to use       the word " blind"               only because                it

     17   is    the   legal       definition          of my condition.                    It    doesn't

     18   necessarily mean               that       I have          no vision whatsoever.                    It

     19   just means            that    the    law recognizes me                   as blind if my

     20   vision      is    worse       than    20    over          200.     Plus,       I find that             in

     21   general,         people understand the word " blind"                                 more    readily

     22   when    I describe my condition.

     23          Q•        Do    you distinguish between " blind"                              and " visually

     24   impaired"?

     25          A.        I'm not understanding the                         question.


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      1          Q       Sure.        Fair enough.

      2                  Well,       let me       ask you,             sir,    you       said --        I think       I

      3   heard you          say you're          not    totally blind;                   is   that      correct?

      4          A.      That's       correct.

      5          MR.    SWEET:        That misstates                   his    testimony,           Rob.

      6          MR.    STEINER:           Pardon me?

      7          MR.    SWEET:        That misstates                   his    testimony.

      8   BY MR.       STEINER:

      9          Q•      So    if    you    could just             describe          for me,         sir,      are

     10   you    able    to    see    shapes?          Are        you    able       to    see --        what    is

     11   it    that    you're       able    to    see,       generally?

     12          A.      I can       see    light.           I can       see    shapes.            It    really

     13   depends       on    lighting.

     14                  My vision          condition             is    one    that       degenerates

     15   over    time.        And over          the    last       15    to    20    years,        I've

     16   definitely been going through a noticeable                                          degradation.

     17   So    I find myself using more                      and more blindness                     technique

     18   and not       so much relying on vision,                            because         it's      kind of       a

     19   changing thing and it's                      really affected by lighting

     20   conditions          and such.

     21          Q•      Sir,       are    you    able       to    see       features         in   a room;

     22   for    instance,          furniture,         desks,           things       like      that?

     23          A.      It    depends       on    the       lighting and the                  contrast.             So

     24   sometimes,          yes;    but most          of    the       time,       no.       I use my cane

     25   to help me          identify obstacles                   and such.


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      1         Q.      You use          a white       walking         cane;       is   that    correct?


      2        A.       Yes.


      3         Q.      You're participating                     in    this       deposition         from


      4   your home;         is    that       correct?


      5        A.       Correct.


      6         Q.     And        is    there    anyone      in       the    room with         you?


      7        A.      No.


      8         Q.      Do    you       live by yourself?


      9        A.      No.


     10         Q.     Who        else    lives       in   the    residence?


     11        A.      My girlfriend.


     12         Q.      Other          than    this    litigation,            sir,      are    you    a party


     13   to   any other          litigations?


     14        A.       Yes.


     15         Q.     What        other       litigations            are    you    a party to?


     16        A.       Currently             I'm involved            in    the    litigation with


     17   Quest.


     18         Q.      Does       that       litigation         relate       to    the   accessibility


     19   of   its    kiosks?


     20        A.       Yes.


     21         Q -     Other          than    this    litigation            and the      Quest


     22   litigation,         are       you    currently         involved          in   any other


     23   litigations?


     24        A.      No.


     25         Q -     Have       you    ever previously been                     a party to         a



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      1   litigation,           other    than    this       litigation          and the      Quest

      2   litigation?

      3          A.       Yes.

      4          Q.       What    litigations         have        you been       a party to?

      5          A.       I've been       a member          of    class       settlements before

      6   with the        litigation       that was brought                   on by organizations

      7   such as        the National       Federation             of    the Blind.

      8          Q.       Were    you    a named plaintiff                in    that   case?

      9          A.       No.

     10          Q.       Are    there    any cases,             putting aside         cases    in

     11   which you may have              received a notice                   to participate         in   a

     12   class        settlement,       where    you have been                a named plaintiff?

     13          A.       Yes.

     14          Q -      What    other    cases,       other       than       the   Quest    case    and

     15   this     case?

     16          A.       I don't have          all    the       info with me,         but    I've been

     17   involved in website              accessibility litigation before.

     18          Q.       Against whom?

     19          A.       I don't       remember       at    this moment.

     20          Q.       Do    you   remember        any of       the parties         that    you    sued

     21   for website           accessibility?

     22          A.       Not    at   the moment,           I don't       recall.

     23          Q.       How many such cases                were       you    a party to?

     24          A.       Possibly five          or    so.

     25          Q.       Do    you   know where        those       cases       were   filed?


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      1         A.       Some might have been here                        in California.              Others

      2   in    Pennsylvania.

      3         Q•       Were      you    represented by the                   same    counsel       that's

      4   representing you               in    this      case     in    those    cases?

      5         A.       I believe            one   of     the members          was    involved with

      6   the    other      law    firm that          represented me.

      7         Q.       Were      those       cases       resolved,          sir?

      8         A.       Yes.

      9         Q.       And did they resolve                     as    a result       of    a

     10   settlement?

     11         A.       Correct.

     12         Q•       Are      you    familiar with the                terms       of    any of    those

     13   settlements?

     14         A.       I don't         recall       at    the moment.

     15         Q•       Did you         receive         a monetary payment                 in   any of

     16   those      cases?

     17         A.       Yes.

     18         Q.^      And how much have                  you    received in             total,    sir?

     19         A.       Well,      I believe            that     information may --

     20   I may not be            able    to    talk about             that because          it's    a

     21   confidential            agreement.             I'd have        to    confer with my

     22   counsel      on    that.

     23         Q.       We'll      circle back to                that.

     24                  You don't            recall,       sitting here             today,      whether

     25   the    terms      of    those       agreements          were    confidential?


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      1          A.       I believe            that    they were.

      2          MR.     SWEET:          Objection;         misstates        testimony.

      3   BY MR.        STEINER:

      4          Q -      What      is    your primary source                of    income,       sir?

      5          A.       I receive            Social       Security and SSI             and then

      6   whatever        I earn when            I can get          a paid client.

      7          Q -      Other       than      the    Quest       case,    this    case,       and the

      8   five     or    so    cases      involving website                accessibility,            have

      9   you been        a named plaintiff                  in    any other matters?

     10          A.       No.

     11          Q -      And you         testified that             there was          a case       in which

     12   you participated in                   a class       settlement;          is    that    correct?

     13          A.       That's         correct.

     14          Q -      And do         you    recall      what     the    nature       of   that     case

     15   was?

     16          A.       Website         accessibility for                target.com.

     17          Q -      In    any of         the    cases       where    you were       a named

     18   plaintiff,           did you         submit       any declarations             or   sworn

     19   statements           to   the    court?

     20          A.       I directed my counsel                     to    submit    anything that

     21   was    necessary for             those       cases.

     22          Q -      Do    you      know,       sir,   whether        or not       you   submitted

     23   any sworn           statements,            declarations,          affidavits          in

     24   connection with those                      cases?

     25          A.       I believe            so.


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      1          4•        And do        you    recall    anything about             the    content     of

      2   those       sworn       statements       that    you    submitted to             courts?

      3          A.         I believe          it was pretty much your

      4   run-of-the-mill                information       that       you'd find in          anything

      5   like    that       regarding the          complaint.

      6          4•         Okay.        Sir,    I don't    know what " run-of-the-mill

      7   information"             is,    so    let me    just    see    if    you    can describe

      8   for me       any of       the    information       that       you    recall       submitting

      9   in   a sworn declaration                 or    affidavit       to    the    court.

     10          A.         I don't       recall    offhand.

     11          4•        When was        the    last website          accessibility case

     12   that was          filed on       your behalf?

     13          A.         I don't       recall.

     14          4•        And do        you    consider    this       case    to be       a website

     15   accessibility case?

     16          A.        No.

     17          4•         Prior    to    LabCorp       introducing          its    kiosks,      did you

     18   attempt          to use    or use       any LabCorp          services?

     19          A.         I don't       recall.        I know that          I have       annual

     20   physical          exams,       and oftentimes          that    involves          going to     a

     21   lab,    so       it's   quite possible           that       I might have          at   some

     22   point       in    the past.

     23          4•         Can    you    identify any LabCorp patient                      service

     24   centers          that    you visited prior             to   LabCorp        introducing        its

     25   kiosks?


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      1         A.      The       only one       that    I recall       was    this     one       that

      2   we're      discussing today.

      3         Q•      And that was             a visit       that    you made       on

      4   January      10th,       2020;    is    that    correct?

      5         A.      Yes.

      6         Q•      And to       the best       of    your       recollection,           that    is

      7   the   one    and only time             you have visited a LabCorp patient

      8   service      center;       is    that    correct?

      9         A.      Actually,          there were          two visits        total       to    the

     10   location.

     11         Q.      When was          the    second visit?

     12         A.      I think --          I mean,       I'm not very good with the

     13   dates;      but    if    it's    okay,    I could just more              or      less

     14   describe what            the visits       were.

     15         Q.      Sure.

     16         A.      I bel- -- basically after                      the    experiences           I've

     17   had previously with this                  type       of    check- in    kiosk and

     18   difficulty getting assistance                        at    these    types     of

     19   locations,         and since          this blood test          in question was

     20   going to      require me          to    come    in    fasting,       I decided to

     21   visit      LabCorp,       I believe       it was          a day or     two prior          to    the

     22   actual      date    of    service,       because          I wanted to       familiarize

     23   myself with how to               find it       and to       familiarize myself

     24   with what         the procedure was             going to be when              I got

     25   there.


                                                                                                           21

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      1                  So when          I went    there,       I found my way to                the

      2   window and got             the    attention       of    somebody there             and

      3   explained,       you       know,    what       I was    there       for    and asked about

      4   their       check- in process;            you    know,       would it       involve       a

      5   kiosk,       and if       so,    could somebody show me where                      the    kiosk

      6   was,    because       I wanted to          know about          it    ahead of       time,       and

      7   would it be          accessible          for    a blind person             to use

      8   independently.

      9                  And at       that point,          I was       told that       the    kiosk was

     10   not    accessible          for    a blind person             to use       independently,

     11   so    I would have          to    require       a --    an    attendant,          you    know,      a

     12   person       there    to help me,          which they assured me would be

     13   available.

     14                  So when          I went    in    for    service,       I went       in    and    I

     15   had to wait          in    the    line.        And then when          it    got    to be my

     16   turn,       I went    to    the window and asked for                      assistance.           And

     17   after       another       few minutes          of waiting,          someone       came    out

     18   and took my cards,               my medical           insurance       cards,       and

     19   basically signed me                in.

     20          4•      And that was          the       January       10th date       that       you

     21   handed your          cards       and got       signed in by a LabCorp

     22   attendant?

     23          A.      Yes.

     24          4•      And you          said you visited that                facility a couple

     25   days prior       to       January    10th;       is    that    right?


                                                                                                           22

                                                                                                                JA0158




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      1          A.      Yes.        I believe       it was       a day or         two before.

      2          Q•      The    LabCorp       facility that            you visited,             was   that

      3   at    15211   Vanowen        Street       in Van Nuys?

      4          A.      Yes,    that's       correct.

      5          Q•     And why did you              choose       to   go    to    that particular

      6   LabCorp       facility?

      7          A.      I went       to    that    one because          it was      the       closest

      8   one    to me.

      9          Q•      How did you discover                that      that       LabCorp       facility

     10   was    the    closest       one    to    you?

     11          A.      I believe          I asked Siri          to   find me       the       nearest

     12   location       and that's          what    it    returned.

     13          Q•     And how did you get                 to    that      location?

     14          A.      The    day of       the    appointment,            I believe          I took a

     15   paratransit          service.

     16          Q•     What     about       the    couple       days prior,         when       you went

     17   to    speak with the             LabCorp    representative?

     18          A.      On    that    occasion       I took the bus.

     19          Q.      So    other       than    those    two    occasions         that       you've

     20   described,          have    you    on    any other       occasions,            either before

     21   or    after LabCorp          introduced its             kiosks,         gone    to    a LabCorp

     22   PSC?

     23          A.     No.

     24          Q•     And by " PSC,"             you understand            I mean       a patient

     25   service       center?


                                                                                                         23

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      1          A.      I do       now,    yes.

      2          Q•      On both occasions                   where       you visited the

      3   Vanowen       Street       LabCorp       PSC,       did you go by yourself               or

      4   were    you with          someone?

      5          A.      I went myself.

      6          Q.      And when          you went          on   the     8th --   excuse me.

      7                  When       you went       on    the      10th of       January,    did you

      8   have    a prescription             for    a service?

      9          A.      Yes.

     10          Q•      And what          service were             you    seeking at      LabCorp       on

     11   January       10th?

     12          A.      It was       a prescription                from my physician         for       some

     13   bloodwork that             needed to be             done       as part   of my annual

     14   physical       exam.

     15          Q•      And what was            the     name       of    your physician      that

     16   made    that prescription?

     17          A.      Dr.    Paul       Diehl,       spelled D-i-e-h-l.

     18          Q.      And where          is   Dr.     Diehl         located?

     19          A.      He    is    located in          the      city of West       Hills,

     20   California.

     21          Q•      And when          you went          to   the     LabCorp patient      service

     22   center      on Vanowen           Street       on    the      10th,    you were    able    to

     23   check       in with the          LabCorp       representative?

     24          A.      I did,       after waiting               in     line   and then --    and

     25   then --       yeah.        Then    I had to wait                additional,      until    they


                                                                                                          24

                                                                                                               JA0160




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      1   found somebody to                      take my information,             since    the    kiosk

      2   was    inaccessible.

      3          4•         So    you got          to    the    LabCorp patient          service       center

      4   on    the    10th and you waited in                      line    at    the    counter;       is

      5   that    correct?

      6          A.         Yes.

      7          4•         So    there were             other people waiting             in    line    in

      8   front       of    you;       is    that       correct?

      9          A.         I believe             so.

     10          4•         Do    you       know how many other people were waiting

     11   in    the    line       in    front       of    you?

     12          A.         I could not             see    to    tell.

     13          4•         And did you understand that                         those    individuals

     14   waiting          in    line       in    front    of    you were       also waiting to

     15   check       in with a LabCorp                   representative?

     16          A.         I don't          know what          they were       there    for.     I just

     17   know they were                in       line    ahead of me.

     18          4•         Did you          overhear          any of    their    conversations             with

     19   the    LabCorp          representative?

     20          A.         No,    I did not.

     21          4•         Did you hear                any of    those    individuals          sharing

     22   any information                   about       themselves       with the       LabCorp

     23   representative?

     24          A.         I did not.

     25          4•         Did you understand what                      any of    those       individuals


                                                                                                              25

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      1   that    you were    standing    in    line with were             there       for?

      2          A.   No,    I did not.

      3          Q•   Did you hear what          services          they were          seeking

      4   from LabCorp?

      5          A.   No,    I did not.

      6          Q•   Did you hear       anything about             their medical

      7   condition?

      8          A.   No.

      9          Q•   And then when       it was       your    turn       in    line    and you

     10   approached the       counter,       there was       a LabCorp

     11   representative       there;    is    that    correct?

     12          A.   Yes.

     13          Q.   And do    you    know whether          that was          a man    or    a

     14   woman?

     15          A.   I don't    recall.

     16          Q•   And did that       individual          ask    for    your

     17   identification       and insurance          card?

     18          A.   I basically told them that                   I was       there    to    check

     19   in   and that     I would need assistance with the                         check- in

     20   process,    since    the    kiosk was       not    accessible.

     21          Q•   And did that person             then    ask you          for    your

     22   insurance    card and identification?

     23          A.   I believe       the person       instructed me             to wait       and

     24   that    somebody would come          out    to    assist me.

     25          Q    And did someone          come    out    to    assist       you?


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      1          A.         Yes.

      2          Q•        And did that person              that    came   out     to    assist       you

      3   ask    for       your    identification          and insurance         card?

      4          A.         Yes.

      5          Q.        And did that person              then    check you       in,       sir?

      6          A.         Yes.

      7          Q.         Other    than providing that             individual          who    came

      8   out    to    see       you with your       identification          and insurance

      9   card,       did the       individual      who     you    spoke with at             LabCorp

     10   ask you          for    any other    information?

     11          A.        No.      I basically told them that                I was          concerned

     12   about       giving       information       out    loud in earshot             of    others.

     13   So    they told me          that    they didn't          need me    to    say anything,

     14   that    they would get             the    information       from the          cards.

     15          Q.         That    they would get          the    information          from the

     16   cards?

     17          A.         Yes.

     18          Q.         So    you were    not    required to       say out          loud any

     19   personal          information when          you visited on          January          10th,

     20   correct?

     21          A.        Well,     I made    it    clear    that    I did not want             to    do

     22   that,       so    they accommodated that.

     23          Q•        And when     you gave       the    individual         your        insurance

     24   card and identification,                   did they take         the     cards       and

     25   identification             and then       return    them to      you     at    some    later


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      1   point       in    time?

      2          A.         Yes.

      3          Q•         And do          you    know what          they did with those             cards

      4   and identification?

      5          A.         I have          no    idea,    since       I couldn't          see what       they

      6   were    doing and they walked away.

      7          Q          Understood.

      8                     Those       cards       and identification were                    returned to

      9   you    a short          time       later;       is    that       correct?

     10          A.         Yeah,       after       a few minutes.

     11          Q•         And when             you were       asked for          your    cards    and

     12   identification,                   were    you    standing at             the    check- in   counter

     13   or were          you    sitting          in   a seat        or    somewhere       else?

     14          A.         I was       still       standing at             the    check- in    counter,

     15   but    off       to    the    side.

     16          Q.         And between             the    time       you    first       encountered

     17   an    individual             at    the    desk and the             time    that    your

     18   identification was                      taken,       approximately how             long did you

     19   wait?

     20          A.         Restate          the    question?

     21          Q•         Between          the    time       that    you    approached the          counter

     22   for    the       first       time       and someone          came       and took your

     23   identification                information,             how       long were       you waiting?

     24          A.         So    just       to    clarify,       this       is    after    I waited in

     25   line?


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      1          Q       Right.

      2                  You waited in          line,       you    told me;       you    spoke      to

      3   someone;       and they told you             that       someone would come             out      to

      4   assist       you,    correct?

      5          A.      Yes.

      6          Q•      So how       long did it          take    for    someone       to   come    out

      7   and assist          you?

      8          A.      Several minutes,             like maybe          three    to    five

      9   minutes.

     10          Q.      And once       your    cards       were    taken    from you,          sir,      to

     11   check you       in,    how    long did you wait                to be    called into            the

     12   back?

     13          A.      Well,       I waited several minutes                while       the    cards

     14   were    taken       and they did whatever                they did with them.

     15   Then when       they came back out,                I believe       I waited another

     16   few minutes before                I was    taken    to    the back.

     17          Q.      So    just    so    I understand this,             sir,    you waited in

     18   line with other people who                   you believed were                looking to

     19   receive       services       from LabCorp,          correct?

     20          MR.    SWEET:        Objection;       misstates          testimony.

     21          THE    DEPONENT:           There were --

     22   BY MR.       STEINER:

     23          Q•      Is    that    right,       sir?

     24          MR.    SWEET:        Objection       again.

     25          THE    DEPONENT:           Well,    I waited in          line.     I don't         know


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      1   what    those people were                   there    for.     I just       know    I waited

      2   in   the     line.

      3   BY MR.       STEINER:

      4          Q•      And then          once       you got    to    the    desk,       you waited

      5   another       three       to    five minutes          for    someone       to    assist    you;

      6   is   that     correct?

      7          A.      That's          correct.

      8          Q.      And then          once       that person       assisted you,          you

      9   waited another             three       to    five minutes          to be    called into

     10   the back?

     11          A.      Yeah.           Once    the    cards    were    returned to me,             it

     12   took another          three       to    five    to be       called into          the back.

     13          Q•      So    in    total,       how    long were       you    at    the    LabCorp

     14   facility on          January          10th,    2020?

     15          A.      From beginning --

     16          MR.    SWEET:           Hang on.

     17                  Are    you       asking about          the    entire    time he was

     18   there?

     19          MR.    STEINER:           Yes.        Let me    clarify the          question.

     20          Q.      From the          time       you got    to    the    facility to       the

     21   time    you were          called into          the back,       how    long were       you

     22   waiting?

     23          A.      Probably          I would say roughly 20                minutes       or    so.

     24          Q.      Do    you       know    if    anyone    else    there who          checked in

     25   at   the     kiosk waited more                time    or    less    time    than    you?


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      1          MR.    SWEET:        Objection.


      2          THE    DEPONENT:           I have       no    idea,       because    I didn't         talk


      3   to    anybody who       was       at    the    kiosk.


      4          DEPOSITION OFFICER:                    Counsel,       could you please


      5   restate       your    objection?              I heard you          say " Objection,"            but


      6   if    you    said anything             after    that,       I'm sorry,          I missed       it.


      7          MR.    SWEET:        I did not.


      8          DEPOSITION OFFICER:                    Thank       you.     I'm sorry          for


      9   interrupting.


     10   BY MR.       STEINER:


     11          Q•     And when           you were       called       into    the back,          you were


     12   asked to       sit    down;       is    that    correct?


     13          A.      Yes,    I was --          I got       into    the    chair       and    I sat


     14   down.


     15          Q.     Was     any additional                information       taken       from you


     16   when    you were       in    the back          of    the    facility?


     17          A.      I don't believe                so.


     18          Q•     At     what point          did you provide             your prescription


     19   for    services?


     20          A.      In    the beginning,             when       I made    contact          the   first


     21   time.


     22          Q.     And you handed that prescription                             to    a LabCorp


     23   representative;             is    that    correct?


     24          A.      Yes,    the person behind the                      desk.


     25          Q•     And he        or    she    took       the    information          from you?



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      1          A.     They took the paper                   from me       and then went            to    get

      2   somebody to         assist.

      3          Q•     Did anyone       at       the    facility ask you what                  the

      4   prescription was            for?

      5          A.     No.

      6          Q•     Did anyone       ask you          if    you had any medical

      7   conditions?

      8          A.     I don't believe             so.

      9          Q•     When    you were          taken       into    the back,         do    you    recall

     10   having any conversation with the                           LabCorp      technician?

     11          A.     Other    than    just,          you    know,    being guided and

     12   perhaps      like " Good morning"               or    salutations           types     of

     13   things,      I don't    recall          any other          conversation.

     14          Q•     So    other    than pleasantries,                   you had no

     15   substantive         conversation with anyone                      in   the back?

     16          A.     No,    other    than pleasantries                   and just " Okay.

     17   Here's      the    chair.     Have       a seat,"          that    kind of         thing.

     18          Q.     Did you       receive       the       results       of   your    test?

     19          A.     Those were       sent       to my doctor.

     20          Q.     To    the best       of    your       knowledge,         though,       the       test

     21   that    your doctor         ordered was performed;                     is   that     correct?

     22          A.     Yes.

     23          Q•     And it was performed at                      the Vanowen         Street --

     24   excuse me.

     25                 It was based on             the blood that was                  taken       at    the


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      1   Vanowen       Street       location       on    January       10,    2020,    correct?

      2          A.      Yes.

      3          Q•      Now,    when       you went       to    the    facility on

      4   January       8th --       I'm sorry.           It's    not    January       8th.

      5                  You    said you went             to    the    facility a few days

      6   before,       a couple       days before             January       10th,    right?

      7          A.      Yes.

      8          Q.      And that was             the    first    time       you had been       there?

      9          A.      Correct.

     10          Q.      And were          you    aware    at    the    time    you went       a couple

     11   days before          January       10th that          LabCorp was          using    kiosks?

     12          A.      I wasn't          aware    specifically;             but    I know that

     13   they were being used in many other places,                                  including

     14   other       labs   like     them too.           So    I just       assumed that was            the

     15   case    as    well,    and that was             confirmed when             I asked.

     16          Q•      But when          you walked in,             sir,    again,    just because

     17   of    your blindness,             you    could not          discern       any kiosks      in

     18   the    facility,       could you?

     19          A.      No,    I could not.              That's       why    I asked to be

     20   directed to          it,    if    it was       there.

     21          Q•      And when          you went       to    the    counter,       did you have

     22   to wait       in   line     on    that    first       occasion       that    you went      to

     23   the    location?

     24          A.      I think       I did,       but    it    didn't       seem to be       as   long

     25   of    a line.


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      1          4•      And when          you got       to      the   counter,           there was

      2   someone       there       to help       you;      is    that    correct?

      3          A.      Yes.

      4          4•      And can          you    tell me what            you    said to          that person

      5   and what       the person             said to       you?

      6          A.      I said " Hello."

      7                  And they asked the usual                        question,             you    know,      did

      8   I have       a prescription             or how could they help me.

      9                  So    I explained to               them that          I would be             coming       in

     10   there       soon    to have       some bloodwork done                     that was          requested

     11   by a doctor,             and that       I did have           a prescription                 for    it,

     12   and that --          I asked --             I told them that               I wanted to

     13   familiarize myself with things                           about       their       location          since

     14   it was       going to be          a fasting blood test                     and       I didn't want

     15   to have       to    do    all    that,      you     know,      while       I was       also

     16   hungry.

     17                  So    I explained that                  I would need assistance.

     18   And    I asked if          there       is   a check- in         kiosk at             this    location

     19   and,    if    so,    could somebody direct me                        to    it    so    I could

     20   familiarize myself with where                           it's    located,             and is       it

     21   accessible          so    that    a blind person               can use          it

     22   independently.

     23          4•      And what          did the       representative               say?

     24          A.      They said that               they do have             a kiosk,          but    that

     25   unfortunately,             it was       not    something that               a blind person


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      1   could use          independently,                it wasn't             set up    for    that;       and

      2   that    I would just                need to       come       to    the       desk or    the window

      3   there       on    the    day of          service       and that          somebody --            they

      4   would make             somebody available                   to help me.

      5          Q.        And was           that    the    extent          of    your    conversation?

      6          A.        More        or    less.

      7          Q.        Well,        do    you    recall       anything else             from your

      8   conversation             that       day prior          to    January          10th,    2020?

      9          A.         I think --             well,    when       they told me             that      it was

     10   not    accessible,                I expressed disappointment                      and       I

     11   explained that                they should make                their          kiosks    accessible

     12   so    that       a blind person             could use             it    as    well.

     13                    And they said they would --                             they would take                that

     14   information,             but       that unfortunately,                   at    this    time,       it

     15   wasn't       accessible.

     16          Q•        And so           the    alternative          that       they offered you was

     17   checking          in    at    the       desk,    correct?

     18          A.        Right.

     19          Q.         I'm sorry.              I missed that.

     20          A.        Yes.

     21          Q.        Now,        did you       ask    if    you       could check          in    at    the

     22   desk or          they offered you                the    option          to    check    in    at    the

     23   desk?

     24          A.        They offered it,                being that              the    kiosk was

     25   inaccessible,                according to          their description                   of    it.        They


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      1   said,        but    somebody would help me.                    All    I needed to             do was

      2   come     to    the window or             the       desk at    the    date       of    the

      3   appointment,              you    know,       the    day that       I needed the             service,

      4   and that           they would make             someone       available          to help me

      5   with the           check- in process.

      6          Q -         And that's          what happened on             January          10th,    when

      7   you    showed up           for    your       actual    appointment,             correct?

      8          A.          Yes.

      9          Q -         Had someone          asked you,          sir,    to visit          the    LabCorp

     10   location           to    examine       the    kiosk?

     11          A.          No.

     12          Q.          You did that          on    your    own?

     13          A.          Correct.

     14          Q.          Were    you    already a party to                the    Quest

     15   litigation?

     16          A.          I had talked to my counsel                      about       that.        I don't

     17   know how           far    that had gotten             at   that point,           but    yes,    I

     18   was    involved in              those    talks.

     19                      And that       is,    I might       add,    part       of    the    reason why

     20   I went        to    LabCorp,          was because          I thought,          well,    maybe --

     21   maybe        they might be better- equipped for                           accessibility.

     22          Q -         Before       the    complaint was          filed in          this matter,

     23   sir,    did you           review       it?

     24          A.          Yes.

     25          Q -         And did you          think       it was    important          to make       sure


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      1   the    complaint was            accurate?

      2          A.     Yes.

      3          Q•     And do       you believe,             sitting here           today,       that    the

      4   allegations         in    the    complaint          are   accurate?

      5          A.     Yes.

      6          Q•     And when          you       reviewed the         complaint      in

      7   preparation         for    your deposition here                  today,      did you

      8   notice      anything       in    it       that    you believed to be              inaccurate?

      9          A.     The    only thing that                I noticed was           that    it    didn't

     10   make    reference         to    the previous          visit      that      I had made,          so

     11   that's      why   I wanted to              clarify that         detail.

     12          Q.     Understood.

     13                 And is       it    fair       to    say that      on   the    date    you

     14   visited the         LabCorp          facility with your prescription,                          they

     15   provided you with medical                        diagnostic      testing      services?

     16          A.     Yes.

     17          Q•     And no       one       at    LabCorp ever         refused to provide

     18   you with those            services;          is    that   correct?

     19          A.     Correct.

     20          Q.     And no       one       at    LabCorp    told you        that    checking          in

     21   at    the   kiosk was          the    only option         for    checking         in;    is    that

     22   correct?

     23          A.     No,    I just understand it                  to be      one    of    two

     24   options      available.

     25          Q•     And the          other       option    is   to    check      in with a


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      1   person       at    the    desk,       correct?

      2          A.         Yes.

      3          Q.         And so       you were       never       told that          the       only option

      4   for    checking          in    at    LabCorp was          to    check       in    at    the       kiosk,

      5   correct?

      6          A.         Correct.

      7          Q•         And since          January       10,    2020,       have       you gone          to    any

      8   other LabCorp patient                      service       centers?

      9          A.         No.

     10          Q•         Since       January       10,    2020,       have    you       revisited this

     11   same    LabCorp patient                   service       center?

     12          A.         No.

     13          Q•         So    the    one    and only time             that    you went             to

     14   LabCorp       to       receive       a service,          you were       checked in                at    the

     15   desk,       correct?

     16          A.         That's       correct,       and that's because                   that's          the

     17   only time          I --       the    last    time       that my doctor has                   requested

     18   bloodwork.

     19          Q•         And when          you visited the             LabCorp patient                   service

     20   center       on    January          10,    2020,    you were          not    required to use

     21   the    kiosk to          check       in,    correct?

     22          A.         I was       not    required because --                well,          I was       not

     23   required.

     24          Q.         Okay.        And when       you visited the                LabCorp patient

     25   service       center          on    January       10,    2020,    you were             not    required


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      1   to    sign    in    through the             kiosk,       were       you?

      2          A.         No.

      3          Q.         I am correct,             you were          not    required?

      4          A.         You    are --       I was    not       required.

      5          Q.         And when          you visited the             LabCorp patient               service

      6   center       on    January          10,    2020,    you were          not       required to

      7   register          for    your       appointment          at    the    kiosk,         correct?

      8          A.         No,    I was       a walk-in.

      9          Q.         Were       you    required,       sir,       to    register         for    your

     10   appointment             at    the    kiosk when          you    arrived on            January       10,

     11   2020?

     12          A.         It was       not    required.

     13          Q.         And you --          well,    withdrawn.

     14                     Prior       to    filing this          lawsuit,          other      than    the

     15   interactions             that       you had on       January          10,       2020 --      excuse

     16   me.     Let me          strike       that.

     17                     You    said a couple             days prior          to       January      10,

     18   2020,       you visited the                location,          you    asked about            the

     19   kiosk,       and you          told the person             you       spoke       to   that    the

     20   kiosk       should be made                accessible          to blind people;               is    that

     21   right?

     22          A.         Yes.

     23          Q.         And the person             that    you       spoke       to    said they would

     24   pass    along that             suggestion;          is    that       right?

     25          A.         Yeah.        They agreed that                it    should be         and that


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      1   they would pass              along the       suggestion          so    that we would

      2   have both options              available          that    everybody else has                going

      3   to    that       location.

      4          Q•         Did you understand,              sir,    that       sighted people

      5   also have          the    option     to    check    in    at    the    desk?

      6          A.         Yes,    I do;     but    they also have             the    option    to

      7   perhaps          avoid a line        and check       in    at    a kiosk,       which       I did

      8   not have          that    option.

      9          Q.         Do   you   know    if    the    kiosks       ever get       lines?

     10          A.         I don't     know.

     11          Q.         And you     said the       first       day that       you were       there,

     12   prior       to    your    January     10th visit,          there was          not   a line;

     13   is    that       correct?

     14          A.         There --     I don't believe             there was much of                a

     15   line.

     16          Q.         Do   you   know on       that    day if       there was       a line       at

     17   the    kiosks?

     18          A.         I don't     know because          I don't       know where          the

     19   kiosk       is.

     20          MR.       SWEET:      Rob,    we've been going             for       about   an hour

     21   now.        I think now        is    a pretty good time                for    a break.

     22          MR.       STEINER:      Okay.        Do    you want       to    take    five

     23   minutes?

     24          MR.       SWEET:      That's       fine.

     25          MR.       STEINER:      Thank you.


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                                                                                                                 JA0176




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      1          DEPOSITION OFFICER:              We're       going off          the       record.

      2                  (A recess       was    held from 11:56             to       12:02.)

      3          MR.    STEINER:        We    can go back on          the       record.

      4          Q•      Mr.    Vargas,       you understand you're                   still       under

      5   oath,       correct?

      6          A.      Yes.

      7          Q•      Do    you have       any knowledge          or understanding as                      to

      8   what    the patient          check- in process            was    at    LabCorp prior                to

      9   the    time    it    introduced its          kiosks?

     10          A.      I do    not.

     11          Q.      Do    you    know anything about             the       check- in process

     12   at    any other LabCorp             location,       other       than       the    one    you

     13   visited?

     14          A.      No.

     15          Q.      When    you visited the             LabCorp       location prior                to

     16   January       10th,    a couple       days prior,          do    you       recall       what

     17   time    of day it was?

     18          A.      I believe       it was    in    the    afternoon.

     19          Q.      Do    you    recall    when    in    the    afternoon?

     20          A.      Like maybe          around 3:00       or    4:00       in    the    afternoon,

     21   give    or    take.

     22          Q•      And when       you visited on          January          10th,       do    you

     23   recall       what    time    of day it was?

     24          A.      That was       early in       the morning.

     25          Q•      When    you visited on          January          10th,       did anyone          at


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      1   LabCorp     ask you      if   you were blind?

      2          A.   No.

      3          Q•    Did anyone        at    LabCorp          ask you       if    you were

      4   visually impaired?

      5          A.   No.

      6          Q•    Did anyone        ask you          to    fill    out    any forms          or

      7   provide     any information which                    indicated to          LabCorp       that

      8   you were blind or visually impaired?

      9          A.   No.

     10          Q.    To   your    knowledge --

     11          A.    I believe --

     12          Q.    Pardon me?

     13          A.    I was     going to          say,    I believe          the    fact    that      I

     14   walk    in with a long white               cane       and glasses,          it    indicates

     15   to most people         that    I have       a visual          impairment.

     16          Q.    Fair enough,           sir.

     17                You have worked with other people who                                are

     18   visually impaired who               do    not use       a long white             cane,

     19   correct?

     20          A.    I don't      recall,         but    I probably have.

     21          Q.    Is   it   fair    to    say that          it's    not       always    obvious

     22   whether     someone      is   visually impaired or blind?

     23          A.   Not    always.

     24          Q•   And so       on   this       occasion,       you    certainly weren't

     25   asked by anyone          at   LabCorp       if       you were visually impaired


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      1   or blind?

      2         A.      No.

      3         Q.      And are       you       aware    of    any record that         LabCorp

      4   would have         indicating that             you    are visually impaired or

      5   blind?

      6         A.      No.

      7         Q.      Are    you    aware       of    any records         LabCorp might have

      8   related to         anyone    else       that may be visually impaired or

      9   blind?

     10         A.      No,    and    I don't          see why    I would.

     11         Q.      And why do          you    say you don't            see why you would

     12   be?

     13         A.      Because why would                I know       if   they have    records      on

     14   anybody's      visual       impairment?

     15         Q.      But    you    know they don't have                  any records       on   your

     16   visual      impairment,          correct?

     17         MR.    SWEET:        Objection;         misstates          testimony.

     18         THE    DEPONENT:           To    the best       of my knowledge.

     19   BY MR.      STEINER:

     20         Q•      Do    you    know how many blind or visually impaired

     21   people use         LabCorp       services       at    its    PSCs    in   a given    year?

     22         A.      I don't.

     23         Q•      Do    you    know how many of             the people who use

     24   LabCorp      services       in    a given       year who         are visually

     25   impaired but         not blind are             able    to use       its   kiosks?


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      1          MR.    SWEET:        Objection;             compound.


      2          THE    DEPONENT:           I don't          know.


      3   BY MR.       STEINER:


      4          Q•      Do    you    know    if       anyone       else    that      day that       you


      5   were    there       on    January       10th       checked       in    in   the    same manner


      6   that    you    checked       in?


      7          A.      I don't.


      8          Q.      You       don't    know either way,                correct?


      9          A.      Correct.


     10          Q.      Is    it    fair    to    say,       sir,    that      when     you visited


     11   the    facility on          January          10th    in    the morning,            it    was


     12   busier       than when       you visited the                facility          in   the


     13   afternoon       a couple          days       prior?


     14          A.      Yes.


     15          Q.     And had you           checked          in    on    January       8th --      I'm


     16   sorry.        I keep       saying       the    8th.        My apologies,            sir.


     17          A.      That's       okay.


     18          Q.      Had you       checked          in    the    first       time    that      you


     19   visited the          facility,          is    it    fair    to    say that         you believe


     20   your wait       time       would have been                shorter?


     21          MR.    SWEET:        Objection;             calls    for       speculation.


     22          THE    DEPONENT:           I don't          know.


     23   BY MR.       STEINER:


     24          Q•      It may have been;                   you    just    don't       know?


     25          A.      That's       correct.



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      1         MR.    SWEET:           Same    objection.


      2                  Julian,         I would      just       caution    you    to   give me      a


      3   second or         two    so    that    I can      object       where    appropriate.


      4   Thank      you.


      5   BY MR.      STEINER:


      6         Q.       Is    LabCorp within              your health       insurance        network?


      7         A.       Yes.


      8         Q.       And      is    that Medicaid?


      9         A.       Medicare --


     10         Q.       Medicare?


     11         A.     --      and Medicaid.


     12         Q.       And      is    Quest    Diagnostics         also    within      your health


     13   insurance         network?


     14         A.       Yes.


     15         Q.       On    the      day that      you visited the             LabCorp     facility


     16   on    January       10th,      do    you   know    if people       who    checked     in   at


     17   the    kiosk      spent more          or   less    than    20    minutes      to   check   in?


     18         MR.    SWEET:           Objection;         lacks    foundation.


     19         THE    DEPONENT:              I don't      know.


     20   BY MR.      STEINER:


     21         Q.       Sir,      you    rely on       auxiliary aids            and   services     to


     22   receive      goods       and    services;         is    that    correct?


     23         MR.    SWEET:           Objection;         calls    for    a legal      conclusion.


     24   BY MR.      STEINER:


     25         Q.       You      can    answer      it,    sir,    if    you understand the



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      1   question.


      2          A.         What       do    you mean       exactly by " auxiliary aids                             and


      3   services"?


      4          Q•         Do    you       know what       auxiliary aids                  and    services


      5   are?


      6          MR.    SWEET:              Objection;          calls       for    a legal         conclusion.


      7          THE    DEPONENT:              So    I'm asking             for    you      to    clarify what


      8   you mean by that.


      9   BY MR.       STEINER:


     10          Q.         Yes.


     11                     And    I'm just          asking          you,       sir,    what      your


     12   definition             is.


     13                     Do    you have          a definition                of what      an " auxiliary


     14   aid and       service"             is?


     15          A.         If    you're       referring             to    screen       readers,         white


     16   canes,       and things             of    that    nature,             then    yes.


     17          Q•         A screen          reader       to    your mind             is   a type       of


     18   auxiliary aid and                   service;          is    that       right?


     19          A.         Yes.        It    assists       me       with getting            information


     20   that's       on    a screen          and allows             me    to    interact        with        a


     21   device.


     22          Q.         Do    you use          other    types          of    auxiliary aids               and


     23   services,          other          than    screen       readers?


     24          MR.    SWEET:              Same    objection.


     25          THE    DEPONENT:              So    like       I said,          I use      screen       readers



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      1   on my computers                and mobile          devices      and     I use      a white          cane


      2   to    travel.


      3   BY MR.       STEINER:


      4          Q.         Do    you    read Braille?


      5         A.          I do       not.


      6          Q.         So    if    LabCorp had          signs    in Braille            at    its


      7   facilities,             that       would not be          helpful      to    you?


      8         A.          Not       to me personally,             but   other blind people


      9   would benefit                from it.


     10          Q•         You       know    there    are    certain blind people                     that       do


     11   read Braille                and certain          that    don't,    correct?


     12         A.          Correct.


     13          Q•         Does       magnification          software       work      for       you    as    an


     14   auxiliary aid?


     15         A.          It    used to       when       I was    younger,         but   no     longer.


     16          Q•         What       about    large- print materials?                     Do    those       work


     17   for    you       as    an    auxiliary aid?


     18         A.          No.


     19         MR.        SWEET:        Same    objection.


     20   BY MR.       STEINER:


     21          Q•         Do    you    ever    rely on          someone    to      read to       you       in


     22   order       to    receive          goods    and    services?


     23         A.          Sometimes.


     24          Q•         And       in what    circumstances            would you          rely on


     25   someone          to    read to       you    in    order    to   receive          a good or



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      1   service?

      2          A.      If       the    information          is    not    available       in    an

      3   accessible          format       that       I would be          able       to use my screen

      4   reader       and knowledge             of    computers          and mobile       devices         to

      5   be   able     to    do myself.

      6          Q•      Would an example                of    that be          if    you went    to       a

      7   restaurant,             for    instance,       and were          given       a menu?

      8          A.      Yes.

      9          Q•      And in          that    case,    you would ask a waiter                      or

     10   waitress       to       read the menu          or point          out       certain    things         on

     11   the menu;          is    that    correct?

     12          A.      Correct.

     13          Q.      And you're             comfortable             relying on,       at    least      in

     14   that    context,          someone       reading to             you    the    content    of

     15   written material,                correct?

     16          MR.    SWEET:           Objection;       misstates             his    testimony.

     17   BY MR.       STEINER:

     18          Q•      Is       that    correct,       sir?

     19          A.      I would prefer                that    the material be             available            in

     20   a format       that       I can use myself.

     21                  And actually,                since    you bring up             restaurants,

     22   more    and more          of    them have put             their menus          available

     23   online.        And       I find myself more                   often    referring to          those,

     24   when    I can get             ahold of       them,       to    familiarize myself with

     25   a menu.


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      1        Q.      You have used the                      services       of people          reading the

      2   material     to    you       in    order       to    get    goods       and services,

      3   right?

      4       A.       When       there's          no    other       alternative.

      5        Q.      Okay.           Any other          instances          that    you       can    think of

      6   in getting a good or                    service where            you have        relied on

      7   someone     reading to             you    so    that       you   can     familiarize

      8   yourself with the                 goods       and services          that       are    available?

      9       A.       None       other          than when       there       is    not    an    accessible

     10   way that     I can do             it    electronically.

     11        Q.      You prefer                to have       access      electronically,

     12   correct?

     13       A.       Yes.

     14        Q.      Are       you    aware       of    others       who prefer          to have

     15   access     through       someone          reading them the material?

     16       MR.     SWEET:           Objection;             calls    for    speculation,             lack of

     17   foundation.

     18        THE    DEPONENT:              I know people             I guess       you would say in

     19   both camps.            I know a lot             of people who prefer                   to   do

     20   things     for    themselves             independently and use                   technology,

     21   and there        are    some people who                are more          comfortable

     22   getting     something read to                   them.        It's       a personal

     23   preference        thing.

     24   BY MR.     STEINER:

     25        Q.      Have       you used an             app    called Be My Eyes?


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      1         A.      Yes.

      2         Q•     And as        I understand it,                      that basically connects

      3   you with a person who                  acts       as       a qualified reader             through

      4   the   camera    on    your       iPhone;          is       that    right?

      5         A.      I would disagree with " qualified reader."                                        Those

      6   are volunteers         who       are    not vetted.                 Anybody could sign up

      7   to be      a Be My Eyes          volunteer             and there's          no process          of

      8   training,      nor    is    there       a requirement                to    sign    a

      9   nondisclosure         agreement             or    anything          like    that.

     10                 So while          I would use                a service       like Be My Eyes

     11   for   something basic,             like " What               color    is    this    shirt?,"          I

     12   would certainly not               rely on Be My Eyes                      to help me       to

     13   obtain personal            information                on    a document.

     14         Q.      You've used Be My Eyes                         in    a pharmacy before,

     15   correct?

     16         A.      I've used it             in    a pharmacy,             but    not    for

     17   prescriptions;         for doing things                      like    seeing the

     18   expiration date            on    a gallon             of milk or          a jar    of    juice       or

     19   something      like    that.

     20         Q•      Have    you used it                to    determine what             other

     21   products      that    you might want                   to buy?

     22         A.      Yes,    for       scanning grocery store                      shelves.

     23         Q.     And do        you    continue             to use Be My Eyes?

     24         A.      Sometimes.

     25         Q.     And in what           instances                do    you use Be My Eyes?


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      1          A.        Again,        for       things       like       reading an expiration

      2   date, " What            color       is    this       shirt?," " Am I standing                        in

      3   front       of    a Starbucks?,"                those          kinds       of    things.           Something

      4   that --          something that would get me                               quick visual

      5   assistance,             but    not       for    anything that would require                               the

      6   handling of             confidential                information.

      7          Q.        When        you visited the                   LabCorp          on    January       10th --

      8   withdrawn.

      9                     Since       filing this             lawsuit,             sir,      have     you

     10   requested that                LabCorp provide                   you with a specific

     11   auxiliary aid?

     12          MR.       SWEET:        Objection;             calls          for    a legal          conclusion.

     13          THE       DEPONENT:           I have         not.

     14   BY MR.       STEINER:

     15          Q•         Since       filing this             lawsuit,             have       you    communicated

     16   with LabCorp                requesting that                it provide                you with any

     17   assistance             in    checking          in    at    its patient                service       centers?

     18          A.        No,        because       I haven't had to                      go    to    LabCorp       since

     19   then.

     20          Q.        And        I take       it    that       on    the    one       occasion          that    you

     21   were    at       LabCorp       on    January          10th --          sorry.              Withdrawn.

     22                     Do    you have          any facts             to    indicate,             sir,    that

     23   LabCorp          intentionally discriminated against                                        you?

     24          A.        Well,        the    fact       that       they don't make                   their    kiosks

     25   accessible             to    a blind person                feels       like          discrimination.


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      1          Q.      Any other             facts,    sir,    to    indicate         that    LabCorp

      2   intentionally discriminated against                            you,       other      than       the

      3   fact    that       its    kiosks       are    not    accessible          to   a blind

      4   person?

      5          A.      No,       no    other    facts.

      6          Q.      Do    you       know anything about             the process            that

      7   LabCorp used to                develop       its    kiosks?

      8          A.      No.

      9          Q.      Other          than    your    own personal          experience         at

     10   LabCorp       on    January          10th at       the Van Nuys          location,         do    you

     11   know anything about                   LabCorp's       check- in policies              or

     12   procedures?

     13          A.      No.

     14          Q•      Do    you       know anything about how LabCorp's                           other

     15   facilities          are       operated in California                or nationwide               as    it

     16   relates       to    check- in procedures?

     17          A.      No,       because       it's    the    only one       I've been         to.

     18          Q.      And on          the    only occasion          that    you went         to

     19   LabCorp,       you were          able    to    receive       the    service       that      you

     20   sought       from them,          which was medical             diagnostic            testing,

     21   correct?

     22          MR.    SWEET:           Objection;          misstates       the    testimony.

     23   BY MR.       STEINER:

     24          Q•      Is    that       right,       sir?

     25          A.      I'm sorry.              Restate       the    question?


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      1        Q       Sure.

      2                On    the       one    occasion    that       you went       to    LabCorp,

      3   you were     able       to    receive       its medical       diagnostic          testing

      4   services,        correct?

      5       MR.     SWEET:           Objection;       misstates       his       testimony.

      6        THE    DEPONENT:              Well,    I went    there       to    get    a blood

      7   test,     yes.

      8   BY MR.     STEINER:

      9        Q•      And you got             it,    correct?

     10       A.       I did,          but    I only had one method of                   interacting

     11   with them.

     12        Q•      Prior       to    filing the       complaint          in    this    action,

     13   did you ever           correspond with LabCorp                and tell          them they

     14   were violating the Americans                    with Disabilities Act?

     15       A.       No.

     16        Q.      Prior       to    filing this       lawsuit,          did you ever

     17   correspond with LabCorp                    and tell       them they were violating

     18   any laws?

     19       A.       No.

     20        Q.      Is    the       first    time    that    you    complained about

     21   LabCorp's        check- in procedures --                  well,    withdrawn.

     22                Do    you have          any facts       to    indicate       that

     23   LabCorp has        refused to make             its    kiosks       independently

     24   accessible        to    the visually impaired for                      financial

     25   reasons?


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      1         A.         I assume          that    to make          it   accessible,           they might

      2   have had to pay a little bit more,                                although        frankly,         a

      3   lot   of    today's          kiosk       systems          are based on either               iOS    or

      4   Android- type              devices,       all    which come with built-in

      5   accessibility.                   And why LabCorp             chose    not    to       avail

      6   themselves            of    that       and make       it    available       to    those

      7   customers         I guess          is beyond me.

      8         Q.         So    you don't          know why they chose                not       to   do

      9   that,      whether          it was       for    financial         reasons        or    any other

     10   reason?

     11         A.         I'm assuming             it's       financial.

     12         Q.         Other       than       your    assumption,          sir,    do       you have      any

     13   facts      to    indicate          that    LabCorp          chose    not    to make         its

     14   kiosks      independently usable by those who                               are blind or

     15   visually impaired for                     financial          reasons?

     16         MR.       SWEET:           Objection;          asked and answered.

     17         THE       DEPONENT:              I don't have hard facts.                       I just have

     18   the   experience             to    rely on.

     19   BY MR.      STEINER:

     20         Q•         Do    you       know what       training LabCorp provides                        its

     21   employees         related to             its    check- in process?

     22         A.        No.

     23         Q•        And when           you were          at    the   facility on

     24   January         10th,       is    it    fair    to    say that       you were          treated

     25   respectfully?


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                                                                                                                       JA0190




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      1        A.      Yes.        The people who             I interacted with were

      2   respectful.

      3         Q.     They were helpful;                is   that   correct?

      4        A.      Yes.

      5         Q.     They were          able    to    see   that   you got    the

      6   blood- testing          services       that    you were     there    to    receive,

      7   correct?

      8        A.      Yes.

      9         Q.     Have       you ever used LabCorp's              website?

     10        A.     No.

     11         Q.     Do    you       know whether LabCorp's           website       is

     12   accessible        to    the visually impaired?

     13        A.      I do       not,    since    I haven't used it.

     14         Q.     Have       you ever used LabCorp's mobile                    application?

     15        A.     No.

     16         Q.    And        I take    it    you don't       know whether        or not   that

     17   mobile     application          is    accessible      to people who         are

     18   visually impaired?

     19        A.      Correct.

     20         Q.     LabCorp          served your       counsel     with what       are   known

     21   as   Requests      for Admission.

     22               Are        you    familiar with that           document?

     23        A.      Yes.

     24         Q.    And did you              review that      document prior         to   the

     25   submission        of    those    responses?


                                                                                                  55

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                                               1400
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      1          A.         Yes.


      2          Q.         And    did    you    review       it    to    make    sure   that    it   was


      3   accurate?


      4          A.         Yes.


      5          Q.         And    LabCorp       also    filed       a counterclaim          against


      6   you;    is    that       correct?


      7          MR.    SWEET:           Objection --


      8   BY   MR.     STEINER:


      9          Q.         Are    you    aware    of    that,       sir?


     10          MR.    SWEET: --           calls       for    a legal         conclusion.


     11          THE    DEPONENT:           I don't       recall.


     12   BY   MR.     STEINER:


     13          Q.         You    were    able    to    check       in    for    your   service      at


     14   LabCorp       on       January    10th,       2020,       correct?


     15          A.         By    going    to    the    desk,       yes.


     16          Q.         And when       you    went    to       the    LabCorp    patient      service


     17   center       on    January       10,    2020,       a LabCorp          staff   member


     18   assisted          you    with    the    check- in        process,        correct?


     19          MR.    SWEET:           Objection;       asked          and   answered.


     20          THE    DEPONENT:           Yes.


     21   BY   MR.     STEINER:


     22          Q.         And    you    were    not    denied          any   LabCorp    product      or


     23   service       when       you    went    to    the    patient         service    center      on


     24   January       10,       2020,    correct?


     25          A.         I respectfully             disagree.           I was    denied      the



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      1   opportunity to make                use       of    the       kiosk       available         to


      2   everybody else             who    walks       in    there          as    an    option      to


      3   announce my arrival                and to          check          in    and transact            what   I


      4   needed to       transact.


      5          Q•      The product             or    service          that       you were         there    for,


      6   sir,    was    blood testing,                correct?


      7          MR.    SWEET:        Objection.


      8          THE    DEPONENT:           It    is,       but    the       check- in process              is


      9   also part       of    it.


     10   BY MR.       STEINER:


     11          Q•      And you       told me before                   that before            you    filed


     12   this    lawsuit,       you       never       corresponded with LabCorp


     13   regarding       any    legal       violations;                is       that    correct?


     14          A.      Correct.


     15          Q.      Sir,    in    Paragraph             4 --       well,       actually,         never


     16   mind.        Withdrawn.


     17                  Do    you have          any    facts          to    indicate         that    LabCorp


     18   doesn't       train    its       employees          to       respect          the   civil       rights


     19   or   communicate           effectively with people                            who   are    visually


     20   impaired?


     21          MR.    SWEET:        Objection;             calls          for    a legal      conclusion.


     22          THE    DEPONENT:           I do       not.


     23   BY MR.       STEINER:


     24          Q•      Do    you    know whether                the       implementation            of


     25   LabCorp's       kiosks       enabled you                to    get       seen    sooner      on



                                                                                                                   57

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      1   January        10th than       you would have been                seen          if    there were

      2   no   kiosks      there?

      3        MR.       SWEET:        Objection;          calls    for    speculation.

      4        THE       DEPONENT:        I don't          know.

      5   BY MR.     STEINER:

      6        Q.        Are     you    a member          of    the American Council                of    the

      7   Blind?

      8        A.        No.

      9        Q•         You're       aware       that    this    lawsuit was brought                   as    a

     10   class     action;       is    that       correct?

     11        A.         Yes.

     12        Q.        And what        does       that mean       to    you?

     13        A.         It means       that       this process makes                it more

     14   efficient        and available             for many blind people,                     who have

     15   had a similar           issue,       to    seek the --          the    correction          of       the

     16   issue without having to                    each       independently hire                their       own

     17   counsel.

     18        Q•         Can    you    identify any other blind person who has

     19   had a similar           issue       as    you when       it    comes       to    checking       in

     20   at   a LabCorp patient               service          center?

     21        A.        " Identify,"          what       do    you mean?

     22        Q.         The    name    of    anyone.

     23                   Can    you    identify anyone who has                      had a similar

     24   issue     as    you when       it    comes       to    checking       in    at       a LabCorp

     25   patient        service       center?


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      1          A.     Nobody other           than    the    other    defendant          named   in


      2   this    case.


      3          Q•      You mean       the    other plaintiff,           Mr.    Davis?


      4          A.      Yeah.        I'm sorry.


      5          Q.      That's       okay.


      6          A.      I'm not       good with my          legal    terms.


      7          Q.     And you        told me before,           you've      never     spoken     to


      8   Mr.    Davis,    so    you    don't      know    anything      about      his   personal


      9   experiences,          do    you,    sir?


     10          A.     No.


     11          MR.    SWEET:        Objection.


     12   BY MR.       STEINER:


     13          Q.      Can    you    identify anyone,           other      than    yourself,


     14   who    you    claim was       denied a LabCorp product                 and      service


     15   based on       their visual          impairment        or blindness?


     16          MR.    SWEET:        Objection;       misstates       his    testimony.


     17          THE    DEPONENT:        I know       that    there    are    a lot       of people


     18   who    have    had    similar       issues      with   these    kiosks       in various


     19   places.        I'm not       sure    that    they would all           specifically be


     20   LabCorp,      but     these    kiosks       are becoming more prevalent;


     21   and unfortunately,             they're       not --    many of        them are      not


     22
          BY
          accessible.
             MR. STEINER:
                       So             it's    at   various
     23


     24          Q•      I apologize,          sir.       My question was           a little bit


     25   different.



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      1       A.       Okay.

      2        Q.      I understand that             these      kiosks        are becoming more

      3   prevalent.

      4               My question was:               Can    you    identify anyone who

      5   has been denied a product                 and service          from LabCorp

      6   because     they are visually impaired or blind?

      7       A.      What     do    you mean by " identify"?                      Like    state    the

      8   name,     or how do       you mean exactly?

      9        Q.      Yes,    state       the   name.

     10       A.      No,     I cannot.

     11        Q.     Without        telling me,         sir,     what was          said,    how

     12   often do     you    speak with your            counsel        about       this    case?

     13       A.       Frequently;          at    least maybe          once    or    twice    a

     14   month.     And obviously,              leading up       to    this       deposition,       a

     15   little more        often.

     16        Q•     Are     you    aware,       sir,   that     there       is    a mediation

     17   scheduled in        this    case?

     18       A.       Yes.

     19        Q.     And do        you    know when       that    is    scheduled for?

     20       A.       I don't       recall.

     21        Q.      Have    any settlement proposals                   from LabCorp been

     22   communicated to           you?

     23       A.       Settlement proposals?

     24               No.

     25       MR.     SWEET:        I would just         caution        the witness          not    to


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      1   disclose       any       communications            with    his       counsel.


      2          THE    DEPONENT:             Restate       the    question,            please?


      3   BY    MR.    STEINER:


      4          Q.      I don't         have       a question       pending,            sir.


      5          A.      Okay.


      6          Q.      You're         aware,       sir,    that    in       this      case,    you're


      7   seeking       to    certify what's               known    as    a California               subclass?


      8          MR.    SWEET:          Objection;          calls    for       a legal         conclusion.


      9   BY    MR.    STEINER:


     10          Q.      If       you're      not    aware    of    it,       just      tell    me    you're


     11   not    aware       of    it   and we       can    move    on.


     12          MR.    SWEET:          Objection --


     13          THE    DEPONENT:             I am    aware.


     14          MR.    SWEET: --             calls    for    a legal          conclusion.


     15   BY    MR.    STEINER:


     16          Q.      I didn't          hear      your    answer,          sir.


     17          A.      Yes,       I am.


     18          Q.      And       do   you    know    what       that    California            subclass


     19   consists       of?


     20          A.      I'm not         aware.        I mean,       I'm       sorry,        I'm not


     21   familiar.


     22          Q.      Do       you   know    who    is    purported             to   be   included


     23   within       that       California         subclass?


     24          A.      I believe            all    blind people             in    California.


     25          Q.      Whether         or    not    they went          to    a LabCorp         patient



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      1   service       center       or    not?


      2         A.       I don't          know.


      3          Q•      And whether            or    not      they went       to    a LabCorp


      4   patient       service       center         and were         able   to     check       in    at    the


      5   desk,       correct?


      6         A.       I don't          recall.


      7          Q•      Does    the       California           subclass       include          anyone       that


      8   was    able    to    check       in   at    the      kiosk,    notwithstanding                   their


      9   visual       impairment?


     10         A.       I don't          recall.


     11          Q.      You    don't       recall        or    you    don't      know,     sir?


     12         MR.     SWEET:        Objection;            asked and answered.


     13          THE    DEPONENT: ( No               response.)


     14   BY MR.       STEINER:


     15          Q.      Do    you    know,       sir,      whether      the      California


     16   subclass       includes          individuals           who    were      able     to    check       in


     17   at    the    kiosk,    notwithstanding                 their visual             impairment?


     18         MR.     SWEET:        Same      objection.


     19          THE    DEPONENT:           I don't         recall.


     20   BY MR.       STEINER:


     21          Q•      Do    you    recall         if   either       the   California              subclass


     22   or    the    nationwide          class      includes         people       who    are       visually


     23   impaired but          haven't         visited a LabCorp                 facility with              a


     24   kiosk?


     25         A.       I don't          recall.



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      1          Q.        And do       you    recall    if either         the    nationwide            class

      2   or   the     California            subclass    includes people who,

      3   regardless            of   their     sight,    prefer      to    check      in    at    the

      4   desk?

      5          A.        I don't         recall.

      6          Q.        You're       aware    there's      also       a request         to    certify a

      7   nationwide            class      of people?

      8          A.        Yes.

      9          Q.        And do       you    know who      is    included in         that       request?

     10          A.        All blind people             in   the    country.

     11          Q.        And is       it    all blind people            in    the   country,

     12   regardless            of whether       or not      they have          actually visited a

     13   LabCorp patient               service      center?

     14          A.        I don't         recall.

     15          Q•        Do    you    recall    if    it   is    all blind people               that

     16   have visited a LabCorp patient                          service       center      or    just

     17   those       that have         attempted to use            the    kiosk?

     18          A.        I don't         recall.

     19          Q•        Does      the     nationwide      class       include people who

     20   visited a LabCorp patient                     service      center but were               able       to

     21   check       in   at    the    desk?

     22          A.        I don't         recall.

     23          Q•        So    the    only thing that            you    can    recall,         sir,    is

     24   that    the      nationwide          class    includes         all blind people               in

     25   the United States --


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      1          MR.    SWEET:           Objection.


      2   BY    MR.    STEINER:


      3          Q.     --     is    that       right,          sir?


      4          MR.    SWEET:           Objection.


      5                  Rob,       that's          not    the       only    thing       he    can    recall.


      6          MR.    STEINER:              Excuse       me.        I didn't          intend       to   suggest


      7   that    was    the    only          thing       he    can       recall.


      8          Q.      The    only          thing,       sir,       that    you       can    recall       about


      9   the    composition             of    the    nationwide             subclass          is    that    it


     10   includes       all    blind people                   in    the    United       States?


     11          A.      Yes.


     12          MR.    STEINER:              I wasn't          trying       to    be   pejorative,


     13   Ben.


     14          MR.    SWEET:           No    problem.


     15          MR.    STEINER:              And    actually,             could    the       reporter       read


     16   back my       question          and       answer.


     17          DEPOSITION          OFFICER:              Yes.


     18                             (The       record was             read    as    follows:


     19                             Q.         The    only          thing,    sir,       that       you


     20                  can    recall          about          the    composition             of    the


     21                  nationwide             subclass             is    that    it    includes


     22                  all    blind people                   in    the    United       States?


     23                             A.         Yes.)


     24   BY    MR.    STEINER:


     25          Q.     And     sir,          does    the       nationwide          class          include



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      1   people       who    aren't blind but          have       some       level       of visual


      2   impairment?


      3          A.      Yes.


      4          Q.      And what       level    of visual             impairment          do    they have


      5   to    have    in    order    to be    included          in    the    nationwide          class?


      6          A.      I don't       recall.


      7          Q.      Are    you    familiar with          anyone          who    is    visually


      8   impaired who          would be       able    to   use,        based on          your belief,


      9   LabCorp's          kiosk?


     10          MR.    SWEET:        Objection;       vague.


     11          THE    DEPONENT:        I'm not       aware.


     12   BY MR.       STEINER:


     13          Q.      How    long,    sir,    have       you been          considered          legally


     14   blind?


     15          A.      Since birth.


     16          Q.      Can    you    identify,       sir,       the    damages          that    you have


     17   suffered as          a result    of    your       experiences             at    LabCorp       on


     18   January       10,    2020?


     19          MR.    SWEET:        Objection;       calls       for    a legal          conclusion.


     20          THE    DEPONENT:        The    damage       is    that       I was       denied one         of


     21   two    options       to   announce my arrival                 and transact             with


     22   LabCorp       regarding my visit             there.


     23   BY MR.       STEINER:


     24          Q•      Did you       suffer    any    financial             harm?


     25          MR.    SWEET:        Objection;       calls       for    a legal          conclusion.



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      1   BY    MR.    STEINER:


      2          Q.      You    can    answer    it,      sir.


      3          A.      Okay.


      4                  No.


      5          MR.    STEINER:        Let's    take       five      minutes.              I think       I'm


      6   pretty much          done.


      7          MR.    SWEET:        Okay.     Sounds         good.


      8          MR.    STEINER:        Thanks,       guys.


      9          THE    DEPONENT:        Thanks.


     10          DEPOSITION       OFFICER:           We're      going       off       the    record.


     11                  (A    recess    was    held      from     12:43         to    12:51.)


     12          DEPOSITION       OFFICER:           We   are    back       on    the       record.


     13   BY    MR.    STEINER:


     14          Q.      Mr.    Vargas,       I just      have     hopefully            one    or       two


     15   more    questions.


     16                  Have    you    described         to    me,    as    best       as    you       can


     17   recall,      everything        that    was      said between                you    and    the


     18   LabCorp       representative          on    the      couple       days       prior       to    your


     19   July    10th    visit --       sorry --         your     January            10th,    2020


     20   visit?


     21          A.      Yes.


     22          Q.      And have       you    described         for    me,       as    best       as    you


     23   can    recall,       everything       that      was    said between                you    and       the


     24   LabCorp       representative          on    the      occasion          of    your


     25   January       10th,    2020    visit?



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      1          A.      Yes.


      2          Q.      And have          you    described          to   me,        as    best   as       you    can


      3   recall,       everything          that    you       did    on    the       occasion         of    your


      4   January       10,    2020    visit       as    it    related          to    obtaining medical


      5   diagnostic          testing       services          from LabCorp?


      6          MR.    SWEET:        Objection;          vague.


      7          THE    DEPONENT:           Yes.


      8          MR.    STEINER:           Mr.    Vargas,       thank       you       for      your    time.


      9   I don't       have    anything          further.


     10          THE    DEPONENT:           Thank       you.


     11          MR.    SWEET:        I'm going          to    ask    some       questions            of    our


     12   own    for    Mr.    Vargas.


     13


     14                                            EXAMINATION


     15   BY    MR.    SWEET:


     16          Q•      Julian,       thank       you    for       taking       the       time   today          to


     17   answer       questions.           I appreciate             your       diligence.


     18                  I'm    just       going    to    ask       you    a few          questions         about


     19   your    role    as    a class          representative             in       this      litigation.


     20                  Okay?


     21                  Why    did    you       want    to    serve       as    a class


     22   representative          in       this    litigation             against          LabCorp?


     23          A.      Because       I am ultimately                seeking             to   help    remove


     24   access       barriers       to    the    world       for    people          like      myself,          who


     25   are    blind.



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      1          Q       I understand.

      2                  And what             are       your motivations                   in    seeking to

      3   represent          a class          of blind individuals?

      4         A.       My motives                are       to,    you    know,          again,       help       remove

      5   these barriers                to    accessibility,                   so    that blind people

      6   like myself             can    transact             and,       you    know,       do    the       things       we

      7   need to       do    on    a daily basis                   as    independently as possible.

      8          Q•      And do          you have             any financial motive                      in being

      9   involved in             the    litigation                as    a class          representative?

     10         A.       Absolutely not.

     11                  And this             is       all    about       leveling the playing

     12   field,      making        it       so    that blind people                      can    avail

     13   themselves          of    all       the       conveniences                that    are       available          to

     14   everybody else.                    I'm only seeking                   injunctive             relief          and

     15   minimum statutory damages                            on behalf             of    the    class.

     16          Q.      And Julian,                   may    I ask you,             as    far    as    your       role

     17   as    a class       representative                   in       this    litigation,             what       do    you

     18   see    as    your duties                as    a good class                representative                in    this

     19   class       action?

     20         A.       To       supervise             and direct             counsel;          to    review and

     21   approve       of documents;                   to prepare             and sit          for    a

     22   deposition,             such as          this       one;       to be       ready to          appear

     23   in- person         at    trial,          if       that's       where       it    goes,       or    to

     24   actively participate                         in    settlement             negotiations,             if

     25   that's      where        things          go.


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      1          Q       Thank you.

      2                  And what       steps    have    you      taken       so   far     to   satisfy

      3   your    role    as    a class       representative?

      4          A.      I've    communicated with counsel                     regularly to            keep

      5   informed of details                and developments            in    the    case.          I've

      6   spent       time,    you    know,    preparing       for      and ultimately making

      7   this    appearance here             today.

      8          Q       Great.

      9                  How often would you             say you have              communicated

     10   with your       counsel,          without    disclosing any substance                       of

     11   those       discussions?

     12          A.      I would say a good             15   to    20    times.

     13          Q.      Great.

     14                  And can       you    tell me what         laws       this    class       action

     15   is brought under?

     16          A.      That would be          the Americans            with Disabilities

     17   Act    and other       state       and federal       laws      that      govern

     18   accessibility,             such as    the Rehabilitation Act,                     the

     19   California Unruh Act,                and things         like    that.

     20          Q.      Great.        Thank you.

     21                  And can       you    tell me what         court       the    case      is

     22   happening       in?

     23          A.      This    is    in    the United States            District          Court      in

     24   Los Angeles,          California.

     25          Q•      And can       you    tell me who         the    judge       is?


                                                                                                            69

                                                                                                                 JA0205




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      1          A.         The    judge    is    Fernando       Olguin.


      2          Q•         And Mr.       Vargas,    do    you    also    understand that            you


      3   are    asserting          a claim on behalf             of blind Californians


      4   under       California's          Unruh Act?


      5          A.         Yes.


      6          Q•         And    I believe       you    stated a moment          ago   that       you


      7   were    seeking          only the minimum statutory damages                        for    that


      8   claim;       is    that       correct?


      9          A.         That's       correct.


     10          Q.         And    so    just    to be    crystal     clear      for   the


     11   record,       are       you    seeking    any additional          compensatory


     12   award       for    yourself       in    your    individual       capacity under


     13   this    Unruh Act             claim,    beyond the minimum statutory


     14   damages?


     15          A.         None    whatsoever.


     16          Q•         And you       further understand that                the   California


     17   subclass          is    asserting       a claim on behalf             of blind


     18   Californians             under    the    California       Disabled       Persons         Act,


     19   right?


     20          MR.    STEINER:           Objection;       leading.


     21          THE    DEPONENT:           Yes.


     22   BY MR.       SWEET:


     23          Q•         And do       you understand that             this    claim seeks


     24   minimum statutory damages                      of $ 1,000      per violation?


     25          MR.    STEINER:           Same    objection.



                                                                                                          70

                                                                                                               JA0206




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      1   BY MR.     SWEET:

      2        Q.         You    can    answer.

      3       A.          Yes.

      4        Q.        And just           to be    clear,      are    you       seeking any

      5   additional           compensatory award for                  yourself       in    your

      6   individual           capacity under          this      Disabled Persons Act

      7   claim,     beyond the minimum statutory damages?

      8       A.         No.

      9        Q.         I want       to    return    to    some      of    the    testimony that

     10   we heard from you earlier                    today.

     11                   I believe Mr.             Steiner      asked you          about    your

     12   involvement           in prior          litigation with respect                  to website

     13   accessibility.

     14                   Do    you    recall       that    discussion?

     15       A.          Yes.

     16        Q.        And you        testified that            to    the best       of    your

     17   recollection,           there may have been up                     to    five,    quote,

     18   "cases,"        end quote,          that    you were         involved with;          is    that

     19   right?

     20       A.          Yes.

     21        Q.        And is        it    your understanding that                  the    term

     22   "cases"        can    relate       to    lawsuits      that       are    formally filed in

     23   court     as    well    as matters          that were         resolved via          a demand

     24   letter?

     25       MR.        STEINER:           Objection       to   the    form.


                                                                                                        71

                                                                                                             JA0207




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      1   BY MR.      SWEET:

      2          Q•     You    can     answer.

      3          A.     Yes.      I'm not very good with my legal                              terms.

      4   That's      the   reason      I have          counsel.          So    I think       it's

      5   absolutely possible.

      6          Q•     Thank you.            That's          helpful.

      7                 And you're           not       an    attorney,         are    you,    Mr.    Vargas?

      8          A.     No.      I think that's                   obvious.

      9          Q.     You    testified a little bit                         earlier       today that

     10   you made      two    trips     to       the       LabCorp      location          in Van Nuys,

     11   one    a few days before                the ultimate blood test                     you got      on

     12   January       10th of      2020;        is    that       correct?

     13          A.     Correct.

     14          Q•     And do       you have plans                 to   return       to    that    location

     15   in    the   future?

     16          A.     Yes.

     17          Q.     And why would you                    return      to    the    location?

     18          A.      It,   for     one    thing,          is    conveniently close               to me.

     19   So when       I have    to    do    things,             especially like            fasting

     20   blood tests,         I'm familiar with the                      location          already and

     21   it's    not    far   away,     so       I can easily get               to    it.

     22                  Plus,    I want          to    test       and see      if    they're       ever

     23   going to make          those       kiosks          accessible         so    that    someday

     24   people      like myself have both options                            available       that

     25   everybody else has,                as    far       as    announcing their            arrival


                                                                                                            72

                                                                                                                 JA0208




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      1   and transacting with                the       lab    regarding             their visit.


      2          Q.      Thank       you.


      3                  A little bit             earlier,          you       testified regarding


      4   the practices          within       LabCorp with                regard to            training.


      5                  Do    you    recall       that       testimony?


      6          MR.    STEINER:           Objection          to    the       form.


      7          THE    DEPONENT:           Yes.


      8   BY MR.       SWEET:


      9          Q.      And    is    it    fair       to    say that          you have         relied on


     10   your    counsel       with       regard to          the       allegations            with     regard


     11   to   training?


     12          A.      Yes.


     13          Q.      And    is    it    also       fair    to       say that          you have         relied


     14   on   your     legal    counsel          to    craft       the       class       definition         in


     15   this    matter?


     16          A.      Yes.


     17          MR.    SWEET:        I'd    like       to    go    off       the    record       for      just    a


     18   few minutes.           I think          I am complete,                but       I want      to    take    a


     19   couple moments.              So    why don't             we    take       a five-minute


     20   break.


     21          DEPOSITION OFFICER:                    We    are       off    the       record.


     22                  (A recess          was    held       from       1:01       to    1:03.)


     23          DEPOSITION OFFICER:                    We    are back          on       the   record.


     24   BY MR.       SWEET:


     25          Q.      Do    you    recall       earlier,             Julian,          giving    some



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                                                                                                                        JA0209




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      1   testimony about             the    reasons         why you believe        that    the

      2   kiosk was       inaccessible?

      3          A.      Yes.

      4          4•      And is       it    fair    to       say that    you    relied on       your

      5   counsel       for developing reasons                   why the       kiosks    were

      6   inaccessible?

      7          A.      Yes.

      8          4•      And do       you    recall          giving testimony earlier             today

      9   about whether          the       inaccessibility of             the    kiosks    affected

     10   other blind individuals?

     11          A.      Yes.

     12          4•      And is       it    fair    to       say you've    relied on

     13   your    counsel       for developing the ways                   in which the

     14   inaccessibility of                the    kiosks may have             affected others?

     15          A.      Yes.

     16          MR.    SWEET:        Thank you          so much,       Julian,    for    your

     17   testimony today.                 I have       no    further questions.

     18          MR.    STEINER:           Just    a couple.

     19

     20                                     FURTHER EXAMINATION

     21   BY MR.       STEINER:

     22          4•      Sir,    just       so    I understand your             testimony,       you

     23   have    no    facts    yourself          to    indicate why the          kiosks       are

     24   inaccessible;          is    that       right?

     25          A.      I do    not,       because          I have   no way of     learning


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      1   about      the    kiosks,     since     it's    not    accessible       to begin


      2   with.


      3         Q.         And you have      no    facts    yourself       to    indicate         how


      4   the   design       of   the   kiosks    has     impacted other visually


      5   impaired or blind people;                 is    that    correct?


      6         A.         That's   correct.        I rely on my counsel                to   do    that


      7   research.


      8         MR.    STEINER:         Thank     you very much,          sir.     I think


      9   we're      done.


     10         MR.    SWEET:       I think we're          finished.


     11         MR.    STEINER:         Very good.         Have    a good day.


     12         MR.    SWEET:       Thank    you.        Take    care.


     13         THE    DEPONENT:          Thank    you.


     14         DEPOSITION OFFICER:                The    deposition       is    complete         and


     15   we're      going    off   the    record.        Thank    you.


     16


     17                     (Whereupon,      at    the    hour    of   1:05     p.m.,


     18                       the proceedings            were    adjourned.)


     19                                             -000-


     20


     21


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      1                              REPORTER'S       CERTIFICATE

      2

      3               I,    the undersigned,          a Certified Shorthand

      4   Reporter    licensed in          the    State    of California,       do hereby

      5   certify:

      6               That    the    foregoing proceedings             were    taken

      7   before me    at    the    time    and place herein         set    forth;     that

      8   the   deponent     in    the    foregoing proceedings,           prior     to

      9   testifying,       was    duly sworn;       that    a record of       the

     10   proceedings       was made by me using machine                shorthand which

     11   was    thereafter       transcribed under my direction;                that      the

     12   foregoing transcript             is    a full,    complete,      and true       record

     13   of    said proceedings.

     14               I further          certify that       I am neither       financially

     15   interested in       the    action nor       a relative       or employee

     16   of    any attorney or party to             this    action.

     17               In witness         whereof,     I have    this            day of

     18                           , 2021,       subscribed my name.

     19               Reading and Signing was                  requested.

     20               Reading and Signing was                  waived.

     21           X        Reading and Signing was             not   requested.

     22                    Reading and Signing was provided.

     23

     24

     25                                  JANET MURPHY,       CSR NO.    9650


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                                                                                                      JA0212




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 1                         IN    THE   UNITED     STATES     DISTRICT           COURT

                          FOR THE      CENTRAL      DISTRICT        OF    CALIFORNIA

 2

 3      LUKE VARGAS,            JULIAN

        VARGAS,      and AMERICAN

 4      COUNCIL      OF    THE    BLIND,

        individually,            and on

 5      behalf      of    all    others

        similarly         situated,                      :CASE      NO.

 6                                                        2:20-CV-00893- FMO-KS

                    VS.

 7

        LABORATORY         CORPORATION OF

 8      AMERICA HOLDINGS;              and DOES

        1 through         10,

 9

10

                                  Tuesday,      February       16,       2021



12

13                                 Virtual      Zoom Deposition             of    LUKE    DAVIS,

14      on   the    above       date   at   10:01    a.m.,     before       Rachel       L.

15      Cicalese,         a Registered        Professional           Reporter       and

16      Certified Court Reporter.

17



18

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                                            Luke Davis


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 1                    ( It was                   stipulated by               and    among

 2      counsel       for    the       respective parties                that       signing,

 3      sealing,          filing       and    certification             are    waived       and

 4      that    all       objections,          except        as   to    the    form of          the

 5      question,          are    reserved until              the      time    of    trial.)

 6             -                 -               -

 7                                THE       COURT   REPORTER:            The       attorneys

 8      participating             in    this     deposition            acknowledge          that       I

 9      am not physically present                       in    the      deposition          room,

10      and    that       I will       be    reporting        this      deposition

11      remotely.

12                                They       further     acknowledge               that,    in

13      lieu    of    an    oath       administered           in person,            I will

14      administer          the    oath       remotely.           The    parties       further

15      agree       that    if    the       witness     is    testifying            from a

16      state       where    I am not          a Notary,          that       the    witness       may

17      be    sworn       in by    an       out-of-state          Notary.

18                                If    any party has             an    objection          to    this

19      manner       of    reporting,          please        state      so    now.

20                        ( No              response.)

21                                THE       COURT   REPORTER:            Hearing       none,          we

22      can proceed.

23             -            -           -

24                                LUKE       DAVIS,     having been            duly    sworn,




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 1      was    examined and                testified as          follows:

 2      EXAMINATION

 3      BY MR.       STEINER:

 4                       Q.          Good morning,             Mr.    Davis.           Could you

 5      please       state          your    full    name       and address             for   the

 6      record?

 7                       A.          Luke       Jackson    Davis,          7724    Summerdale

 8      Avenue,          Floor       1,    Philadelphia,             Pennsylvania             19111.

 9                       Q.         Mr.     Davis,      have     you       ever been         deposed

10      before?

11                       A.         No.

12                       Q.          Okay.        Let me       give    you       some

13      instructions                that hopefully will                make       the

14      deposition             go    smoothly       for    you,       me,    and       the   court

15      reporter.              I will       be    asking       you    some       questions

16      today       in    a matter          that    you    filed       captioned Luke

17      Davis       versus          Laboratory          Corporation          of America

18      Holdings.

19                                   If    at    any point       in     time      you    don't

20      understand any                   of my    questions,          let me       know,      and       I

21      will    attempt             to    rephrase       the    question          in    a way      in

22      which       you       understand          it.     If    you    answer          a question,

23      I'll    assume          that you         understood           it    as    asked.

24                                   If    at    any point       in     time      you want         a




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 1      break,       let me       know,          and    I will          accommodate                you with

 2      a break.           I'll       just       ask    that you             answer       any pending

 3      question before                you       take       a break.

 4                                The       court       reporter             can't       take       down       a

 5      nod    or    a shake          of    the       head.        So,       if    you    intend          to

 6      say yes,       you       should          say    yes.           If    you    intend          to    say

 7      no,    you    said       say       no.        You    should          avoid gestures                or

 8      things       like       uh-huh       or       uh-uh       so    the       court       reporter

 9      can    take    down       your       answers.

10                                Let's          try    not       to    talk       over       each

11      other.        This       is    a little             bit    cumbersome             because          it

12      is    being    done       by video,             but       let me          finish my

13      question,          and    then       I will          let       you    answer          it    and     I

14      will    try    not       to    interrupt you                   as    well.        This       will

15      also    give       your       attorney          an    opportunity                to    object          to

16      any    of my       questions             if    he    wishes.

17                                Unless          your       counsel          directs          you       not

18      to    answer       any    of my          questions,             you       are    to    answer my

19      questions          as    asked.

20                                Do       you    understand                these       instructions,

21      sir?

22                    A.          I do.

23                    Q.          Sir,       did you          do       anything          to prepare

24      for    your    deposition                today?




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 1                  A.          I spoke        and      interacted with                counsel.

 2                  Q.          And when          did    you       do    that?

 3                  A.          Yesterday          and       on    Thursday.

 4                  Q.          And with          whom       did    you       speak

 5      yesterday?

 6                  A.          Benjamin          Sweet,          Jon    Miller,       and Matt

 7      Handley.

 8                  Q.          And    approximately,                   how    long    was    that

 9      meeting?

10                  A.          I believe          it    was       about       three       hours.

11                  Q.          And    you     said      you       also       met    with

12      counsel     on    Thursday;          is    that       correct?

13                  A.          That    is     correct.

14                  Q.          And    how     long      was       that       meeting?

15                  A.          Approximately,                three       hours.

16                  Q.          So,    is    it    fair       to    say       you    have    spent

17      a total     of    six    hours       preparing             for    your       deposition

18      here   today?

19                  A.          In    addition          to    time       I spent       reading

20      documents,        yes.

21                  Q.          And with          whom       did    you       meet    on

22      Thursday,        sir?

23                  A.          Ben    and     Jon.          Ben    Sweet       and    Jon

24      Miller.




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 1                    Q-         Mr.     Handley was                not present?

 2                   A.           Correct.

 3                    Q•         And     I take          it    all    of    those meetings

 4      occurred either by phone                         or    Zoom;       is    that       right?

 5                   A.           That       is    correct.

 6                    Q.         Now,        you    said       in    addition          to    the

 7      approximately             six hours          that you           spent meeting with

 8      counsel,       you       reviewed          some       documents;          is    that

 9      right?

10                   A.           That       is    correct.

11                    Q.         And what           document          did you          review?

12                   A.           The    Complaint             and discovery

13      information,             discovery          responses.

14                    Q.         When        you    say       discovery          responses,

15      what    specifically             are       you    referring             to?

16                   A.           The    responses             that we          provided       to

17      you,    we   provided           to    LabCorp          in    response          to

18      LabCorp's          interrogatories.

19                               MR.     SWEET:           I think          Rob may have

20      frozen.        He may be             having       some       connection             issues.

21                                (Discussion             held off          the       record.)

22                                (Mr.       Steiner          lost    connection.)

23                               MR.     MILLER:              Madam Court Reporter,                    I

24      don't       know    if   you     got my          appearance,             thanks.




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 1                              MR.     STEINER:           Could you           read back            the

 2      last    question         and answer?

 3                   ( A pertinent portion                               of    the       record

 4      was    read.)

 5      BY MR.      STEINER:

 6                   Q.         Mr.     Davis,       I apologize              for    the

 7      interruption.

 8                               In    addition       to    reviewing your

 9      responses         to    LabCorp's          interrogatories,                 did you

10      review any         other       documents?

11                  A.          Not     that       I could    recall.

12                   Q.         When     you       reviewed     the       Complaint            in

13      this   matter,          did you       notice       anything           that was

14      inaccurate         in    it?

15                  A.          No.

16                   Q.         Was     there       anything        in    the       Complaint

17      that you      felt       needed       correction?

18                  A.          Not     to my       recollection.

19                   Q.          How much          time    did you        spend reviewing

20      the    Complaint,         sir?

21                  A.          About        two   hours.

22                   Q.          Do    you    recall,       sir,     reviewing             a

23      document      that was          Plaintiff's          Responses              to   Request

24      to Admit?




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 1                   A.         Yes.

 2                   Q.         And was       there       anything       in    that

 3      document      that you         felt    needed       correction?

 4                   A.         No.

 5                   Q.         And how much          time       did you       spend

 6      reviewing         that document,            sir?

 7                   A.         I would estimate                about    20   minutes.

 8                   Q.         Had you       seen --       had you       reviewed

 9      Plaintiff's         Responses         to   Request         to Admit prior           to

10      preparing         for   your    deposition?

11                   A.         I do    not    recall.

12                   Q.         You    don't       recall       seeing    them?

13                   A.         I don't       recall       if    I read       them before.

14                   Q.         In    reviewing       the       Responses       to

15      Plaintiff's         Responses         to   Defendant's           Request       to

16      Admit,      was    there      anything       in    there     that     you     saw

17      that you believed was                 inaccurate?

18                   A.         No.

19                   Q.         You're       at your       home    right      now;     is

20      that   correct,         sir?

21                   A.         That    is    correct.

22                   Q.         Okay.        And do       you    live    by yourself          or

23      with   someone?

24                   A.         By myself.




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 1                       Q.         And     there        is    no    one   with   you      at   the

 2      deposition             today;       is       that     correct?

 3                       A.          That       is     correct.

 4                       Q.          Have       you     ever    spoken       to   Julian

 5      Vargas?

 6                       A.          No.

 7                       Q.          Have       you     ever    had any       a- mails       with

 8      Mr.    Vargas?

 9                       A.          No.

10                       Q.          Have       you     had any       communications            with

11      Mr.    Vargas          in    any manner             whatsoever?

12                       A.          I have          not.

13                       Q.          Other        than      through        counsel,     are     you

14      aware       of    any       of    the     circumstances             of Mr.    Vargas'

15      Complaint             as    it    relates        to    his    interactions           with

16      LabCorp?

17                       A.          Only       through        the    filed documents.

18                       Q.          Do    you       have     any understanding              of what

19      Mr.    Vargas'             role    is     in    this    litigation?

20                       A.          Yes.

21                       Q.          What       is     your    understanding          of     his

22      role    in       this       litigation?

23                       A.         My     understanding              is    that he     is

24      representing                the    California           subclass.




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 1                   Q.        Any       other        understanding               of     Mr.

 2      Vargas'       role?

 3                             MR.       SWEET:            Objection.             Asked        and

 4      answered.

 5      BY    MR.    STEINER:

 6                   Q.        You       can     answer          it,       sir.

 7                   A.        No.

 8                   Q.        Okay.            Have       you    and       Mr.   Vargas        done

 9      anything       to    coordinate           the       supervision             of    counsel

10      in    this    case?

11                   A.        No.

12                   Q.        Sir,        what       is    your       educational

13      background?

14                   A.        I attended              a private             school       in

15      primary       school,       and      then      in       high       school      I was

16      home- schooled         but       administered                 by    a K-12

17      institution.           After        ninth          grade       I obtained          a GED.

18                   Q.        What        is    your       date       of    birth,       sir?

19                   A.        2/1/80.

20                   Q.        And       when     did       you       obtain      your     GED?

21                   A.        To    the        best       of    my    recollection,             it

22      was    either       1996    or     1998.

23                   Q.        Okay.            Are    you       currently          employed?

24                   A.        I'm       self-employed.




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 1                   Q.       What        is    your    self-employment?

 2                   A.        I am a musician                and an       audio

 3      technician,         and     also       I do    computer work --            computer

 4      network,       support work.

 5                   Q.       And        for    how    long have       you been

 6      self-employed?

 7                   A.       Most        of my       life.

 8                   Q.       What        computer          and network       support

 9      work    do   you    do?

10                   A.       Various.               I support Windows

11      workstations          in    corporate          environments.           I support

12      individuals         who     are       blind with       accessibility         to

13      Windows       and   iPhone        usage.        And    I do    remote

14      administration             of    servers       and    computer       systems.

15      And    I am also       a programmer.

16                   Q.       And you           do    that work       on    a consulting

17      basis,       sir?

18                   A.        Correct.

19                   Q.        Do       you    have    a company       that you

20      consult       through?

21                   A.        I have          worked       through various

22      entities       over    the       years,       and    I am a part       owner      in    a

23      small       information          technology          company.

24                   Q.       What        is    the    name    of    that    company?




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 1                  A.       Open     Source          Systems       Limited.

 2                  Q.      And     is     that       based    in    Philadelphia?

 3                  A.       It    is.

 4                  Q.      And     how     long       have    you    been       part    of

 5      Open    Source   Systems         Limited?

 6                  A.       I created           it    in    June    of    2020.

 7                  Q.      And     prior        to    that    time,       were    you

 8      employed     through       any     entity?

 9                  A.       I was       not     employed          through       any

10      entity.      I owned       a couple           of    entities       through       the

11      years.

12                  Q.       Okay.         Was    that       also    doing       computer

13      network     support       work?

14                  A.       Yes.

15                  Q.       Did    you     have       any    degrees       or

16      certificates        in    computer        network          support       work?

17                  A.       No.

18                  Q.       Now,     sir,       I understand             that    you    are

19      visually     impaired;        is    that       correct?

20                  A.       Yes.

21                  Q.       Do    you     use    the       terminology          blind       to

22      describe     your    impairment?

23                  A.       I am     legally          blind.

24                  Q.       What     does       that       mean    from    a




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 1      vision- rating            standpoint?

 2                    A.          What    do    you    mean    by --


 3                    Q.          Let    me    just    ask    you:     Do    you    see

 4      anything          corrected       or    uncorrected?

 5                                MR.    SWEET:        Objection.           Vague.


 6                                THE    WITNESS:           I --    someone       else    was

 7      trying       to    say    something          there.

 8      BY   MR.     STEINER:

 9                    Q.          You    can    answer,       sir.


10                    A.          Can    you    repeat       the    question,       please?

11                    Q.          I am    just       trying    to    get    a sense       of

12      what    your       level    of    vision       impairment          is.     You

13      described being             blind.           And    I understand people

14      that    are       blind    can    sometimes          also    see    shapes       or


15      objects.           I am    trying       to    understand what             your    level

16      of   vision        is.

17                                MR.    SWEET:        He    said    he's    legally

18      blind.

19                                MR.    STEINER:           I understand          that.        I


20      am   just     trying       to    get    an    understanding          of    what       that

21      means,       sir.


22                                THE    WITNESS:           I can    sometimes       see

23      light       and    some    shapes.           Other    times,       I cannot.

24      BY   MR.     STEINER:




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 1                       Q.          Okay.       How        long have          you been       legally

 2      blind,       sir?

 3                       A.          All    of my       life.

 4                       Q.          And    is    it    the    case,       sir,       that being

 5      able    to       see    some       light       or    shapes       in    certain

 6      conditions,             has    that been             the    case       your    entire

 7      life,       or    has    your blindness                become          progressively

 8      worse       over       time?

 9                       A.          It has      become        progressively worse

10      over    time.

11                       Q.          Take    the       last    five       years       for

12      instance,             sir,    is    your       level       of --       is    your    ability

13      to   see     shapes          and    some       light,       has    it basically

14      remained          the    same       or   has        it progressively worsened

15      along       the       years?

16                       A.          It has       remained          the    same.

17                       Q.          Other       than       this    case,       are    you    a party

18      to   any     other       litigations?

19                       A.          No.

20                       Q.          Have    you       ever been          a Plaintiff          in

21      another          litigation          other          than    this       case?

22                       A.          Yes.

23                       Q.          Okay.       And what           case       was    that?

24                       A.          That was --             I don't       know       the    specific




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 1      name    of    the    case,       but    it was     a case       against       Tenet

 2      Healthcare.

 3                    Q.          And what was          the    nature        of    that   case?

 4                    A.          That was       a website          accessibility

 5      case.

 6                    Q.          Do    you    know when       it was        filed?

 7                    A.          I do    not    recall       specifically.

 8                    Q.          Do    you    remember       the     year    it was

 9      filed?

10                    A.          I don't       recall     specifically.              It may

11      have been          2016    or ' 17,      but    that     is    only       a guess.

12                    Q.          Do    you    know where        that    case       was

13      filed?

14                    A.          I no    longer       recall        specifically.

15                    Q.          Was    the    case    resolved?

16                    A.          It was.

17                    Q.          Okay.        And do    you     know how          it was

18      resolved?           Was    it    through       settlement        or       trial   or

19      some    other way?

20                    A.          It was       resolved       through        settlement.

21                    Q.          Was    that    a class       action,        or were       you

22      the    only    Plaintiff          in    that    case?

23                    A.          That was       a class       action.

24                    Q.          And    I take     it you had          counsel




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 1      representing you             in     that       case?

 2                   A.        Yes.

 3                    Q.       Who was           the       counsel       that     represented

 4      you    in    that    case?

 5                   A.        Ian       Brown,        Carlos          Diaz.      We     may    have

 6      had    others,       but    that       is     to    the    best       of my

 7      recollection.

 8                    Q.       Are       any     of    those       individuals

 9      affiliated with             the     firm       that       is    representing you

10      in    this    case?

11                   A.        Not       to my        knowledge.

12                    Q.       Other        than       the    case       you     filed against

13      Tenet       Healthcare,          have       you been           a Plaintiff         in    any

14      other       cases?

15                   A.        No,       not     to my       recollection.

16                    Q.       Have       you been           a defendant            in    any

17      cases?

18                   A.        Not       that       I'm aware           of.

19                    Q.       For       how     long,       sir,       have     you --        strike

20      that.

21                             Prior        to      LabCorp        introducing            its

22      kiosk,       did you       use    or     attempt          to    obtain      any

23      services       from LabCorp              at    a patient          service         center?

24                   A.        Yes.




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 1                       Q.          And when was             the    first    such       time       that

 2      you    used LabCorp                at    a patient          service    center?

 3                       A.          I do       not    recall.

 4                       Q.          Do    you    recall       whether       you    had been

 5      using LabCorp patient                         service       centers    for       several

 6      years       prior       to    the       time    they    introduced kiosks?

 7                       A.          To    the    best       of my    recollection,             I

 8      had.

 9                       Q.          Had you been             using    LabCorp       services

10      through          its    patient          service       center    for more          than

11      several          years       prior       to    its    introduction          of    the

12      kiosks?

13                                   MR.    SWEET:           Objection,       vague.           You

14      can    answer          it,    sir,       if    you    understand       it.

15                                   THE    WITNESS:           I don't       know how          to

16      answer       that.

17      BY MR.       STEINER:

18                       Q.          So,    by    several       years,       let's       just       give

19      it    a number.              So,    for       approximately          three       years

20      prior       to    the       time    that       LabCorp       introduced          its

21      kiosks       at       the    patient          service       centers,       were    you

22      using LabCorp                services?

23                       A.          I believe          so.

24                       Q.          Okay.        Do    you believe          you    had used




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 1      LabCorp          services          through           its    patient          service

 2      centers          for more          than      three         years       prior       to    the    time

 3      it   introduced              its    kiosks?

 4                       A.          To    the     best       of my       recollection,                yes.

 5                       Q.          Okay.         For       approximately how many

 6      years?

 7                       A.          I'm not         certain.             At    least       a few.

 8                       Q.          Okay.         At    least       a few years.

 9                                   What       I am     trying          to    understand,             sir,

10      is   just        approximately               how many            years       you    had been

11      going       to    LabCorp prior                 to    the    time       they       introduced

12      their       kiosks          at    the    patient           service       center?

13                                   MR.    SWEET:            Rob,       you've       asked       the

14      question          three          times.

15                                   MR.    STEINER:               I think       I am entitled

16      to   ask     it       this       way.

17                                   You    can      answer         it,       sir.

18                                   THE    WITNESS:               For    an    extended period,

19      my   lab materials                 were      taken by my primary                        care

20      physician             and processed              thereafter,             I believe,

21      through          LabCorp.           However,           I don't          recall          exactly

22      when we          switched          from      that happening                  to me

23      physically            going        to    LabCorp           facilities.              It may

24      have been,             to    the    best        of my       recollection,                in    the




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 1      early       two- thousands.               That    is    as    precise          as    I can

 2      be   with     that       answer.

 3      BY MR.       STEINER:

 4                    Q.          Okay.         And    can     you    estimate          how

 5      frequently          on    a yearly basis               you would go             to

 6      LabCorp patient                service        centers        prior       to    the    time

 7      it   introduced           its    kiosks?

 8                    A.          To    the     best     of my       recollection,

 9      between       one       and    three      times.

10                    Q.          One    and      three      times      per      year?

11                    A.          Correct.

12                    Q.          And what          services         were     you      getting

13      from LabCorp             when    you would go            to     a patient            service

14      center prior             to    the     introduction           of    the       kiosk?

15                    A.          I would         sometimes          make     an

16      appointment.              I would         sometimes --             I would          always

17      check       in.     I would get blood drawn                        and     sometimes

18      would have          urine       collected as           well.

19                    Q.          And did you --               again,       focusing          on   the

20      time prior          to    when       LabCorp      introduced kiosks

21      would you          go    to    the     same    patient          service        centers       or

22      different          ones?

23                    A.          I believe           I --     I don't        know      the

24      answer       to    that       question.




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 1                      Q.          Can       you    recall --             can       you    recall         any

 2      of   the     patient         service             centers          by    name       or   address

 3      that you went               to    prior          to    the       time    that       LabCorp

 4      introduced            its    kiosks?

 5                      A.          I believe             I went          to    the    Bustleton

 6      Avenue       location            in    Philadelphia,                   the    address         at

 7      which       I         to    the       best       of my       recollection                is   9331

 8      Bustleton Avenue.                      I went          to    the       101    East      Olney

 9      Avenue,         Philadelphia                location.              It    is    possible            I

10      went    to      others,          but       I do       not    recall.

11                      Q.          So,       is    it    fair       to    say       that you         had

12      been    to      the    Bustleton Avenue                      location multiple

13      times       prior      to    the       time       that       a kiosk was                installed

14      at   that       location?

15                      A.          Yes.

16                      Q.          And you          said          the    other       location was

17      East Olney Avenue;                     is    that          correct?

18                      A.          East Olney Avenue,                         yes.        O- L- N- E- Y.

19                      Q.          And had you been                      to    that       location         on

20      multiple         occasions             prior          to    the    time       that       it

21      introduced            the    kiosks?

22                      A.          To    the       best       of my       recollection,               I had

23      been    there         at    least          once.

24                      Q.          Is    LabCorp within                   your       health




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 1      insurance             network,          sir?

 2                       A.             Yes.

 3                       Q.             And what       is       your       health       insurance

 4      provider?

 5                       A.             Keystone       First          of    Pennsylvania.              They

 6      sometimes             go    under       the    name       Blue       Cross.

 7                       Q.             And    for    how       long has          Keystone       First

 8      been      your        healthcare             provider?

 9                       A.             As   best     as    I can          recall,       since    the

10      mid- 1990s,            although             they    operated under                a different

11      name      at     the       time.

12                       Q.             Have    you    attempted             to    use    or    used

13      other       testing             laboratories             where       you've      had     to    go

14      to   a patient              service          center       other          than    LabCorp?

15                       A.             I have       not.        My    insurance          company

16      requires          me       to    use    LabCorp,          to       the    best    of my

17      knowledge.

18                       Q.             And    is    it because             of    your    insurance

19      coverage          having             LabCorp       in    network          that    you    choose

20      to   go     to    LabCorp?

21                       A.             Yes.

22                       Q.             And    I take       it    then       if    LabCorp were

23      not within             your          insurance          network,          you would use

24      another          laboratory             that was          within          your    network;          is




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 1      that    correct?

 2                   A.           That    does       seem likely.

 3                    Q.         How     far    is       the    Bustleton Avenue

 4      location       from your          home?

 5                   A.           I believe,             to    the    best       of my

 6      knowledge,          it    is    under       four miles             away.

 7                    Q.         And how        far       is    the    Olney Avenue

 8      location       from your          home?

 9                   A.           To    the    best       of my       knowledge,             it    is

10      approximately             two miles          away.

11                    Q.         How do        you       decide       whether          to    go    to

12      the    Bustleton          location          or    the    Olney       location?

13                   A.           I usually prefer                   not    to    go    to    the

14      Olney       location       simply because                of    its       situation with

15      regards       to    traffic       and busyness                of    the    streets             in

16      the    area.

17                    Q.         When     you       say       traffic,       you       are    not

18      referring          to    traffic       at    the       location but             traffic             to

19      get    to    the    location;          is    that       correct?

20                   A.           I am    talking             about    the       traffic          in    the

21      proximity          to    the    location.

22                    Q.         Okay.         And do          you    take       public

23      transportation             to    get    to       the    LabCorp          locations?

24                   A.          No.




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 1                    Q.          How do       you       get    there?

 2                   A.           Various       ways.           Sometimes             by    a

 3      transport          service.           Sometimes             by Uber          or    Lyft.

 4      Sometimes          by having          someone          drive me.

 5                    Q.          Focusing          on    the       time       before       LabCorp

 6      introduced          its    kiosks,          I want          to    talk       to    you    about

 7      the    process       for       checking          in.

 8                                When    you went             to    the       Olney Avenue                and

 9      Bustleton Avenue                locations,             was       the    process          the

10      same?

11                   A.           To    the    best       of my          recollection,                it

12      was.

13                    Q.          And you would enter                         the    facility;             is

14      that    correct?

15                   A.           That    is    correct.

16                    Q.          Okay.        No    issues          gaining physical

17      access       to    the    facility;          is    that          right?

18                   A.           Not    that       I recall.

19                    Q.          And    then       you would go                up    to    the       desk;

20      is    that    correct?

21                   A.           I believe          it    is.           To    the    desk       or

22      window.

23                    Q.          And would you                sometimes             have    to       wait

24      in    line    at    the --       to    get up          to    the       desk       or window?




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 1                       A.       I believe           I did          from    time    to    time.

 2                       Q.       And were           there       times       where    you       didn't

 3      have    to       wait    in    line,        and you          could go       and    see

 4      someone          immediately?

 5                       A.       Yes.

 6                       Q.       Would        it    just       depend on          how busy          the

 7      patient          service       center was           whether          you    had    to       wait

 8      in    line       or was       able     to    go    up    to    the    desk

 9      immediately?

10                                MR.    SWEET:            Objection.

11                                THE    WITNESS:               I don't presume                to    know

12      why    sometimes          it was --           there          was    a line    and

13      sometimes             there    wasn't.

14      BY MR.       STEINER:

15                       Q.       And when           you    did wait          in    line,       were

16      you    able       to    discern what              the    other people             in    the

17      line    in       front    of    you were           there       for?

18                       A.       No.

19                       Q.       Were       you     able       to    hear    any    of    the

20      details          about why       they were              visiting LabCorp                that

21      day?

22                       A.       I don't           recall       any.

23                       Q.       And,       again,        sir,       these    questions             all

24      focus       on    the    time    prior        to    the       introduction             of    the




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 1      kiosks.

 2                                   When    you would go             to    the       desk,     sir,

 3      or    the    window,          what       information would be                    taken      from

 4      you?

 5                       A.          Certainly my          name,       and       if    I had a

 6      prescription,                that would be             taken.         If      I was     a

 7      walk-in patient,                   I am    sure    they would have                 taken

 8      other       information             such    as    my    address          and phone

 9      number.           Other       than       that,    I'm not          certain.

10                       Q.          And would          they    ask     for      your

11      identification?

12                       A.          I don't       recall.

13                       Q.          Would       they    ask    for    your        insurance

14      card?

15                       A.          I'm    sure    that       at    least       once     they've

16      asked       for my       insurance          card.           I don't        know    if      they

17      had    it    on       file    thereafter.              However,          that usually

18      happened          at    the    internal          registration              desk,      as    far

19      as    I know.           Not    the       lobby window.

20                       Q.          And,    again,       focusing          on     the    time

21      prior       to    the    time       of    the    kiosks       being        introduced,

22      it    is    your       recollection             that    the     information             that

23      you would give                at    the    window was          your        name,      your

24      prescription,                and perhaps          your      address           and phone




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 1      number?

 2                    A.          That    is    correct.

 3                    Q.          Okay.        Do    you    recall       whether,             in

 4      fact,       you    had    to    give    your phone          number          at    the

 5      desk?

 6                    A.          I do    not.

 7                    Q.          Do    you    recall       whether,          in    fact,          you

 8      had    to    give    your       address       at    the    desk?

 9                    A.          I do    not.

10                    Q.         When     you would give                your prescription

11      at    the    desk,       would you          describe       to    the --          the

12      individual          to   whom you were              giving       it    to,       what       the

13      prescription was                for?

14                    A.         No.

15                    Q.          You would          just hand          it    over       to    the

16      person       at    the    desk,       correct?

17                    A.          Correct.

18                    Q.         And     this       process       was    the       same       at

19      both --       both       LabCorp       locations          that you          testified

20      going       to,    correct?

21                    A.          To    the    best       of my    recollection,                   yes.

22                    Q.          So,    is    it    fair    to    say       that    the

23      prescription             that    you would hand             over would be                   the

24      method of          communicating             to    the    individual             at    the




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 1      desk what             service          you were       there       for?

 2                       A.          On    the    occasions          when       I handed       over          a

 3      prescription,                yes.

 4                       Q.          Okay.        Were       there       also    occasions

 5      where       the prescription was                      transmitted          to    the

 6      LabCorp          location          electronically?

 7                       A.          Yes.

 8                       Q.          And,       so,    in    those       circumstances,             they

 9      would       just       look       up    your    name       and be       able    to    tell

10      what    service          you were             there       for;    is    that    correct?

11                       A.          To    the    best       of my       knowledge,          yes.

12                       Q.          Other       than       the    information          that

13      you've       described giving                   to    the    individual          at    the

14      desk,       is    there       any       other       information          that    you       had

15      to   give --           again,          prior    to    the    introduction             of    the

16      kiosk --          to    the       individual          at    the    desk?

17                       A.          Not       that    I can       recall.

18                       Q.          And       then    after       you would provide                the

19      information             to    the       individual          at    the    desk,       were       you

20      asked       to    take       a seat       and wait          to    be    called       into       the

21      back?

22                       A.          Yes.

23                       Q.          And would          the       time    that you       had       to

24      wait vary?




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 1                       A.          It    would vary.

 2                       Q.          Sometimes             you'd be          taken       immediately

 3      and    sometimes             you'd have             to       sit    there       for    a little

 4      bit,    correct?

 5                       A.          It    would         often        depend       on    whether          I

 6      had made          an    appointment                or    whether          it    was    a

 7      walk-in.

 8                       Q.          And       if    you    had made          an       appointment,

 9      would       your       wait be          shorter          generally?

10                       A.          Yes.

11                       Q.          And       if    you    were       a walk-in          would       the

12      wait    be       longer       generally?

13                       A.          It    varied.

14                       Q.          Sometimes             when       you   were        a walk-in,

15      did    you       not    have       to       wait    at       all?

16                       A.          Sometimes             when       I was       a walk-in          I,

17      would       only       have       to    wait       a moment          and --       yes.

18                       Q.          And,       again,          focusing          on    the    time

19      prior       to    the    introduction                   of    the    kiosks,          how    did

20      you    go    about making                   an   appointment              at    the    LabCorp

21      location?

22                       A.          To    the       best       of   my     knowledge,             back

23      then    I was          able       to    use      the     phone       to    make       an

24      appointment             as    best          as   I can        recall.




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 1                    Q.          And,       so,    you would             call       the    location

 2      directly          to make       an    appointment?

 3                    A.          It's       been       a number          of    years       since          I

 4      did   that,        but    as    best       as    I can       recall,          that       is    how

 5      I did       it.     If    I made       an       appointment             at    all,       that

 6      was   how     I did       it.

 7                    Q.          And when          you would go                to    the    LabCorp

 8      patient       service          center prior             to    the       time       they

 9      introduced          the    kiosks,          would you             have       to    fill       out

10      any   forms?

11                    A.          I do       not    recall.

12                    Q.          Other       than providing                   your       name    and

13      prescription,             was    there          any personal                information

14      that you          had    to provide             to    the    representative                   at

15      the   desk prior           to    the       introduction                of    the    kiosks?

16                                MR.    SWEET:              Objection.              Asked and

17      answered.

18                                THE    WITNESS:              As    I previously                stated,

19      I believe          that    from       time       to    time       I may       have       been

20      asked       for my phone             number          and address,             but    I'm

21      uncertain          of    that.

22      BY MR.       STEINER:

23                    Q.          Once       you would be             called          into       the

24      back,       sir,    when       you    checked          in    at    the       desk,       what




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 1      would happen             next?

 2                    A.             After       going    into       the   back,        I would

 3      sit    down       at    a provided chair                at    a desk         that was

 4      there,       and       they would          review             at   least        I believe

 5      they would review --                      the    prescription             and ask me

 6      any    questions             they    needed       to    ask me.           And after

 7      that,       it's       possible          they would          ask me       to    sign         a

 8      document.              After       that,    they would direct me                        to    a

 9      room or       in       some       cases    escort me          to   a room          to

10      actually perform                   the    sample- taking.

11                    Q.             You    said    it's       possible         in     the      back

12      you were          asked       to    sign    a document.              Do      you     recall

13      doing       so?

14                    A.             I'm not       certain.           It   is     possible            that

15      I was       asked       to    sign       a document.            I do      not      recall

16      for    certain          if    that       occurred.

17                    Q.             If    you    had    to    sign    a document,               sir,

18      in    that    situation,             how would you             know what             the

19      content       of       the    document was             that you were               signing?

20                                   MR.    SWEET:        Objection.              Calls         for

21      speculation.

22                                   THE    WITNESS:           Do    I answer          that?

23                                   MR.    STEINER:           Yes,    you      can     answer           it,

24      sir.




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 1                                THE    WITNESS:           Based only          on    the

 2      representative             at    the    desk       telling me          what    the

 3      document was,             whether       it was          a release       or    the    like.

 4      I would not          know what          the      content was           because       the

 5      documents          were    never provided                to me    in    accessible

 6      form.

 7      BY MR.       STEINER:

 8                    Q.          So,    the    documents          you    said were

 9      provided       to    you    in    the       back by       a technician;             is

10      that    right?

11                    A.          Yes.

12                    Q.          Would       the    technician          read    the

13      document       to    you?

14                    A.          No.

15                    Q.          Did you       ever       ask    the    technician          to

16      read    the    document          to    you?

17                    A.          I do    not       recall.

18                    Q.          You    said       in    the    back    the    technician,

19      to    your    knowledge,          would          sometimes       ask    you

20      questions;          is    that    right?

21                    A.          Yes.

22                    Q.          And what          questions       were       you    asked       in

23      the    back?

24                    A.          The    only       question       I specifically




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 1      recall      being     asked          at     those    times       was       whether       I had

 2      been    fasting.

 3                    Q.          Whether           you    had or       had not been

 4      fasting;       is    that       right?

 5                    A.          Correct.

 6                    Q.          And    can        you    recall       any    other

 7      questions          being       asked of           you by    the       technician          in

 8      the    back?

 9                    A.          As    I think           I mentioned earlier,                   I

10      believe       they    at       least        on    some    occasions          asked       to

11      see my       insurance          card and possibly my

12      identification             at    those           times.     I do       not    recall

13      specifically what                other           questions       they may          or may

14      not have       asked me.

15                    Q.          And when           you    are    in    the       back,    sir,       as

16      we've       described          it,     it    is    just you          and    the

17      technician;          is    that        correct?

18                    A.          There       are        sometimes       other       staff

19      members       around.

20                    Q.          Was    it       sometimes        the       case,    sir,       that

21      the    same    person          that       checked you           in    at    the    desk

22      would be       the    person           that would          take       you    in    the    back

23      and    take    this       additional              information?

24                    A.          To    the       best     of my    recollection,                that




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 1      was    sometimes             the    case.

 2                       Q.          And,       so,    sometimes          the      same     person

 3      that    checked          you       in    was    the       same    person       that       did

 4      the    blood          draw    or    the       urine       collection;          is    that

 5      correct?

 6                       A.          I would          not    say       that.

 7                       Q.          Were       there       occasions          where      the     same

 8      person       that       checked          you    in       did    the    blood      draw?

 9                       A.          I don't          specifically             recall.

10                       Q.          When       you    would       go    to    the   desk,        sir,

11      to    check       in,    were       you       ever       asked whether            you     were

12      blind       or    visually          impaired?

13                       A.          Not    that       I can       recall.

14                       Q.          Were       you    ever       asked       to   fill     out      a

15      form    indicating                whether       you       were    blind      or     visually

16      impaired?

17                       A.          No.        However,          I do    believe         that

18      information             is    indicated             on    my    identification,

19      which       they       had.

20                       Q.          And what          is    your --          what   form       of    ID

21      do    you    use,       sir?

22                       A.          It's       state       identification             called         a

23      non- driver's            license.

24                       Q.          Do    you    know       if    LabCorp         records




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 1      whether          or    not you were blind or visually                                   impaired

 2      based on          that       identification                 card?

 3                       A.          I do       not.

 4                       Q.          Do    you     have       any --       do    you       know how

 5      many blind or visually                          impaired people                   use    LabCorp

 6      services          at    its       patient        service          centers          in    a given

 7      year?

 8                       A.          I do       not.

 9                       Q.          Putting           aside    visits          to    LabCorp

10      patient          service          centers,           when    you    go       to    your       own

11      medical          provider,          are        you    sometimes          asked          to    fill

12      out    forms?

13                       A.          Yes.

14                       Q.          Okay.         And how          do    you    review          the

15      information             that       is     in    those       forms?

16                       A.          Periodically,              I have          had       someone       with

17      me    who    has       had    to    go     through          the    forms          and    fill

18      them out          on my behalf.                  At    other       times          the medical

19      staff       at    the    locations              have    done       that.

20                       Q.       And on           the       occasions          where       the

21      medical          staff       has    done        that,       do    they       read       the    forms

22      to    you?

23                       A.          Yes.

24                       Q.       And       then        you provide             verbal          responses




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 1      to    the    questions          and    the      forms?

 2                       A.       Yes.

 3                       Q.       And    they       record        those        responses,          to

 4      the   best        as    you    know,       on   those       forms?

 5                       A.       Yes.

 6                       Q.       And has          that been         an    effective          way

 7      for   you        to    fill    out    forms,         by   relying        on medical

 8      staff       to    fill    them out          for      you?

 9                                MR.    SWEET:           Objection.            Misstates           his

10      testimony.

11                                THE    WITNESS:             I would not             say    it --       I

12      mean,       I would not          say       it   as    ideal       or    accessible,

13      but    it    is       effective       in    that      the    form       is    ultimately

14      filled out presumably                      to   the       satisfaction          of    the

15      medical          personnel.

16      BY MR.       STEINER:

17                       Q.       Do    you    read braille,               sir?

18                       A.       I am only --               I read braille             very

19      slightly.

20                       Q.       You    don't view yourself                     as

21      proficient?

22                       A.       I'm not          a proficient braille                     reader.

23                       Q.       Are    you       able      to   read     large- print

24      materials?




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 1                    A.             No.

 2                    Q.             Does    magnification                software          help       for

 3      you    to    read print material?

 4                    A.             No.

 5                    Q.             Do    you    rely       on    screen- reading

 6      software          to    read written material                         if    it's

 7      electronic?

 8                    A.             Yes.

 9                    Q.             Other       than    the       instances          where       you've

10      relied on medical                   staff       to    read       forms       to    you,       are

11      there       any    other          instances          where      you        rely    on    someone

12      to    read written material                      to       you    in    order       to make          it

13      accessible             to    you?

14                    A.             Yes.

15                    Q.             What    are    those          instances?

16                    A.             Generally,          in my personal                   and

17      business          life,       if    I need material                   read and          for

18      whatever          reason          I can't use             electronic means                to

19      scan    and       read       it,    I will       find       someone         who     can       read

20      it    for me       or       read as      much        of    it    as    I need read             to

21      comprehend             it.

22                    Q.             Other       than having             someone          read

23      materials          for       you    and using             electronic          software           to

24      read electronic materials,                            are       there       any    other ways




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 1      in which you             are       able        to    access       written material?

 2                    A.             No,    I do          not believe           there       is    any

 3      other way          for       anyone          to     access       material       other       than

 4      those       methods.

 5                    Q.             I am       talking           about you,       sir.           You

 6      said you          are    not proficient                    in braille.

 7      Magnification                software             doesn't work           for    you;

 8      large- print materials                         don't work.              I am    trying          to

 9      understand other                   than        using       screen- reading               software

10      and   someone           to    read materials                 for    you,       are       there

11      any   other ways              in which you                 are    able    to    get written

12      content?

13                    A.             Other        than having             someone       read

14      materials          to me       or       using        an    electronic          scanning

15      device       of    some       kind        to      take materials           into

16      screen- reading               software              or    other    kinds       of    reading

17      software,          I do       not believe                 there    is    any    other way,

18      other       than    recorded media,                       that    I would be             able    to

19      read written material.

20                    Q.             Now,       at     some       point you       are       aware

21      LabCorp       introduced electronic                          kiosks       at    its      patient

22      service       centers;             is     that       correct?

23                    A.             Yes.

24                    Q.             And do          you     know when          that happened as




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 1      it    related          to   the    patient       service       centers       that    you

 2      visited?

 3                       A.         I do    not.

 4                                  MR.    SWEET:        Rob,    we    have    been    going

 5      for   almost           an   hour    now.        Can we     take      a short

 6      ten-minute             break?

 7                                  MR.    STEINER:        Sure.

 8                                  MR.    SWEET:        Thank     you.

 9                       ( Break                 taken.)

10                            ( A pertinent portion                     of    the    record

11      was   read.)

12      BY MR.       STEINER:

13                       Q.         Sir,    we    are    back    on    the    record.

14                                  How did you          learn     that      LabCorp

15      introduced kiosks                  to    the    patient       service       centers

16      that you were               visiting?

17                       A.         I found out by             going    to    a patient

18      service          center       and being         told by       the    staff    at    the

19      window       that       I was      required       to    use    the    kiosk    in

20      order       to    check       in   or    register.

21                       Q.         Which       location was          that    that you were

22      going       to?

23                       A.         I believe          Bustleton,       that    I told you

24      earlier,          to    the   best       of my    recollection.




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 1                       Q.          And do          you    recall --             do    you    know how

 2      long    the       kiosk had been                   in place          at    the    time       that

 3      you were          told       that?

 4                       A.          I do       not.

 5                       Q.          Do    you       know    if    you       had been          able       to

 6      check       in    at    the       desk       during       the    time          that    the

 7      kiosks       were       in place             but prior          to    the       time    that you

 8      were    told          that    at       the    Bustleton Avenue                   location?

 9                                   MR.       SWEET:        Objection,                vague.

10                                   THE       WITNESS:           Please          restate       the

11      question.

12      BY MR.       STEINER:

13                       Q.          Sure.           You    said    there          was    a time          that

14      you went          to    the       Bustleton Avenue                   location          and you

15      went    to       check       in    at    the       desk    and       the       person       at    the

16      desk    told you             that you             needed    to       check       in    at    the

17      kiosk,       correct?

18                       A.          That       is    correct.

19                       Q.          Okay.           Do    you    know whether                there       were

20      occasions             prior       to    then       that you          had been          to    the

21      Bustleton Avenue                   location          that you were                able       to

22      check       in    notwithstanding                   the    fact       that       kiosks          had

23      been    installed?

24                                   MR.       SWEET:        Objection.




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 1                               THE    WITNESS:        I do       not       know       that.           I

 2      knew nothing         of    the       kiosk    until       I was       informed             in

 3      2016   by    the    staff       at    the    window,        I believe               at    the

 4      location      that       I mentioned,          that       I needed             to    use     the

 5      kiosk.       That was          the    first    time       that       I became             aware

 6      of   them.

 7      BY MR.      STEINER:

 8                   Q.          And you believe             that was             in    2016?

 9                   A.          Yes.

10                   Q.          Was    it    a man    or    a woman          that          gave    you

11      this   instruction,             that    you    needed          to    use       the       kiosk

12      to   check    in?

13                   A.          I do    not    recall.

14                   Q.          Did you       say    anything          in    response?

15                   A.          The    best    as    I can       recall,          I said          that

16      I had never         heard of          that    and    the       representative

17      told me      that    that's          how we    do    things          now.           And    I

18      then mentioned            that       I was    blind and would                   I be       able

19      to   use    the    kiosk.        And    the    representative                   said       that

20      they   didn't       know       and    said    that       the    person who                was

21      with me      should help me.

22                   Q.          Did    the person          at    the       desk       offer       to

23      help   check       you    in?

24                   A.          No.     In    fact,    I asked             can    you       just




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 1      check       me    in    here    and was           told    you       can    use    the

 2      kiosk.           That    was,     I believe,             a walk-in

 3      appointment --                sorry,        a walk-in          visit.

 4                       Q.       Who     was       the    family          member    that       was

 5      with    you?

 6                       A.       To    the     best       of    my    recollection,             that

 7      was    Karen          Davis,    my     mother.

 8                       Q.       After        that       occasion,          did    you    ever

 9      attempt          to    check    in     at    the       desk?

10                       A.       Yes,       several           times       I attempted          to

11      check       in    at    desks     at    LabCorp          locations          and    on    each

12      occasion          I was       told     that       I had       to    use    the    kiosk.

13                       Q.       And was           that       at both       the    Bustleton

14      location          and    Boyston ( sic)                location?

15                       A.       Pardon        me?

16                       Q.       Was     that       both       the    Bustleton          Avenue

17      location          and    the    Olney        location?

18                       A.       It    was     at    those       locations,             and    I

19      believe          also    at    a Frankford Avenue                    location,          the

20      address          of    which    I do        not    recall.

21                       Q.       Are     you       aware,       sir,       that Mr.       Vargas

22      has    been       deposed       in     this       case?

23                       A.       I am       aware        of    that.

24                       Q.       Okay.         And Mr.          Vargas       testified          that




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 1      when       he    went       to    the    LabCorp           location          the

 2      representative                   offered him              the    option       to       check       in

 3      at    the       desk.        Are       you     aware       of    that?

 4                       A.          I am aware              of    that.

 5                       Q.          And --          okay.         Is    it    fair       to    say       that

 6      that       is    not    consistent with                    your       experience?

 7                       A.          That       is     correct.

 8                       Q.          I am going              to    read you          some       of

 9      Mr.    Vargas'          testimony,              and       I just want             to    know       if

10      this       is    consistent with your                       experiences                at    LabCorp

11      PSCs.           Okay,       sir?

12                                   Mr.       Vargas        was    asked,       Question:                 Now

13      did you          ask    --

14                                   MR.       SWEET:         Rob,       do    you    have          an

15      exhibit          to put          this     in    front       of    the    witness             or

16                                   MR.       STEINER:            No,    I will          read       it.

17      BY MR.          STEINER:

18                       Q.          Now,       did you           ask    if    you    could          check

19      in    at    the       desk       or    they     offered you             the       option          to

20      check       in    at    the       desk?

21                                   Answer:            They       offered       it being                that

22      the    kiosk was             inaccessible                 according          to    their

23      description             of       it,    they     said,          but    somebody would

24      help me.              All    I needed           to    do    was       come    to       the       window




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 1      or    the    desk    at    the    date       of    the       appointment,             you

 2      know,       the    day    I needed          the    service,          and    they would

 3      make    someone          available          to    help me         with     the    check- in

 4      process.

 5                                Question:              And    that was          what happened

 6      on    January       10,    when       you    showed up            for     your    actual

 7      appointment,             correct?

 8                                Answer:           Yes.

 9                                Sir,    is    that       consistent with your

10      experiences          trying       to    check          in    at   a LabCorp patient

11      service       center?

12                   A.           Not    at    all.

13                    Q.          Mr.    Vargas          also       testified,       Question:

14      And no       one    at    LabCorp       told you             that    checking          in    at

15      the    kiosk was          the    only       option          for   checking        in;       is

16      that    correct?

17                                Answer:           No,    I just understand                   it    to

18      be    one    of    the    two    options          available.

19                                Question:              The    other       option       is    to

20      check       in with       a person          at    the       desk;    is    that

21      correct?

22                                Answer:           Yes.

23                                Is    that    consistent with your

24      experience          at    LabCorp?




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 1                                  MR.     SWEET:           Objection.                 What

 2      experience?

 3                                  MR.     STEINER:              Is    that       experience

 4      consistent with                  your      experience               at    LabCorp       PSCs?

 5                                   THE    WITNESS:              Can       you    describe       the

 6      experience             again,       please?

 7      BY MR.       STEINER:

 8                       Q.         Mr.     Vargas          testified.                 The   question

 9      was:        No    one       at   LabCorp        told you             that       checking       in

10      at   the     kiosk was             the     only      option          for       checking      in;

11      is   that        correct?

12                                  Answer:           No,     I just understand                   it      to

13      be   one     of       two    options          available.

14                                   Question:              And    the       other       option      is     to

15      check       in with          a person          at    the       desk?

16                                  Answer:            Yes.

17                                  My     question          is,       is    Mr.       Vargas'

18      experience             checking          in    at    a LabCorp             PSC       consistent

19      with    yours          based on his             testimony?

20                       A.          I do    not believe                so.        I was       never

21      offered          the    option        to      check       in    at       a desk      after     the

22      kiosks       were made             available.

23                       Q.         Mr.     Vargas          also       testified,            Question:

24      And,    so,       you were          never       told       that          the    only    option




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 1      for    checking          in       at    a LabCorp was                to    check          in    at    the

 2      kiosk,       correct?

 3                                   Answer:           Correct.

 4                                   Is    that       consistent with what you were

 5      told,       sir?

 6                    A.             It    is       not.        It    is,    in    fact,          exactly

 7      opposite       to       what       I was       told.           I was       told --             even    I

 8      believe       in    the       Complaint we                   have    the       March       item

 9      that    I spoke          to       the       representative                at    the       window

10      and    said    I am blind;                   what       am    I supposed             to    do    since

11      I can't use             the       kiosk.           The       response          was    I don't

12      know.

13                                   They       never       offered          to    take my

14      registration             at       the       window       or    to    even       assist me

15      with    the    kiosk.

16                    Q.             Mr.       Vargas       was       asked,       Question:                 And

17      when    you visited a LabCorp patient                                     service          center

18      on    January       10,       2020,          you were          not    required             to    use

19      the    kiosk       to    check          in,    correct?

20                                   Answer:           I was          not    required.

21                                   Is    that       consistent with your

22      experiences             in    checking             in    at    LabCorp patient

23      service       centers?

24                    A.             Not       at    all.




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 1                    Q.          Mr.    Vargas         testified,             Question:        And

 2      when    you visited             the     LabCorp patient                 service       center

 3      on    January       10,    2020,        you were           not    required       to    sign

 4      in    through       the    kiosk,         were       you?

 5                                Answer:            No.

 6                                Question:            Am     I correct,             you were    not

 7      required?

 8                                Answer:            I was     not       required.

 9                                Is    that      consistent with your

10      experiences          at    LabCorp patient                  service          centers?

11                    A.          It    is    not.

12                    Q.          Okay.         Mr.    Vargas           testified,

13      Question:           Were       you     required,           sir,    to    register       for

14      your    appointment             at     the     kiosk when          you       arrived on

15      January       10,    2020?

16                                Answer:            It was        not    required.

17                                Sir,       were      you    required          to    register

18      for    your    appointments               at    the    kiosk when             you went     to

19      LabCorp patient                service         centers?

20                    A.          I --       restate         the    question,          sir.

21                    Q.          Sure.         Let me        read Mr.          Vargas'

22      answer      again.

23                                Question:            Were        you    required       to

24      register       for    your       appointment               at    the    kiosk when       you




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 1      arrived       on    January          10,    2020?

 2                               Answer:            It was          not    required.

 3                               My     question          to    you,       sir,       is    were       you

 4      required       to    register          at    the       kiosk       when       you       would

 5      visit       them    on    the       dates    and       times       that       you

 6      described?

 7                               MR.        SWEET:      Objection               to    the       form of

 8      the    question.

 9                               MR.        STEINER:           You    can       answer,          sir.

10                                THE       WITNESS:           I was       required             to

11      either       check       in    or    register          at    the    kiosk          on    all

12      occasions          subsequent          to    the       first       time       that       I spoke

13      of    where    they       required me             to    use       the    kiosk.

14      BY MR.       STEINER:

15                    Q.          I take       it    your       experience             regarding

16      registering          for       an    appointment             is    inconsistent with

17      Mr.   Vargas',           correct?

18                               MR.        SWEET:      Objection.                   Misstates          his

19      testimony.

20      BY MR.       STEINER:

21                    Q.          Is    that       correct,          sir?

22                    A.         My     experience             is    inconsistent with

23      the    experiences             of Mr.       Vargas          that    you       have

24      described.




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 1                       Q.          Okay.           Since       the       kiosks       have    been

 2      introduced at                LabCorp,          to       your       knowledge,          have    you

 3      ever been             able    to       check       in    at    the       desk?

 4                       A.          No.

 5                       Q.          On    how many             occasions,             sir,    have    you

 6      asked       to    check       in       at    the    desk       since       the    kiosks       have

 7      been    installed?

 8                       A.          At    least --             to    the    best       of my

 9      recollection,                at    least       six.

10                       Q.          Sir,       in    Paragraph             21    of    the Amended

11      Complaint you                describe          your visits                to    LabCorp

12      patient          service          centers.              Are    you       familiar with

13      those       allegations?

14                       A.          Yes.

15                       Q.          And you          described on                October       11,    2016

16      attempting             to make          an    appointment via                   the    web

17      browser but no patient --                               no    visit       to    a patient

18      service          center;          is    that       correct?

19                       A.          That       is    not       correct.

20                       Q.          Let me --

21                                   MR.       STEINER:              Jewel,       can we       put --

22      and we       will       make mark             it    as       Davis       Exhibit       1 --    the

23      Amended Complaint                      in    front       of    the       witness?

24                            ( Exhibit Davis                         1,    Amended Complaint,




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 1      was    marked       for    identification.)

 2      BY MR.       STEINER:

 3                    Q.          Sir,       I am going             to       ask    you    to    review

 4      Exhibit       1.     It    should          come       up    on       your    screen.

 5                    A.          It has          not --        not      in    any    accessible

 6      form.

 7                                MR.    STEINER:               Jewel,         can    you       let me

 8      know when          that's       posted?            We      can       try    to walk       the

 9      witness       through          that.

10                         ( Discussion                    held off            the    record.)

11                                THE    WITNESS:               I've         read    the    document

12      or paragraph          in       question.

13                                MR.    STEINER:               Okay.          So,    why       don't we

14      go back       on    the    record.

15      BY MR.       STEINER:

16                    Q.          Sir,       we've       put       in    front       of    you what

17      we've       marked as          Davis       Exhibit          1,       which    is    the

18      Amended Complaint                in       this     matter.             And    I understand

19      that    off    the    record you've                   had       an    opportunity             to

20      review       Paragraph          21    and     it's         subparts;          is    that

21      correct?

22                    A.          That       is    correct.

23                    Q.          Is    it     fair      to     say,         sir,    that       the

24      first       time   you     identify           in      the       Complaint being                told




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 1      that    a staff member                 could not help                  you    check       in was

 2      for    your    October          5,     2018      visit?

 3                    A.          I believe             that       is    the    first       time       that

 4      is    identified          in    the       Complaint;             however,          that    is

 5      not    the    first       time       it happened.                 It happened             on

 6      prior       occasions          as    well.           It    is    just       not    listed       in

 7      the    Complaint.

 8                    Q.          Do    you       know why          not?

 9                    A.          I do       not     know why            not.

10                    Q.          Prior        to    the      October          5 date,       there       is

11      an    allegation          that you visited or                      tried          to make       an

12      appointment with                LabCorp          on       October       11,       2016,

13      December       23,       2017,       and March             28,    2018;       is    that

14      correct?

15                    A.          To    the       best       of my       recollection,             that

16      is    correct.

17                    Q.          Is    it    your       testimony             on    each    of    those

18      occasions          you    attempted             to    check       in    at    the    desk       and

19      were    denied       that       opportunity?

20                    A.         Actually,              can       you    ask    the       former

21      question       again,          please?

22                    Q.          Sure.           The    Complaint             identifies          that

23      on    the    October       11,       2016       date,       the    December          23,       2017

24      date;       and a March             28,     2018      date       where       it    appears




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 1      that you visited a LabCorp                            location;           is    that

 2      correct?

 3                    A.          On    those       occasions,           I did visit                a

 4      LabCorp       location,          yes.

 5                    Q.          And    the       location was              a patient

 6      service       center,          correct?

 7                    A.          Yes,       to    the       best   of my         knowledge.

 8                    Q.          And    is       it your       testimony              that    on       each

 9      of    those    occasions             you    attempted           to    check       in       at    the

10      desk    and were          told       that you          needed        to    check       in       at

11      the    kiosk?

12                    A.          Yes.

13                    Q.          And you          don't       know why           that

14      allegation          is    omitted          from       those   paragraphs?

15                    A.          I left          the    preparation              of    the

16      Complaint          to    counsel.

17                    Q.          Did you          review       the    Complaint before

18      it was      filed,        sir?

19                    A.          I do       not    recall          specifically              if    I

20      reviewed       it prior          to       filing       or    immediately              after

21      filing.

22                    Q.          Is    it    your       testimony,           sir,       that       there

23      was    a kiosk             actually,             let me       ask     you       this:           The

24      October       11,       2016    visit,          do    you   know what            location




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 1      that was       to?

 2                    A.         To    the       best       of my       recollection,             that

 3      was    the    Bustleton Avenue                     location.

 4                    Q.         Do    you       recall          going    to       a location          at

 5      5401    Old York         Road?

 6                    A.         I do       not       recall       specifically                going    to

 7      that    location,            but    I do       not       deny    that       it    is

 8      possible       that      I did go             to    that    location.

 9                    Q.         What       is    AEMC       Liver       Disease

10      Transplant?             Do    you    know what             that       is,    sir?

11                    A.         I'm not          sure       what       those       initials

12      stand       for.

13                    Q.         Are       you    familiar with                that medical

14      service       provider?

15                    A.         I --       to    the      best     of my          knowledge,

16      that    is    an    affiliate            or    department             or    in    some    way

17      connected          to   Einstein          Hospital          or    Einstein Network.

18                    Q.         Do    you       know       if    there       is    a LabCorp

19      patient       service         location             located       at    5401       Old York

20      Road?

21                    A.         I don't          specifically                recall       that.

22                    Q.         Do    you       recall          ever    going       to    a LabCorp

23      patient       service         center          at    5401    Old York             Road?

24                    A.         I do       not       specifically             recall          that.




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 1                   Q.          Do    you     know whether            kiosks        existed       at

 2      that    location         on    October        11,    2016?

 3                               MR.    SWEET:           Objection.

 4                               THE    WITNESS:            Given      that     I don't

 5      specifically         remember             whether      I've      gone       to    that

 6      location,         I can't       speculate           whether       a kiosk          existed

 7      there.

 8      BY MR.      STEINER:

 9                   Q.          Is    it    your     testimony          that       on

10      October      11    2016,       you     visited       a LabCorp patient

11      service      center       and were           told    to    check       in    at    a

12      kiosk?

13                               MR.    SWEET:           Objection.

14      BY MR.      STEINER:

15                   Q.          You    can       answer,      sir.

16                  A.           Yes,       sir.      That    is    my    statement.

17                   Q.          Do    you     recall,       sir,      going        to    a

18      LabCorp      location          in    or    around November              14,       2016   at

19      Bustleton Avenue?

20                  A.           I do.         I believe          that    is    a date         that

21      I went      to    one,    yes.

22                   Q.          Is    there       any    reason       why     that visit          is

23      not    referenced         in    the       Complaint?

24                  A.           Given        that    it was       substantially




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 1      similar          or    identical             to    the      prior visit with

 2      regards          to    the    kiosk,          I did not            find    it    necessary

 3      to make          note    of       it.

 4                       Q.          Okay.           So,       is    it your      testimony        that

 5      on November             14,       2016       you visited            the    LabCorp

 6      patient          service          center          and were         told you       could only

 7      check       in    at    the       kiosk?

 8                       A.          To    the       best       of my      recollection,           that

 9      is    correct.

10                       Q.          And your             explanation            for    that   not

11      being       in    the    Complaint                is    because      you       felt    it was

12      not    necessary?

13                       A.          I felt          it    substantially               similar.       The

14      accessibility                issues          were       substantially            similar      to

15      the   prior           event.

16                       Q.          That prior                event being         the

17      October          11,    2016       event;          is       that   correct?

18                                   MR.       SWEET:           You    actually misstated.

19                                   THE       WITNESS:             That    is    correct.

20      BY MR.       STEINER:

21                       Q.          Do    you       recall         going    to    that Bustleton

22      Avenue       location             in    or    around May            of    2017?

23                       A.          I do       not       specifically            recall       that

24      visit.




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 1                    Q.             Would        it be       your       testimony,            sir,      if

 2      medical       records             show     that you visited                  a LabCorp

 3      patient       service             center        on May         9,    2017    at Bustleton

 4      Avenue,       that          you were           told on         that       occasion          that

 5      you    needed          to    check        in    at    the      kiosk?

 6                   A.              Yes.

 7                    Q.             Again,        is    there         a reason why             that

 8      allegation             is    not    included              in   Paragraph          21    or

 9      anywhere          in    the       Complaint?

10                   A.              As --        to    the       best      of my    recollection,

11      I did not          include          events           that were            substantially

12      identical          or       similar        to    the       previous         ones.

13                    Q.             And,       so,     your       testimony         is    that       the

14      visit       on May          9,    2017     was       substantially            the       same       as

15      the   visit        on       October        11,       2016,       correct?

16                   A.              With       regards           to   the    inaccessible

17      kiosk       and    the       inaccessible                 electronic         systems,            that

18      is    to    the best             of my     recollection.

19                    Q.             With       respect           to being         told    that       the

20      only way          to    check       in was           at    the      kiosk?

21                   A.              Also       the     same.          I was      never        given       any

22      option       to    do       anything           other       than      check    in       at    a

23      kiosk       subsequent             to     the    October            11,    2016    date.

24                    Q.             And    just        so    I understand you




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 1      correctly,             on    at    least          six    other       occasions

 2      subsequent             to    October          11,       2016       after being       told

 3      that you          needed          to    check       in       at    the    kiosk,   you

 4      attempted             to    check       in    at    the       desk?

 5                       A.          Can       you    restate             that,    please?

 6                       Q.          Sure.           Just       so    I am understand your

 7      testimony,             you       said       that    there          were    approximately

 8      six    times          where       you went          to       the    desk    and were        told

 9      that you          needed          to    check       in       at    the    kiosk;   is    that

10      right?

11                       A.          I believe             I said          that    there   were       at

12      least       six       times       and       that    is,       I believe,        correct        to

13      the    best       of my          knowledge.

14                       Q.          Were       there       any       times       that you went            to

15      a LabCorp patient                      service          center       and didn't         ask    to

16      check       in    at       the    desk?

17                       A.          After          having been             repeatedly

18      instructed             that       the       only way          to    check    in was      to    do

19      so    via    the       kiosk,          there       did       come    a time     when     I

20      began       using          the mobile             check- in         option    and did not

21      then    try       to       check       in    at    the       desk.

22                       Q.          And when was                that,       sir?

23                       A.          I believe             that was          approximately

24      around       the       October          2019       appointment             and while        the




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 1      mobile       check- in         option       allowed me          to    check       in,    of

 2      course,       it    did not          give me       access       to    any    of    the

 3      other       features       that       I understand             the    kiosks       have.

 4                    Q.          What       other       features       are    those       that

 5      the mobile --             that       the    kiosks       have    to    allow       one       to

 6      check       in?

 7                    A.          To    the       best    of my    knowledge,             they

 8      also    include          access       to billing          information             and

 9      possibly          other    services             that    since    I can't use             them

10      I don't       know       about.

11                    Q.          Well,       other       than    access       to billing

12      information,             what       other       access    to    information             do

13      the    kiosks       give       you    access       to    that    you       have

14      knowledge          of?

15                    A.          Given       that       the    kiosks       are    unavailable

16      to me       given    their          inaccessibility,             I do       not    know

17      what    else       they    are       capable       of    doing.        I do       know

18      they    are       capable       of more          than    just    checking          in    for

19      walk-in       appointments.

20                    Q.          And you          know    that    you       are    able    to       see

21      past- due         bills;       is    that       correct?

22                    A.          That       is    my understanding,                yes.

23                    Q.          And have          you    ever had any past- due

24      bills       that    you    needed          to    satisfy       for    LabCorp?




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 1                   A.          Not       to my       knowledge.

 2                    Q.         That       is    not    a functionality             that       you

 3      needed       to make       use      of    at    the    kiosk;       is    that

 4      correct?

 5                               MR.       SWEET:        Objection.              Misstates       his

 6      testimony.

 7      BY MR.       STEINER:

 8                    Q.         Is    that       correct,          sir?

 9                   A.          Please          restate       the    question.

10                    Q.         Sure.           Is    the    payment       of past- due

11      bills       a functionality               that you          needed       to make    use

12      of    at    the    kiosk?

13                               MR.       SWEET:        Same       objection.

14                               THE       WITNESS:           To    the    best my

15      recollection,            I have          not    needed       to    use    that

16      specific          functionality.                But,       again,    not    knowing

17      what       other    functionalities                  are    available,       I can't

18      speculate          whether         I needed          those    functionalities

19      and    could not         access          them.

20      BY MR.       STEINER:

21                    Q.         Now,       the       Complaint       alleges       in

22      Paragraph          21B   that you visited                   a LabCorp patient

23      services          center      on    December          17,    2017,       correct?

24                   A.          That       is    correct.




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 1                    Q.             And your          Complaint          alleges       that you

 2      were       accompanied by                a family member.                 Was       that       your

 3      mother?

 4                   A.              To    the    best       of my    recollection,                   it

 5      was.

 6                    Q.             And explain             to me    what       the --          as    far

 7      as    you    understood             it,     what      the    check- in process                     was

 8      at    the    kiosk?

 9                   A.              On    that     specific         occasion,          I

10      attempted          to make          an    appointment             online       and was

11      unable       to    do    so because             of    the    inaccessibility                   of

12      the    website          at    that       time.        I was       able    to,       to    the

13      best       of my    recollection,                have       somebody make                an

14      appointment             for me,          but when       I went       into       the

15      LabCorp       location,             I was       told    that       I could not                check

16      in    at    the    desk,          that    I was       required       to    use       the

17      kiosk.

18                                   So,    at    that       time    I went       to    the       kiosk

19      and    the    person who             was       with me --         which        to    the       best

20      of my       recollection was                   my mother,          Karen       Davis --

21      was    required          to       enter     information            into    the       kiosk          on

22      my behalf.              And       I was     required         to    speak       that

23      information             out       loud    in    a public waiting                room.              And

24      I do believe             that       information             included my             name,          my




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 1      telephone             number,         my    address,          possibly          other

 2      information             such      as       my   date        of birth          and other          data

 3      that    I would not have preferred                                 to    speak       out    loud

 4      in   a public waiting                      room    for privacy                concerns.

 5                       Q.         Do    you       carry       identification with                      you?

 6                       A.         In    general,             I do.

 7                       Q.         Did you             carry your          insurance          card

 8      with    you?

 9                       A.         I generally                do.

10                       Q.         Do    you       know whether                the    kiosk has           the

11      capability             to   scan       insurance             information             and

12      identification?

13                       A.         It    is       my understanding                   that    it    does.

14                       Q.         Is    there          a reason why             you were

15      required          to    speak         the       information             you    state       out

16      loud as          opposed         to    simply          scanning your

17      identification               and your             insurance             card?

18                       A.         I,    in       fact,       wondered          that    same       thing.

19      After       it    asked      for       the       information             that    I

20      mentioned,             it   then       asked       to       scan    those       cards       or    at

21      least my          identification.                      I.    therefore,          did not

22      understand why               at       the       time    it was          asking me          to

23      provide          the    information               and       then    also       scanning          the

24      card where             it   could obtain                the    information.                 But     I




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 1      can't       speculate       as    to    how    those       systems          operate.

 2                    Q.          Just    so    I am    completely             clear       as    to

 3      your    recollection             of    the    process,          you were       asked          to

 4      have    someone       manually          enter       the    information             that

 5      was    on   your     identification             and       insurance          card and

 6      then    subsequently             scan    the    same       information;             is

 7      that your          testimony?

 8                    A.          I don't believe                that    is    what    I said.

 9      The    kiosk       asked    for various             pieces       of personal

10      information.              I know       some    of    that       information             could

11      be    available       on    or    in    the    data       contained          in my

12      personal          identification.              I don't          recall       whether my

13      insurance          information was             asked       for    or was       obtained

14      from    the       card or       how    it was       obtained          in    that

15      circumstance.

16                    Q.          Let's       just    deal       with    the       personal

17      information,          the       name,    address,          possibly          date       of

18      birth       and    telephone          number.        Is    it    your       testimony,

19      sir,    that you were             required          to    have    someone

20      manually          enter    that       information          and    then

21      subsequently          scan       the    same    information                from your

22      identification             card?

23                    A.          Yes.

24                    Q.          And    it's    your       understanding             that       the




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 1      kiosk was        programmed             to       operate       in    that manner?

 2                  A.             I cannot          speculate          how    the    kiosk was

 3      programmed        to       operate.              I am    testifying          as    to my

 4      experience.

 5                  Q.             Is    the    information             that you provided

 6      to    your mother           at    the       kiosk       the    same    information

 7      that you       had previously been providing when                                   you

 8      were    able     to    check       in       at    the    desk?

 9                  A.             I do    not       recall       specifically.

10                  Q.             You    testified previously                      that when

11      you    checked        in    at    the       desk,       you had       to provide          your

12      name    and your prescription,                          correct?

13                  A.             I believe             that was       my    testimony,          yes.

14                  Q.             And    then       you    said you possibly                needed

15      to provide        your          telephone          number       and your          address

16      but you weren't                 sure,       correct?

17                  A.             Correct.

18                  Q.             And,    so,       you have          an    affirmative

19      recollection,              though,          sir,    at    the       kiosk    of    having

20      to provide        verbally             to    your       family member             your

21      address     and       telephone             number,       correct?

22                  A.             To    the    best       of my       recollection,             that

23      is    the   information            that          I had    to    provide.

24                  Q.             And you provided                   that    information           to




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 1      your mother             to    check       you    in?

 2                   A.              To    the    best    of my       recollection,               yes.

 3                    Q.             Sir,    your mother             knows      where       you

 4      live,       correct?

 5                   A.              Correct.

 6                    Q.             She    has    your    address,          correct?

 7                   A.              To    the    best    of my       knowledge.

 8                    Q.             Okay.        And    she    calls      you    from       time     to

 9      time?

10                   A.              Yes.

11                    Q.             So,    she    has    your       telephone         number,

12      correct?

13                   A.              She    does.

14                    Q.             So,    why    did you       have      to    speak       out

15      loud your          address          and    telephone          number      to    your

16      mother       so    she       could keyboard             it    into      the    kiosk when

17      she    already          knew       that    information?

18                   A.              In    assisting me          in     that     sort       of

19      context,          she    does       not    assume       or presume            what

20      information             I want       entered.           I have       various

21      telephone          numbers          and other          information.             She       just

22      asks    and enters                what    I tell       her    to   enter.

23                    Q.             How many       telephone          numbers         do    you

24      have?




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 1                       A.          At    that    time?

 2                       Q.          Yes,    October       11,       2016,    which       is    the

 3      time    that you've                told me       that    you    tried       to    first

 4      check       in    at    the       kiosk.

 5                       A.          I believe        I had      two    at     that      time,       to

 6      the    best       of my       recollection.

 7                       Q.          Do    you    still    have       two    telephone

 8      numbers?

 9                       A.          I do    still       have    two    telephone

10      numbers.

11                       Q.          Are    they    the    same       two    telephone

12      numbers?

13                       A.          They    are.

14                       Q.          Is    one    a cell       phone    and one          a home

15      phone?

16                       A.          They    are.

17                       Q.          And your mother             calls       you    on both          the

18      cell    phone          and home          phone?

19                       A.          To    the    best    of my       knowledge,          yes.

20                       Q.          And,    so,    when       she    was    checking you             in

21      at    the    kiosk,          you    don't     recall         whether       you    needed

22      to put       in       your    cell       phone    or    home phone          into       the

23      kiosk,       do       you?

24                       A.          I don't       recall       what    specific phone




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 1      number       it    asked       for;       and    I don't          recall       what

 2      specific phone                number       I gave       it.

 3                    Q.          Do       you    recall       if    it       asked    for    a phone

 4      number       at    all?

 5                    A.          To       the    best    of my          recollection,             it

 6      asked       for    a phone          number.

 7                                MR.       SWEET:        We    need a break.                 We    have

 8      been    going       an    hour.           Let's    take          a break.

 9                                MR.       STEINER:           If    you want          to.

10                                MR.       SWEET:        Let's          take       five    minutes.

11                         ( Break                taken.)

12      BY MR.       STEINER:

13                    Q.          So,       we    are    back       on    the       record.

14                                On       the    occasion          of    your       December       23,

15      2017    visit       that       is    described          in       the       Complaint,       did

16      you    have       two    addresses?

17                    A.          I do       not believe             that          I did.

18                    Q.          But       nonetheless,             you       had    to    tell --

19      speak       out    loud       to    your mother what                   address       you

20      wanted her          to    put       into    the    kiosk;             is    that    correct?

21                    A.          That       is    correct.              As    an    independent

22      blind person,             I do       not prefer             to    have       people       just

23      assume       they       know what          information                I prefer       to

24      release.           It    is    my    information,                and       I will    do    with




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 1      it   as     I see       fit.     And,      you    know,       I state       which

 2      information             I want    entered and               that    information          is

 3      what      gets     entered.

 4                    Q.          Did your mother               ask       you whether          you

 5      wanted       to    disclose       your      address          to    LabCorp?

 6                   A.           She    asked me         what       questions       the       kiosk

 7      asked her          on my behalf.

 8                    Q.          Even when         she       knew    the    answer?

 9                   A.           She    asked me         the       questions       that       the

10      kiosk       asked her,          and   I gave          her    the    information

11      that      I wanted her           to   answer.

12                    Q.          Now,     the     check- in process               that you

13      described on December                    23,     2017,       was    that    the    same

14      process       via       the    kiosks      that       you    experienced on

15      October       11,       2016?

16                   A.           If    you   could give             me    a minute       to

17      review       the       Complaint      on    that.

18                    Q.          Sure.       That       is    in    Paragraph A of --

19      21A.

20                                MR.    SWEET:          Is    it    21A and       21B,    Rob?

21                                MR.    STEINER:             No,    I am    just    referring

22      to A,       the    October       11th visit.

23                                MR.    SWEET:          I believe          your    question

24      referred          to    the    2017   visit       and       the    2016    visit.




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 1                                      MR.       STEINER:           Sir,       you    can    look       at    as

 2      much       or    as    little             of    it    as    you'd       like.

 3                                      MR.       SWEET:           Please       read    carefully,

 4      Luke.

 5      BY MR.          STEINER:

 6                       Q.             Tell       me    when       you    are    ready,          sir.

 7                      A.              Can       I ask       you    to    repeat       the       question,

 8      please?

 9                       Q.             On    the       occasion          of    your    October          11,

10      2016       visit       to       the       LabCorp patient                service          center       at

11      5401       Old York             Road,          did you work with your mother

12      to    check       you       in       in    the       same manner          as    you       checked

13      in    on    December             23,       2017?

14                      A.              To    the       best       of my       recollection,             yes.

15                       Q.             Okay.           And,       so,    I believe          you

16      testified previously                            that when          you went          to    the

17      LabCorp          location             at       5401    Old York          Road on

18      October          11,       2016,          you were          told you          needed       to    check

19      in    at    the       kiosk,          correct?

20                      A.              For       the    record,          you    are    stating          that

21      address.              To    the best             of my       recollection,                it was       a

22      different             location,                but    I will       assume       that       address

23      and    answer          that          the       check- in process               to    the    kiosk

24      was    equally             as    inaccessible                and       required       the       same




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 1      sort       of    interaction           as    on    the       previous       occasion

 2                       Q.        Now,     you      testified previously                         to

 3      going       to       a LabCorp      location            at    9880    Bustleton

 4      Avenue          on    or   around November               14,       2016.

 5                                 Do    you     recall         that       testimony?

 6                       A.         I do.

 7                       Q.        And when          you went          to    the    location                on

 8      that       occasion,        were       you    also       directed          to    check          in

 9      at    the       kiosk?

10                       A.        To    the     best      of my       recollection,                   I

11      was.

12                       Q.        And were          you    required --             were          you

13      with       your mother?

14                       A.         I do    not      recall          who    I was       with,          if    I

15      was    with          anyone.

16                       Q.        Were     you      able       to    check    in       at    the

17      kiosk       on       that November           14,    2016       date?

18                       A.        No.

19                       Q.        How did you             check       in?

20                       A.         I was      not    independently                able       to       check

21      in    at    the       kiosk.       I got      assistance             either          from       the

22      person who             drove me        there       or    from       someone          in    the

23      waiting          room.

24                       Q.        But     you      don't       recall       which       it was?




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 1                       A.       I do       not.        I was       not    offered any

 2      assistance             from    the    LabCorp          staff,       however.

 3                       Q.       You were          not    offered any                 assistance

 4      by    the       LabCorp       staff       on November             14,     2016    to       check

 5      in    at    the       kiosk;    is     that      correct?

 6                       A.       That       is    correct,          to    the     best       of my

 7      recollection.

 8                       Q.       What       do    you mean,          to    the        best    of       your

 9      recollection?                 Were    you       offered assistance                    or    you

10      were       not    offered assistance?

11                       A.       I was       never       offered assistance                       at    any

12      time by          LabCorp       staff       to   use     the       inaccessible

13      kiosks.           I do    not    specifically                recall        on    that       date

14      who    assisted me,             but       it was       not    LabCorp           staff.

15                       Q.       Okay.           And    then    on May           9,    2017,       you

16      were       at    the    Bustleton          LabCorp       PSC       again,        correct?

17                                MR.    SWEET:           Objection.

18                                Rob,       where       are    you pulling              this

19      information             from?

20                                MR.    STEINER:              I am pulling              it    from

21      the medical             records        that     you produced.

22                                MR.    SWEET:           Very well.

23      BY MR.          STEINER:

24                       Q.       Is    that       correct,          sir?




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 1                                MR.    SWEET:       Can      you    show       the    records

 2      to Mr.       Davis       as   you    ask    him questions?

 3                                MR.    STEINER:          Jewel,         let's       post what

 4      is    Tab    7 in my binder.


 5                                MR.    SWEET:       I don't         see    why       it's    a

 6      memory       test.


 7                                MR.    STEINER:          I am not         asking       for    a

 8      memory       test.        I am      just    trying      to move          the    thing

 9      along.

10                                MR.    TEWIAH:         Tab    7 is       the    May    9,    2017


11      visit?

12                                MR.    STEINER:          Yes.

13                                MR.    TEWIAH:         I will       post       it    and    send

14      it    to    the   group       e-mail.

15                                MR.    STEINER:          Sir,      let me       know when


16      you    have       that    from your         counsel.

17                                MR.    SWEET:       If      you    could       let me       know


18      when       you have       sent      that.

19                    ( Exhibit Davis                    2,    PL- 32      through       33,    Patient

20      Report,       was    marked         for    identification.)

21                                MR.    STEINER:          While      we    are       waiting,


22      can    you make          sure    the      witnesses         are    registered          for

23      ExhibitShare             on   the Veritext            site?


24                                MR.    SWEET:       Sure.




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 1                                   THE       WITNESS:           I am going             off       audio

 2      and go       look       at    that.

 3                                   MR.       SWEET:        Is    there          a specific

 4      provision          you want him                to    check       out,       Rob?

 5                                   MR.       STEINER:           All    I am going                to    ask

 6      him    is    about       the       date       of    this       instance.              You were

 7      the    one   who        raised          the    records          issue.           I can

 8      represent          the       records          say    the       visit was          on May          9,

 9      2017    at    9880       Bustleton Avenue.

10                                   MR.       SWEET:        I understand.                    I just

11      think       that    if       you       are    asking       questions             about visits

12      to    specific          locations             on    dates       that were more                   than

13      four    years       ago,          it    is    probably helpful                   to    have       the

14      documents          in    front          of    him.        That       is    all.

15                         ( Discussion                      held off             the    record.)

16      BY MR.       STEINER:

17                    Q.             Mr.       Davis,       you    should have                received             a

18      document which we've marked                               as    Davis       2.        It    is

19      stamped BH032                to    033.        It    reflects             a laboratory

20      testing done             by       LabCorp          on May       9,    2017       at    9880

21      Bustleton Avenue.

22                                   So,       my    question was,                sir,    is       it your

23      testimony          that when                you visited          that       9880       Bustleton

24      Avenue       LabCorp          PSC       you were          required          to    check          in    at




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 1      the    kiosk?

 2                   A.           The    document you                sent me,          at    least          in

 3      the    portion       of    it    I was          able    to    read accessibly,

 4      indicate       the       date    and my          name,       but    I do       not       see      the

 5      address       that       you    are mentioning.

 6                    Q.          The    address,          sir,       just       to    orient          you

 7    --      and    I don't       know how best                to    do    this,       to be

 8      frank       is --    I am       just       representing             to    you       it    says

 9      it.     It    is    at    the    top       of    the    document.

10                                MR.    SWEET:           Let me make             this       easy         for

11      you.        Luke    and Rob,          we    will       stipulate          that       the

12      document       that       is    marked does             list       an    address          of

13      9880    Bustleton Avenue,                   Suite       220,       Philadelphia,

14      Pennsylvania              19115.

15                                MR.    STEINER:              Thank       you,       Ben.        I

16      appreciate          that.

17      BY MR.       STEINER:

18                    Q.          You,    sir,          understand          that       to    be       a

19      LabCorp patient                service          center,       correct?

20                   A.           Correct.

21                    Q.          And    it    is       your    testimony             that       on    the

22      date    that you went             to       that    LabCorp patient                   service

23      center,       you were          directed          to   use     the       kiosk;          is    that

24      correct?




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 1                       A.          To    the   best     of my          recollection,             that

 2      is   correct.

 3                       Q.          Was    it your mother                that    assisted you

 4      checking          in    at    the    kiosk?

 5                       A.          I do    not       recall.

 6                       Q.          Were    you       required          to provide         personal

 7      information             to    anyone       in    order       to    check       in    at    the

 8      kiosk       on May          5 --    I am       sorry --          on May    9,       2017?

 9                       A.          I was       always       required          to provide

10      personal          information when                checking          in    at    any       kiosk

11      with    someone             filling       in    the    information             on    the

12      kiosk.

13                       Q.          Was    there       ever    occasions          where          you

14      used    the       kiosk by          simply       scanning          in    your

15      identification                and/or       insurance             card?

16                                   MR.    SWEET:        Rob,       do    you mean          him

17      alone       or    him with          assistance?

18                                   MR.    STEINER:           Sure.

19      BY MR.       STEINER:

20                       Q.          Were    you       ever    to    check       in with

21      assistance             at    the    kiosk       simply by          scanning your

22      identification                and    insurance          information?

23                       A.          I do    not       recall       if    there    were       any

24      occasions             on which       I was       able       to --       I was       never




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 1      independently             able       to    use    the    kiosk.           I do      not

 2      recall       if    there       were       any    occasions          on which          I was

 3      able    to    have       the    person          assisting me          just       scan       a

 4      card    to    operate          the    kiosk without                entering

 5      information.              I do       not    recall.

 6                    Q.          And    the personal                information            that you

 7      contend       that       you were          required          to provide          out       loud

 8      was    your       name,    address,             and phone          number,       correct?

 9                    A.          The    personal             information          that       I had

10      to    speak       out    loud    in       the    various       waiting         rooms,           to

11      the    best       of my    recollection,                included          some      or     all

12      of my       name,       address,          and phone          number.        I do         not

13      recall       specifically which                   of    those       pieces       of

14      information were                required          at which          times      or     if

15      other       information was                required          such    as   my     date       of

16      birth,       as    I mentioned earlier,                      when    I did       the

17      walk-in visit             on    October          11,    2016.

18                    Q.          On    each       occasion          that you visited a

19      LabCorp patient                service          center,       were    you      able        to

20      get blood or             urine       drawn       as    prescribed by             your

21      physician?

22                    A.          Yes.

23                    Q.          Can    you       identify          the    names      of     any       of

24      the    individuals             you     spoke      to    at    a LabCorp patient




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